Gov. Ex. 32
 1                    FEDERAL TRADE COMMISSION

 2

 3    In the Matter of:

 4    CDK GLOBAL,                         )   File No.

 5           a corporation,               )   171-0056

 6   And

 7   REYNOLDS AND REYNOLDS,

 8           a corporation.

 9

10

11                               Wednesday, September 18, 2019

12

13                               Sheppard Mullin

14                               2099 Pennsylvania Avenue, N.W.

15                               Washington, D.C.   20006

16

17                   The above-entitled matter came on for

18   investigational hearing, pursuant to notice, at 9:05

19   a.m., for the testimony of:

20

21                        ROBERT BROCKMAN

22

23

24

25   Reported by:   Deborah Wehr, RPR




                                                            GOVERNMENT
                                                              EXHIBIT

                                                         4:21-CR-009-GCH
                                                               No. 32


                                                              FTC-0000001

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CDK Global & Reynolds and Reynolds                           9/18/2019

  1   APPEARANCES:

  2

  3   ON BEHALF OF THE FEDERAL TRADE COMMISSION:

  4            DANA F. ABRAHAMSEN, ESQUIRE

  5            J. ALEXANDER ANSALDO, ESQUIRE

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 14   ON BEHALF OF REYNOLDS & REYNOLDS:

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 23   ALSO PRESENT:

 24            SCOTT CHERRY

 25            JON EMMANUAL



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  1                        PROCEEDINGS

  2

  3              MR. ABRAHAMSEN:     This proceeding will come to

  4   order.     This hearing has been convened on Wednesday,

  5   September 18th, at approximately 9:00 a.m. at the

  6   Sheppard Mullin Law Firm at 2099 Pennsylvania Avenue,

  7   Northwest.      We will proceed under the Federal Trade

  8   Commission's rules that are applicable that we've read

  9   into the record several times.          Is that amenable to

 10   you, counsel?

 11              MR. COHEN:    It is.     We agree to that.     Thank

 12   you.

 13              MR. ABRAHAMSEN:     Mr. Brockman, are you

 14   represented by counsel today?

 15              MR. BROCKMAN:     Yes.

 16              MR. ABRAHAMSEN:     Who is your counsel?

 17              MR. COHEN:    Mr. Brockman is pointing down the

 18   row.     We'll introduce ourselves for the record, if that

 19   is helpful, Mr. Abrahamsen.

 20              MR. ABRAHAMSEN:     Yes.

 21              MR. COHEN:    My name is Michael Cohen with the

 22   law firm Sheppard Mullin, and I represent Universal

 23   Computer Systems, the Reynolds and Reynolds Company,

 24   and Mr. Brockman today.

 25              MR. NAIK:    My name is Amar Naik of Sheppard



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  1   Mullin.

  2             MR. CHERRY:     Scott Cherry, general counsel of

  3   the Reynolds and Reynolds Company.

  4             MR. EMMANUAL:     Jon Emmanual, in-house counsel

  5   for Reynolds and Reynolds Company.

  6             MR. ABRAHAMSEN:     Thank you.    I'm Dana

  7   Abrahamsen.     I represent the Federal Trade Commission.

  8   I'll be asking most of the questions today and

  9   tomorrow.    And I would ask my colleagues to introduce

 10   themselves for the record.

 11             MR. ANSALDO:     I'm Alex Ansaldo.    I'm also a

 12   lawyer with the FTC.

 13             MR. WILLIAMS:    My name is Mark Williams.     I'm

 14   an economist with the Federal Trade Commission.

 15              Whereupon --

 16                            ROBERT BROCKMAN,

 17              a witness, called for examination, having been

 18   first duly sworn, was examined and testified as

 19   follows:

 20                             EXAMINATION

 21              BY MR. ABRAHAMSEN:

 22       Q.     Thank you, Mr. Brockman, very much for coming

 23   to Washington to sit for this hearing.         We appreciate

 24   it very much.     We'll be doing part of the hearing

 25   today.     We'll finish up tomorrow morning and go until



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  1   1:00 today and 1:00 tomorrow afternoon, as I understand

  2   the schedule.

  3            You have been through this procedure before, I

  4   know, so I won't spend too much time on the

  5   preliminaries.    The biggest problem we have in these

  6   proceedings is it's not like a normal conversation.

  7   You have to wait for me to get my whole question out.

  8   I have to stop so she can get the whole question down.

  9   And I have to listen to your whole answer before asking

 10   my next question.     If we talk over each other, she'll

 11   remind us to stop doing that.

 12            We will take breaks during the course of our

 13   hearing today and tomorrow.       I will call for a break

 14   when I get to a good stopping point or you or your

 15   counsel can call for a break.         The only ground rule we

 16   have there is that we don't take a break while a

 17   question is pending.     We just answer the question and

 18   then we take our break.

 19            If I ask any questions that you don't

 20   understand, you want me to rephrase it or we can have

 21   her read them back, that's perfectly okay during the

 22   course of our proceeding.

 23            And with that, let me let you introduce

 24   yourself and explain your position with your current

 25   employer.



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  1       A.   Again, my name is Bob Brockman.         The original

  2   company which lives on today as the top of a holding

  3   company I started in the living room of my house with

  4   my wife in 1970, 49 years ago.          As a matter of fact,

  5   September 1st is what we recognize as the anniversary

  6   date.

  7            Before that I worked for IBM for five years

  8   selling basically services.         I gravitated to car

  9   dealerships because I felt comfortable around them.            My

 10   specialty was parts inventory control.          It was in the

 11   early days when you used to use card systems to keep

 12   track of parts and you had tubs and trays and sometimes

 13   slide-outs where you -- when you sold a part you had to

 14   go find where it is physically in the card system and

 15   record the date and how many were sold and carry

 16   forward the balance.

 17       Q.     So did you use your experiences at IBM to turn

 18   this card-based system into a computer-based system?

 19       A.     Yes.   I was a salesman, and I sold it and

 20   installed it.      There was a very, very early version

 21   that ran on, I believe, a 12K computer that would fill

 22   up half this room.

 23       Q.   And what was the name of the company that you

 24   founded?

 25       A.     Universal Computer Services.



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  1       Q.   And I think I have seen that referred to by its

  2   initials, UCS?

  3       A.   Yes, that's correct.

  4       Q.    When did you become a maker of what we would

  5   refer to as a DMS, dealer management system software?

  6       A.    Well, to go all the way back to the beginning

  7   of how it started and why it started, I went to work

  8   for IBM in January 10, 1966, for sales training, and in

  9   Houston branch office of the IBM Service Bureau.          There

 10   were a number of applications, what they call

 11   preplanned software or prepackaged software in those

 12   days.    They covered things like credit unions,

 13   brokerage firms, CPA firms.       And then they had two

 14   applications for car dealerships which I would describe

 15   as version 1.    They had a parts inventory system and an

 16   accounting package.

 17            As I have said just a minute or so ago, I'm

 18   very familiar with car dealerships.       I grew up on a

 19   small used car lot with my dad, and I went with him in

 20   my teenage years to things like car auctions.          I went

 21   to new car dealerships to see if they had some older

 22   model stuff that they would like to sell.

 23            At the same time, I started reconditioning

 24   cars.    Originally it was washing and waxing them, but

 25   then it evolved into curing rust.       Rust was a real



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  1   problem in those days.

  2       Q.   And would you consider the IBM software

  3   packages that you just mentioned, the parts and the

  4   accounting, would you consider those a DMS or did DMS

  5   apply to something later?

  6       A.   They were the early stages.      Those two

  7   applications are key applications even yet today.

  8   Accounting and parts are two of the major, probably --

  9   I consider there's probably eight applications that are

 10   in what is considered a DMS today.

 11       Q.   So how would you describe a DMS today?

 12       A.   It's an ERP system for car dealers, and it's

 13   highly specialized to how car dealers operate.

 14       Q.   And what was the acronym you just used?

 15       A.   ERP.

 16       Q.   What's that stand for?

 17       A.   That stands for enterprise reporting.

 18       Q.   When you were at UCS, were there particular

 19   kinds of car dealerships that you tried to focus on

 20   when you first entered the DMS business?

 21       A.   General Motors.

 22       Q.   And why was that?

 23       A.   They have a very, very compact part number.

 24   It's typically nine digits.       It's all numeric.    It's

 25   much easier to work with than, say, Ford.       Ford has a



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  1   part number which can be as long as 17 characters and

  2   has alphabetical components.       And the Ford system, Ford

  3   dealers like that because you can look at a part number

  4   and you can tell what year model, what year model Ford

  5   it is, which Ford, is it a truck number, is it a

  6   four-door sedan number, is it a Mustang number.

  7       Q.   So the General Motors ones, being all numeric,

  8   were easier to put into the computer?

  9       A.   That's right.

 10       Q.   In terms of -- let me ask you to fast forward

 11   and tell me about the acquisition of Reynolds.

 12       A.   What would you like to know?

 13       Q.   Why did you buy it?

 14       A.   It can be best described as I was on safari in

 15   Africa, and one of my hunter fellows came and woke me

 16   up in the middle of the night and said, Mr. Brockman,

 17   Mr. Brockman, wake up, big tiger, get your gun.

 18            And that's the reason why I did it.      They were

 19   my major competitor, and the thought -- well, at first

 20   it kind of terrified me.     The more I thought about it,

 21   it was really feasible from a financial standpoint.

 22   And it represented, again, the biggest tiger that I

 23   ever faced, and that's why I did it.

 24            My wife asked me, she said, tell me how our

 25   life is going to be better because of this.       I said,



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  1   well, it's not.     She said, okay, I just wanted to

  2   understand for sure.

  3       Q.   So at the time UCS and Reynolds merged

  4   together, who were the other companies that made DMSes?

  5       A.     It was a part of ADP, a division of ADP.          There

  6   was a small DMS provider out of Salt Lake City.          I

  7   would say as far as a complete DMS, there was just

  8   handful.

  9       Q.   And in this time period, right at the time of

 10   the merger, what would you estimate the market shares

 11   of the various DMS players to have?

 12       A.   Probably immediately after the merger, Reynolds

 13   and Reynolds, we didn't abandon the old name.          We just

 14   quit using it.     We used the Reynolds and Reynolds name

 15   because it's 150 years old and it's well known.         But I

 16   would say probably somewhere in the 40 percent area,

 17   mid 40s.

 18       Q.   And what about ADP's market share at that time?

 19       A.   Probably like 30, 35 percent.

 20       Q.     Who would have been the number 3 in the

 21   industry at that time?

 22       A.     I don't remember.    Those smaller companies kind

 23   of come and go, and I don't remember who the other

 24   ones -- there were several others, but again, very

 25   small.   And they would be a borderline whether or not



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  1   their product really could be considered a DMS.

  2       Q.   What would be it be considered if it wasn't

  3   considered DMS?

  4       A.   An accounting system.

  5       Q.   In the time that you have been in charge of the

  6   combined entities of Reynolds and UCS, have you tried

  7   to focus on larger dealerships?

  8       A.   Yes.   The small dealerships are marginally

  9   profitable because they don't use very many software

 10   packages because they are located in some small town

 11   where they know everybody already and they can stand up

 12   and look out the front window and see their inventory.

 13   They don't need software packages for that sort of

 14   thing.

 15            It takes a lot of travel.       There's a lot of

 16   what we call bug crushing time.        You got to go from one

 17   place to another place to another.       So we focus on

 18   bigger dealerships, more complex, and we find that the

 19   smaller dealerships can get by with a lesser product.

 20   The bigger dealers which are now more and more -- were

 21   one physical person will own now five dealerships, we

 22   see 10, 15, 20, 25 where they are consolidating smaller

 23   dealerships to gain scale.

 24       Q.   You said in that answer that the smaller

 25   dealerships are marginally profitable.        Did you mean



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  1   for Reynolds as having them as a client?

  2       A.   Yes, as well as for themselves.

  3       Q.   Has Reynolds been successful in its attempt to

  4   focus on large dealerships?

  5       A.   Not completely, but certainly we've made some

  6   real progress.    We have the number 2 largest public

  7   chain which is the Penske Group.      And then we have the

  8   largest private group which is Hendrick Motor Sports.

  9       Q.   What would you define as the larger

 10   dealerships?

 11       A.   Ones that have bigger physical facilities,

 12   bigger inventory, sell more cars per year, have more

 13   employees.

 14       Q.   Is there in your mind a number of rooftops that

 15   is sort of a dividing line between larger dealerships

 16   and medium-sized or smaller dealerships?

 17       A.   A small dealership would be something, an

 18   entity that sells less than 50 new vehicles per month.

 19   That would be considered a small dealership.       A large

 20   begins -- probably to be a truly large single-point

 21   dealership would be somebody that sells 400 new cars a

 22   month.   And one thing I would like to make sure is

 23   understood, I consider rooftops a very poor measure of

 24   market penetration.

 25       Q.   Why is that?



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  1       A.        Well, as a private company, the only things

  2   that count as far as I'm concerned is net profit.

  3   Sales dollars is very much less important.          The whole

  4   goal is to produce a quality product and sell it to big

  5   guys, and that means that I will forever trail

  6   rooftops, and not deservedly so.          Of course, I don't

  7   publish financial statements, so I just have to accept

  8   the fact that everybody will think that we are smaller.

  9          Q.    So the better measure for you, rather than

 10   rooftops, would be the total sales that the dealership

 11   has?        Would that be a factor you would look at?

 12       A.       Yes, certainly a larger dealership would be a

 13   better prospect for us.          They would be more apt to need

 14   and want advanced software.

 15          Q.     When you say advanced software in that answer,

 16   what are you referring to?

 17       A.        Well, the basic software was accounting, parts,

 18   service, inventory, financing, factory communications,

 19   payroll, human resources management, just a larger

 20   number.       In some cases as many as 25 or 30 different

 21   applications would be sold for an individual rooftop.

 22          Q.    And what capability does Reynolds have to serve

 23   these large dealerships that, say, some other DMS

 24   company wouldn't have?

 25       A.        We just have more, and they are better.      They



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  1   are better engineered applications.      And the goal is to

  2   provide the management tools that help a dealer operate

  3   profitably above all else.

  4       Q.     When you say they are better engineered

  5   applications, do they have proprietary software to

  6   Reynolds?

  7       A.   No.    We build all our own software.

  8       Q.     Is there software that Reynolds provides that

  9   helps a dealership that has multiple different OEMs

 10   that they serve have consolidated accounting across all

 11   their --

 12       A.   No.   And especially what I call side-by-side

 13   reporting where we have a report that's this wide and

 14   you have dealership number 1 numbers, dealership number

 15   2 numbers, dealership number 3 numbers and where you

 16   can see what's going on kind of at a glance.       And then

 17   we also consolidate for financial reporting.

 18       Q.     Why is it other DMSes can't provide that kind

 19   of information?

 20       A.     They can but it's a struggle.   Whereas, our

 21   software, you press the button and you get the display

 22   instantly.     Our accounting system is instant update.

 23   In management, particularly of multiple dealerships,

 24   the ability to push a button and see all this on the

 25   screen and print it off is very advantageous.



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  1   Dealerships are -- they are different than your typical

  2   business in that they measure things literally by the

  3   hour.    Dealerships are very thinly profitable.       They

  4   operate on a 1-1/2, 2 percent margin.      And if we don't

  5   have good sales this Saturday, then we miss our target,

  6   we've got to take action so that we have more sales

  7   next week to make up for the fact that we didn't hit

  8   our numbers this week.     So the interest and need for

  9   realtime kind of information to drive a dealership, if

 10   you think of it as a ship, daily or weekly or monthly,

 11   that kind of numbers don't really cut it.       You got to

 12   have right-now kind of stuff.

 13       Q.    When your sales force is talking a large

 14   dealership, do you explain to them that you have

 15   capabilities that other DMS providers don't have?

 16       A.    That's the goal.    I teach our salespeople

 17   forget being a salesman because you don't sell this

 18   kind of stuff.    I mean, people buy it, but you are not

 19   going to hammer through and convince them to buy your

 20   stuff.    What you do is you teach.    You teach how your

 21   stuff works and you teach them how it can be used in

 22   various segments of their business to earn more

 23   profitability.

 24       Q.    What would be some of the things you would be

 25   teaching a dealership in terms of your DMS's capability



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  1   that is superior to other DMSes in the marketplace?

  2       A.    I would say the first and probably most

  3   important thing we talk about is we refer to it as

  4   built as one, works as one.      So you can have multiple

  5   applications, but they talk to each other, which

  6   eliminates a lot of data entry.       It makes the ability

  7   to produce a report that has information from multiple

  8   packages all showing on a screen at once.

  9       Q.    What other DMSes are most capable of also

 10   servicing the large dealerships?

 11       A.    It would be CDK.

 12       Q.    And what is it that CDK has that, say, the

 13   other ones in the market don't have?

 14       A.    They have a lot of historical -- they have been

 15   in business for a long time.       Again, this is back to

 16   the issue of how do you define market share.       If you

 17   define market share by rooftops, they will sell them

 18   any size, including the little bitty ones just to get

 19   rooftop counts because that's what pleases the

 20   analysts.   As a public company, they have to chase that

 21   number.

 22       Q.    Are there arguments or teaching moments that

 23   you have your sales reps do to explain what the

 24   features are of the Reynolds DMS that other smaller DMS

 25   companies just simply can't replicate?



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  1       A.      Absolutely.   I mean, that's what we are looking

  2   for.     Car dealers are an interesting lot.         Over the

  3   time that I have been in the business, where a car

  4   dealer is born, they are born as car salesmen.              And

  5   they are very successful car salesmen.            They accumulate

  6   enough nest egg so they can actually buy their own

  7   dealership.      They are, frankly, in most cases, have no

  8   formal education past high school.            They are physically

  9   attractive.      They are very people sensitive.           Their

 10   whole goal is to get the person who is interested in

 11   buying a car to like them and have personal rapport.

 12               But so the challenge that we face is getting

 13   enough teaching time.       The way that I was successful

 14   back in the beginning, I was not ever a salesman.

 15   never held myself out as a salesman.            I was an

 16   inventory system consultant.            That was what my business

 17   card said.     And if I could get five minutes with a

 18   prospect, that would give me all the time that I need,

 19   all the audience that I need because they were

 20   convinced that I knew what I was talking about.

 21          Q.   So aside from built as one, works as one and

 22   the capability to call up more information on the

 23   computer screen, what other attributes does Reynolds

 24   teach the dealership about that makes its product

 25   superior?



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  1       A.     Well, probably one of the more important places

  2   is car deals, transaction documents and the sale of a

  3   vehicle.     You would think you would get all that done

  4   on one page.     Well, it's more like 30 or 35 pages,

  5   especially when there's financing involved.       And from a

  6   process standpoint, when a car sale occurs 90-plus

  7   percent of the time it's going to be financed.         And a

  8   very large percentage of that group will be financed

  9   with what we call the captive finance companies.

 10   That's Toyota Motor Credit, Ford Motor Credit.

 11              The mechanical process is that while the forms

 12   are prepared by typically an electric typewriter hooked

 13   to a computer that actually types, fills in all the

 14   blanks, it gets signed up, and then every day FedEx

 15   packages go from the dealership to the lender.         And if

 16   they are doing five lenders, well, it would be five

 17   daily FedEx packages.      And it arrives into a big puddle

 18   of clerks that open the FedEx packages and they take

 19   out the loan documents, and they commence to go through

 20   the loan documents to make sure everything is

 21   completed.

 22              If everything works good, the typical

 23   turnaround time is 12 days before the dealer actually

 24   gets the money from the finance source.       In the

 25   meantime, he has to pay off his floor plan daily.         For



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  1   every car that leaves the lot, it's got to be paid off

  2   within 24 hours.     So there's a big stretch in there

  3   that takes a lot of working capital.

  4              What happens if something is not initialled

  5   properly?     It goes back in another FedEx package back

  6   to the dealership.      The dealership then opens it up,

  7   figures out what's wrong, and nine times out of ten,

  8   they have to ask the consumer to come back to the

  9   dealership to sign a new -- that is never, ever easy

 10   because consumers don't want to do that.           If there's a

 11   little more money involved, it's even worse.

 12       Q.   So is that a procedure that the Reynolds DMS

 13   can handle more seamlessly than one of the smaller DMS

 14   companies?

 15       A.   Exactly.    We have a product which we call

 16   DocuPad.     It is about 4-1/2 feet probably and 30 inches

 17   wide, and it has a 32-inch video screen.          And the whole

 18   transaction takes place on the video screen.          And the

 19   customer actually drives it.           They have their own

 20   stylus and they click on this, click on that.           The end

 21   result is you have a complete electronic document.            And

 22   we know on every document where it's got to be

 23   initialled, where it's got to be signed.           If it's not

 24   initialled and signed, we won't let it go.          So that

 25   means the flow going to the finance company is clean,



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  1   and you don't have where something is missing and it's

  2   got to be sent back to the dealership and the consumer

  3   has got to come back in.       We just cut all that out.

  4       Q.   Is this DocuPad a product that Reynolds lets

  5   dealerships use that are not using a Reynolds DMS?

  6       A.   No.    It is actually built into Reynolds' DMS.

  7   The calculations, for instance, that show on the screen

  8   are really from our standard finance package, all the

  9   rate calculations, the payment calculations.       It's all

 10   part of our main F&I system.

 11       Q.   So that would be proprietary to Reynolds?

 12       A.   Yes.

 13       Q.   Can you give us another example of a feature

 14   that Reynolds has when you are educating the dealer

 15   about why they should go with Reynolds rather than one

 16   of the smaller DMS companies?

 17       A.   Probably another example is actually a fairly

 18   old example, but it's still really, really true.         In

 19   the parts system, we actually prepare the parts

 20   invoice, which means that the parts department employee

 21   keys in the account number for the customer, and then

 22   they key in the part number for each part that's sold

 23   all in a blank.     The inventory levels are reduced on

 24   those parts that have been sold.       But probably more

 25   importantly is, and that's it's made possible what we



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  1   call matrix pricing.

  2       Q.     What's matrix pricing?

  3       A.     It means that you end up with differing prices

  4   to the end user.

  5       Q.     Differing prices based on what?

  6       A.   Based upon what matrix that has been assigned

  7   to them.    Basically what happens is that the parts

  8   department, as things get continually squeezed, as they

  9   always do, they have put some severe thought into how

 10   much it costs them to service different types of

 11   customers.     The worst type of customer is the guy that

 12   comes in on Saturday, he had something broken on his

 13   car but he doesn't have the part number.       So he says, I

 14   have got such-and-such kind of car and I need the

 15   thingamabob.    And they start going through the

 16   electronic parts catalogs looking at pictures, and he

 17   says, there, that's the thing I want.

 18            And lots of times the dealership doesn't have

 19   the part, but lots of times it does and they'll

 20   complete the sale.     About half the time those parts

 21   come back on Monday returned for credit.

 22       Q.     Is this parts system that you have built,

 23   that's something you can only get with a Reynolds DMS?

 24       A.     The parts invoicing system is an integral piece

 25   of the whole system.      And what it does is it decides,



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  1   for instance, this type of customer I just described,

  2   he doesn't get any discount at all.      But if there's

  3   another type of customer who you are fighting with a

  4   competitor to sell to, the discount is going to be very

  5   finely regulated, just a hair less expensive than the

  6   competitive dealership.

  7       Q.   And this is a system that Reynolds has

  8   developed internally?

  9       A.   Over the years.     I actually developed it in a

 10   system that goes back to like 1975.

 11       Q.   You mentioned in a prior answer that -- I don't

 12   think I followed your answer completely, but you were

 13   mentioning a screen where a dealership had side-by-side

 14   dealerships, I believe, is the phrase you used.

 15       A.   Correct.

 16       Q.   You were describing something that was going to

 17   come up on the screen when they pushed one button.         I

 18   don't think I followed what your explanation was.

 19       A.   Again, this is specific and unique to

 20   dealerships.   They have a concept called daily

 21   operating control.    And what that is, that is not a

 22   true financial statement but their best guess as where

 23   they are at as far as sales and profit every month

 24   compared to their goal where they want to be at the end

 25   of the month when the formal financial statement is



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  1   published.

  2            But they want to know -- a multi dealer, he

  3   wants to know if, say, he has five dealerships, he

  4   wants to know how the whole fleet is going.        And so

  5   this is the ability to press the button and have the

  6   daily operating control numbers, which is as close as

  7   you are going to get to a financial statement

  8   approximation, to have those displayed on the screen

  9   simultaneously side by side.         And there's different

 10   formats.     You could have instead of just one column per

 11   dealer, you might have three columns per dealer.

 12       Q.   And this was a process that was developed

 13   internally at Reynolds?

 14       A.     Yes.

 15       Q.   And this is a process that you can't get if you

 16   have a non-Reynolds DMS?

 17       A.     The competition has varying levels in the same

 18   kind of capacity.       Product development is, in our

 19   world, a rat race.       What you do is you have an idea and

 20   you work hard and you build it, and for a while you

 21   have exclusivity, and that helps sell complete systems.

 22   And then the competitors see what you are doing and

 23   they copy it.      And then that cycle just continuously

 24   goes on.    And it's been that way the whole time that I

 25   have been in the business.



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  1       Q.   So in terms of this product, what would you

  2   have your sales force educate the dealer about to

  3   convince them to go with a Reynolds rather than some

  4   other DMS?

  5       A.   The DocuPad system is our sharpest, most

  6   powerful, most salable, best recognized product.         That

  7   would be the one that they would certainly start with.

  8       Q.   In terms of going into a large dealership and

  9   distinguishing Reynolds' product as uniquely positioned

 10   to serve a large dealership, what would you teach the

 11   owner of the dealership?

 12       A.   There's an interesting phenomena that has to do

 13   with the sale of after-sale products.      The typical

 14   cycle of a sale of a vehicle goes like this: The

 15   prospect comes in and they kind of generally know what

 16   they want.   They are looking for cars or a pickup

 17   truck.   The salesperson talks with them and tries to

 18   get them to settle on something that they can afford

 19   that's what they want.     So the negotiation takes place

 20   and a, quote, deal is agreed upon.

 21            Then they have -- the buyer is taken typically

 22   to a reception lounge and has to wait probably

 23   45 minutes to an hour to get to go to finish up the

 24   paperwork.   Well, that's what the customer thinks.        But

 25   what's really going on is this is now the second



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  1   attempt to sell a whole bunch more stuff.         This is

  2   where the extended warranties are sold.         This is where

  3   what they call rust and dust, it's the paint protection

  4   package.    It's where they sell you specialty insurance

  5   for your tires and wheels.       So if you live in a town

  6   that's got lots of potholes and you have got

  7   low-profile tires and aluminum wheels, you are going to

  8   have a problem at some point.

  9            And all this is done in the monthly payment,

 10   which is critical to the buyer.        It is recalculated

 11   every time something is put on or taken off.        People

 12   don't like that, that process.         I remember when my son

 13   went out to buy his first car, I said this is what's

 14   going to happen.     When you go in that room to finish

 15   the paperwork, do your arms like that, and it's no to

 16   everything.

 17       Q.   So how does this factor in to your ability to

 18   get large dealerships to go with Reynolds?

 19       A.     There's one more little tidbit.      In DocuPad, we

 20   don't do the strong arm.       They have their side of the

 21   DocuPad, and we present to them lots of times with

 22   visual sales aids, sometimes videos, they have their

 23   own stylus and they say, okay, I would like to have

 24   that one.    And it recalculates what the payment is

 25   going to be.    And well, that one is a little too much,



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  1   so I'll take that one off.         Let's do this one, and it

  2   recalculates the payment.

  3             The miracle is people, by themselves, will buy

  4   more than happens when they are dealt with pushy

  5   salesmen.

  6       Q.    Is this a feature that you have found is easier

  7   to explain to a large dealership?

  8       A.    Yeah.

  9       Q.    Why is that?

 10       A.    It enables the whole transaction to take place

 11   rather quickly.       And people, many, many customers, they

 12   just want to get done with the process and get on with

 13   life.    So they make their decisions like that.        But the

 14   end is, on average, a dealership that's using DocuPad

 15   will generate $200 more profit than doing it the

 16   traditional way.

 17       Q.    Does CDK have something comparable to DocuPad?

 18       A.    They have a system that's called -- it has a

 19   name, but I'm sorry, I can't recall exactly what it is,

 20   where they have a menu of things that you can buy.          It

 21   works on a slate, and you can check off the things you

 22   want and things you don't want.          But it's not

 23   integrated into the finance system so you don't get the

 24   payment refresh.

 25            And there is nothing out there that compares to



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  1   the DocuPad and the ability to do payment refresh so

  2   that as people make their choices, they see what

  3   happens to their payment and they can put things on,

  4   take things off.        We are the only ones that do that.

  5       Q.     So I have seen mention in some of the documents

  6   there's other DMS companies like Dealertrack and

  7   Auto/Mate, would they have something comparable to

  8   DocuPad?

  9       A.     No.     We have invested I don't know how much,

 10   but it's in the millions in the software to make all

 11   this work.

 12       Q.   And your investment in software, is it fair to

 13   say it's been geared toward larger dealerships?

 14       A.     Yeah.    Smaller dealerships operate at a much

 15   slower pace.        For example, we just finished installing

 16   this at the Penske Group which has 150 dealerships.

 17   And the Penske Group, what they were spending per month

 18   on FedEx to get transaction documents in from a

 19   dealership into their central accounting office would

 20   be enough to make a strong man weep.

 21              So if you use DocuPad, everything is

 22   electronic.      So it's electronic, like instantly.     So as

 23   soon as the transaction is finished, you hit the finish

 24   button, the whole thing, all the forms, all the

 25   signatures, everything goes to the central accounting



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  1   office without having to use FedEx, which is a

  2   significant savings.

  3            Also from a manpower standpoint, since we have

  4   so many computer checks for DocuPad to ensure that the

  5   transaction is done properly, when you don't have

  6   kickbacks from the finance sources, life becomes

  7   tremendously simpler.     The whole organization can close

  8   their books a couple of days earlier than what they are

  9   used to closing them because they are not having to

 10   wait for packages of deals to come in.      You don't get

 11   them -- in the old manual way you don't get them until

 12   probably a week after month close.      With DocuPad, you

 13   have them right to the close and you don't have to ship

 14   anything around.    All the consolidation is -- it's all

 15   automatic.

 16            The updates to the accounting system are all

 17   done hands-off.    And to a big dealer, that's very

 18   important.   As a matter of fact, we have prospects that

 19   buy DocuPad more for that than they do for the fact

 20   that they can sell more and then generate more profit

 21   per deal.    Their big bugaboo is the working capital

 22   that it takes to fund a transaction until you finally

 23   get funded by the finance source.

 24       Q.   And that's available to any dealership?        Not

 25   just Penske?



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  1       A.   Any Reynolds.

  2       Q.     I want to shift gears a little bit before we

  3   take our first break and talk a little bit about

  4   Reynolds' relationship with the car manufacturers,

  5   which I'll refer to as the OEMs, if that's comfortable

  6   with you.

  7       A.     Yeah.

  8       Q.     Can you explain how the Reynolds DMS interacts

  9   with OEMs?

 10       A.     Yeah.    Probably the simplest way to say is yes,

 11   it does.

 12       Q.     What kinds of -- I assume it's data being

 13   transmitted in some form.          Can you explain what data is

 14   going on and what direction it's going and what kind of

 15   data it is.

 16       A.     It varies by OEM, but common to all of them is

 17   they want to know if the sale of a vehicle took place

 18   and they want to know what the vehicle identification

 19   number is of that vehicle because that helps them in

 20   their production planning.

 21              There is this ongoing disagreement between

 22   dealers and OEMs as to who owns the customer.          Dealers

 23   like to think very much that they own the customer.

 24   However, the OEMs, through the software that we

 25   provide, you get all the information about all the



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  1   customers and they build customer files on the fly.

  2   And they like to think that their direct mail pieces

  3   will be more effective than what the dealer does, which

  4   in some cases it is because they have dealers out there

  5   that don't do anything as far as customer follow-up is

  6   concerned.         They are archaic.

  7          Q.    Does the --

  8       A.        The OEM specifies what we have to do, and they

  9   have a great cloud over our heads, because if we don't

 10   do exactly what they want us to do as far as taking

 11   data out of the DMS and shipping to it the OEM, they'll

 12   disqualify us.         And our ability to be qualified a

 13   supplier of factory communications for their OEM is

 14   lifeblood for us.          For instance, if General Motors

 15   decides they want to have a whole bunch more stuff as

 16   far as lots of data and data fields sent to them on

 17   each car deal, we say, yes, sir, yes, sir, because we

 18   dare not.

 19          Q.    Do they pay you for this?

 20       A.       No.    They actually make the dealer pay.     The

 21   dealer pays us for factory communications which is

 22   the size of that bunch of software varies by OEM.

 23   General Motors is probably the most demanding right

 24   now.        Ford has occupied that title for a while.      But

 25   again, the OEMs are kind of at a constant race, among



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  1   other things, to be closer to what's going on in the

  2   field.

  3       Q.    So just so the record is clear on this, I'll

  4   tell you my understanding.       You correct me if I'm

  5   wrong.   But if I go in to a General Motors dealership

  6   and I buy a General Motors car, General Motors expects

  7   you to take the data that I have been inputted into the

  8   dealer's DMS, my name, the VIN number of the car I

  9   bought, maybe other details, and they -- General Motors

 10   expects Reynolds to take that data that is in the DMS

 11   that the dealer has entered and ship that information

 12   to General Motors; is that correct?

 13       A.    You got it exactly correct.     Now, there's a few

 14   more touches.     The dealer has actually authorized

 15   General Motors to do that, okay.        Why would they do

 16   that?    Well, every few years, there's changes to the

 17   dealership agreement with the factory.       And this is not

 18   a negotiated situation.       It is a   you will.   So if a

 19   dealer should dissent and say, for instance, forbid us

 20   to do what we do, he would start to suffer in many

 21   ways.    He wouldn't get the fast-moving cars.      His

 22   payments coming back from the captive finance company

 23   may not be as prompt as they used to be.        It is -- you

 24   might face warranty claim audits more often than the

 25   typical dealership, which are painful and expensive.



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  1       Q.   Am I correct in my understanding that at some

  2   point after UCS bought Reynolds that there was a breach

  3   of contract suit that went on between Reynolds and

  4   General Motors?

  5       A.   I think there was something, but frankly, I

  6   don't remember exactly the details of what that was all

  7   about.

  8       Q.   You mentioned in a prior answer that one of the

  9   things you are very concerned about is the prospect of

 10   having an OEM decertify Reynolds as a DMS.       What did

 11   you mean by decertify in that answer?

 12       A.   Decertify, again, they publish very detailed

 13   specifications as to how our dealer-to-factory

 14   communications has to work, what data has to be

 15   provided, in what format.     And they change that stuff

 16   maybe not quite yearly, but certainly every two years

 17   there are changes.    And we have to reprogram to meet

 18   the new specifications, and if we should fail to do

 19   that, we would not be a certified provider of

 20   dealer-to-factory communications for that OEM, which

 21   would have disastrous effects from a business

 22   standpoint.

 23       Q.   You say disastrous effects from a business

 24   standpoint, you mean from a Reynolds business

 25   standpoint?



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  1       A.    Yes.

  2       Q.   And would the fear there be that if you had a

  3   GM -- if you were decertified by GM, all of your GM

  4   dealers who use your Reynolds DMS would have to shift

  5   to a different DMS?

  6       A.    Correct.

  7       Q.    Has Reynolds been decertified?

  8       A.    No.    But they also, when they give us specs and

  9   they give us the order about what has to be done, they

 10   never give us enough time to build it in an orderly

 11   fashion and fully test it.        There's always an extreme

 12   pressure scramble.      Some manufacturers are better about

 13   that.    Some are worse.     GM is one of the worst.    And

 14   Mercedes is probably one of the better.        Toyota is

 15   really good as far as giving us a good spec.

 16             We have lots of situations with General Motors

 17   where the spec is -- has conflicting instructions as

 18   what's to be done, and we have to go back to General

 19   Motors and say, hey, your spec has got a problem; let

 20   me point that out to you.        We teach them what they did

 21   wrong and then they change the spec.       And then we are

 22   able to finish the programming and actually get it in

 23   the field.

 24       Q.    How many OEMs have certified Reynolds?

 25       A.   All of them.



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  1       Q.     Is that also the case with some of the smaller

  2   DMS companies?

  3       A.     The smaller DMS companies, considering the

  4   amount of grief that we go through to stay certified, I

  5   don't know how the small guys do it.       I think what they

  6   must do is they must focus on one OEM or maybe two.

  7   Whereas, we have folks on all of them.
  8       Q.     You mentioned in a prior answer that General

  9   Motors makes the dealer pay for the data transfer that

 10   Reynolds does to General Motors.       How is that payment

 11   made?

 12       A.   Part of our standard monthly bill.

 13       Q.   So the bill that General Motors sends to the

 14   dealer has a line item for this?

 15       A.   No.    It is -- the situation is more like this.

 16   They say, Mr. Dealer, you need to sign up with Reynolds

 17   and Reynolds for the General Motors OEM communications

 18   package.     This goes in effect December 1st.    And in

 19   most cases they actually even mandate what that charge

 20   will be.    Sometimes it's a monthly charge.     Sometimes

 21   there's a one-time and then a monthly charge.

 22            But it then looks as though we sold them

 23   factory communications.       Well, it's nothing of the

 24   sort.    What they did was we get that business because

 25   we are certified.     And because our factory



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  1   communications is very tightly integrated into the DMS,

  2   and trying to use the standalone factory

  3   communications, the amount of key entries it would take

  4   to get the data together and get it shipped to General

  5   Motors would be unthinkable.

  6       Q.     I'm not sure I follow exactly how the payments

  7   were made.    You said it's either a monthly or a

  8   one-time fee.      How is this payment made?

  9       A.     It's a product amongst all the rest of our

 10   products, and we invoice for it and collect it.         And

 11   that's our pay for putting up with what General Motors

 12   wants.

 13       Q.     Does it appear as a separate line item?

 14       A.    Yeah.    It will say GM Factory Communication.

 15   Or if they have multiple OEMs at the dealership, a

 16   similar process will take place with each OEM, and

 17   we'll bill it.       It will be a standard line item for us

 18   to bill.

 19       Q.     I have seen on the documents reference to RCI,

 20   Reynolds Certified Interface, I believe it stands for.

 21   Are the OEMs part of RCI or are they part of some other

 22   type of certification within Reynolds?

 23       A.     The OEMs, we consider them part of RCI.      From a

 24   programming standpoint they are.         The same team handles

 25   that.    And that is the way that it gets into our



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  1   invoicing system.

  2          Q.        You said in that answer, you emphasized the

  3   word        we    when you said that we consider it that way.

  4   Is there to some degree some different thinking on

  5   whether the OEMs are RCI certified?

  6       A.           Well, the   we   includes me and everybody else.

  7   My position is I was the only programmer for the first

  8   five years, but I have not written a line of code since

  9   1992.        That's when we bought Ford Computer Services

 10   from Ford Motor Company.             However, I hang out with the

 11   programmers a lot.            I know them all -- not all of them

 12   because there's hundreds of them.            But the key ones I

 13   know very well and have worked with them for a long

 14   time.

 15                And in product development, what my position

 16   is, there's an idea to build something and there's

 17   probably several other ideas to build something.             You

 18   know, there's many competing wishes for this or that or

 19   whatever, and I'm the guy that decides what we will and

 20   what we won't from a product development standpoint.

 21   So that's my relationship to the programming

 22   department.           I'm the keeper of the budget.

 23          Q.    And you said the same team works on the OEMs.

 24   You mean the same group of software programmers that do

 25   all other RCI interfaces also are the same people that



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  1   work with the OEMs?

  2       A.    That's a little more complicated to answer

  3   because factory communications started 30 years ago.

  4   And so the factory communications team was part of the

  5   main programming group, which in those days, of course,

  6   was much smaller.    And I can remember the factory

  7   communications team is maybe like two or three

  8   programmers.     They got done what needed to be done.

  9            As time has gone on, it looks like those

 10   programmers don't belong in the main programming group.

 11   They belong off in the group that handles RCI requests

 12   when it comes to OEMs.

 13       Q.    You mentioned in a prior answer, I didn't quite

 14   catch it, but you gave a date and you said that's when

 15   we acquired, and I thought you said something about

 16   Ford.    You acquired something from Ford?     I didn't

 17   follow that.

 18       A.    Ford Motor Company -- and they started this

 19   probably in the late '60s.      They were dissatisfied --

 20   Ford was dissatisfied or Ford dealers in general were

 21   dissatisfied as to what was available to them from a

 22   DMS perspective.    So Ford built their own DMS software

 23   in a department, a fairly large department inside Ford

 24   Motor Company.    But they didn't do a very good job at

 25   it mainly due to some personnel practices that Ford had



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  1   which were -- when it comes to software development,

  2   were quite insane.

  3              What they did was Ford Motor Company has a

  4   policy called cross-functional assignment where they

  5   take managers and they move them out of their skill set

  6   and they put them in other departments just for them to

  7   learn how the rest of the business works.            And so the

  8   programming department that was fairly large was led

  9   by -- the supervisors throughout that department to a

 10   man, we are not programmers.             They had never written a

 11   line of code and they were put in to supervise a

 12   programming team of 6, 8, 10, 15 people without a clue

 13   how to evaluate what they were doing.            And therefore,

 14   Ford Dealer Computer Services' DMS product did not

 15   prosper.

 16              The dealers kept bitching, so -- to a gentleman

 17   by the name of Bob Rewey, who was vice president of

 18   sales for Ford Motor Company worldwide.            And he got

 19   tired of it and he said, I want to sell the goddamn

 20   thing.     They put it up for bid, and we won the bid and

 21   quadrupled revenues overnight, tripled personnel

 22   overnight and became kind of the dominant supplier of

 23   DMSes for Ford dealers.

 24       Q.     Was this UCS that purchased this?

 25       A.     Yes.



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  1       Q.   This was prior to the time you merged are

  2   Reynolds?

  3       A.   Yes.    Reynolds merger was 2006.        This one was

  4   1972.

  5            (A recess was taken.)

  6            BY MR. ABRAHAMSEN:

  7       Q.   We'll go back on the record.

  8       A.   Can I clarify a date?

  9       Q.   Yes, by all means, Mr. Brockman.

 10       A.   The Ford Dealer Computer Services acquisition

 11   was 1972.

 12       Q.   1972?

 13       A.   Yeah, 1972.

 14       Q.   So that would have been just a couple years

 15   after you formed UCS?

 16       A.   Wait a second.      Excuse me.      It was 1992.

 17       Q.   Okay.    So about a goodly amount, over 20 years

 18   after you formed UCS and several years before you

 19   bought Reynolds?

 20       A.   Um-hum.

 21       Q.   Thank you very much for clarifying the record.

 22   Let me show you an exhibit we've marked as CX 4468 and

 23   ask you to take a look at it.           CX 4468 has Bates number

 24   REYCID0568116.      It appears to be an e-mail with an

 25   attachment from the National Automobile Dealers



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  1   Association.    And my first question for you,

  2   Mr. Brockman, is whose handwriting is on the first page

  3   of the exhibit?

  4       A.     That's mine.

  5       Q.   And what was the occasion for you to take these

  6   handwritten notes?

  7       A.     I was planning to -- I personally felt like I

  8   needed to attend an NADA/Reynolds data meeting.

  9       Q.     What was the purpose of the Reynolds data

 10   meeting?

 11       A.     Well, Peter Welch, of course, is the president

 12   of NADA, or was at that time, and I was very interested

 13   and concerned that what we might do as far as data

 14   security going forward to comply with what NADA's

 15   recommendations were.

 16       Q.     What were your concerns?

 17       A.     Well, at this point in time, I was not really

 18   fully informed as what the federal laws were as far as

 19   data security is concerned, and this particular meeting

 20   was really quite valuable in teaching me more about

 21   what was going on as far as data security is concerned.

 22   There was a gentleman, and I'm sorry I don't recall his

 23   name, but he was an attorney with NADA who specialized

 24   in knowing such things, and it was very, very useful to

 25   listen to what he had to say.



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  1       Q.   Let me ask you to turn to the page that has

  2   CX 4468-007.   I'll let you take a look at that page,

  3   but let me -- I'm going ask questions about security

  4   protocols when it comes to DMSes with regard to third

  5   parties and whether or not the dealer can give a user

  6   name and a password out to a third party and how this

  7   document addresses that issue.

  8            So I was going to ask you to look at the text

  9   at the top of this page, and I'm just going to ask you

 10   to give me your interpretation of footnote 19.         I'll

 11   give you a chance to catch up.

 12       A.   The print is small, but I have read it.

 13       Q.   Is this document from NADA taking the position

 14   that the dealers can be permitted to give their vendors

 15   password access to their DMS?

 16       A.   I don't think so.

 17       Q.   How do you interpret the document?

 18       A.   I interpret the document as certain safeguards

 19   had to be followed when it comes to dealership data

 20   because dealerships were considered to be financial

 21   institutions, and therefore, to continue to qualify as

 22   financial institutions, there's certain things you have

 23   to do having to do with who gets access to what.         A

 24   third party has to be covered by contract.       A dealer

 25   has to have a contract with the third party before they



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  1   can have any data that they hold turned over to them.

  2   All told, my perception of this document is things

  3   needed to be tightened up even further than what they

  4   were before.

  5       Q.   Tightened up further in the sense that -- in

  6   what sense?

  7       A.   Well, as to who has access.      The whole

  8   evolution of security with DMS systems has kind of been

  9   a long and twisted trail.       Reynolds, when I arrived, as

 10   far as passwords are concerned, they had evolved

 11   somewhat.   Back in the beginning, a single password

 12   would get into thousands of Reynolds computers, and

 13   they had connected down to where it was a password by

 14   region and a password by state and then ultimately an

 15   individualized password because that was viewed to be

 16   kind of the first line of defense.

 17            Dealers don't understand passwords and

 18   security.     They don't particularly want to.    Certainly

 19   the managers inside the dealerships are paid off gross

 20   profit, and they are interested in increasing gross

 21   profit and very little else.

 22       Q.   I take it the evolution of this security

 23   development included a period where dealers were giving

 24   out passwords to app vendors; is that correct?

 25       A.   Yes.   It was widespread.



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  1       Q.   And is that contrary to your belief as to how

  2   data should transfer out of a DMS into a third party's

  3   hands?

  4       A.   It absolutely is at variance with the way I

  5   understand that it has to be done.

  6       Q.   And your preferred approach would be for the

  7   DMS and the DMS only to transfer data out of the

  8   dealer's DMS; is that correct?

  9       A.   That would be my preference in that handling of

 10   data has substantial liabilities attached to it.         Based

 11   upon my experience so far, whenever there's some kind

 12   of data breach, whether or not we are responsible or

 13   not, we are the first ones that get called.

 14       Q.   Well, when you say a liability in that answer,

 15   you are talking about potential liability for Reynolds

 16   and Reynolds?

 17       A.   Yes.

 18       Q.   And the liability would arise -- correct me if

 19   I'm wrong, but your fear is that if a dealer authorized

 20   some third party to get data from the dealer's DMS, if

 21   that data got into the wrong hands, you have a fear

 22   that even though it was the dealer that permissioned

 23   that, you would be the deep pocket and you would

 24   ultimately face possible liability?

 25       A.   That's correct.     At the very, very minimum, we



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  1   would be on the hot seat.      And we know that because we

  2   have been through one significant experience.          There

  3   was a dealership called Franklin Chevrolet, and they

  4   had a general manager that had password access, quite

  5   properly, to everything inside the dealership's

  6   computer.   And I think probably unknown to the dealer,

  7   because the dealer was clueless as far as security is

  8   concerned, this general manager copied the entire

  9   customer file to a laptop, his own laptop.       And he

 10   ultimately left that company, and I don't know what the

 11   circumstances were of that, but sometime after that,

 12   the entire customer file for that dealership was posted

 13   to the internet.

 14            And a complaint was made to the FTC, quite

 15   properly so.   The FTC went to the dealership and said,

 16   look, this is your customer data that's been posted on

 17   the internet; what's going on?        And the dealer said, I

 18   don't know; that's computer stuff; go talk to my

 19   computer provider.

 20            And so we started meeting with the Federal

 21   Trade Commission, and that's where we met Michael.             It

 22   took quite a bit of discussion to get it clarified that

 23   this was not a computer error or software error.          It

 24   was a personnel problem.      And when we finally got that

 25   straight, that was about $400,000 later in legal fees.



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  1   So we got kind of a rude lesson as to what the

  2   potential involvement we would have because I mean,

  3   just to explain, look, guys, we didn't do this, your

  4   guy did it.

  5       Q.   Let me ask you to -- I'm just going to follow

  6   up on something you said about CX 4468.       I believe you

  7   said that you took from this publication the sense that

  8   Reynolds had to do more in terms of its security.         What

  9   was it about the document that suggested to you that

 10   Reynolds needed to do more about security?

 11       A.   Well, it became pretty clear that allowing a

 12   third party to have access rights to our software, to

 13   pull off information and resell it to somebody else,

 14   that there was ample potential for us to get wrapped up

 15   in that whole thing.

 16       Q.   Did you have a sense that in an ideal world if

 17   you were able to have complete say over the -- what

 18   NADA's position was on security, that you would seek to

 19   have NADA come out with a stronger security statement

 20   than this where instead of just saying that they had to

 21   audit password access, that NADA might say that dealers

 22   shouldn't grant people outside of their dealership

 23   password access?

 24       A.   I don't know that we thought about doing that.

 25   Generally our attitude towards really any kind of



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  1   requirements as far as our software is concerned is we

  2   seek a written document that we can peruse at length

  3   and understand it in depth.      To go for conversation is

  4   not our preferred way.     As programmers, you know, we

  5   want a spec in writing.

  6       Q.   And in fact, your contracts with your dealers

  7   say that they can't give out their password to anyone

  8   outside the company; is that correct?

  9       A.   Correct.    And that has been the case -- it

 10   certainly was that way at UCS.       At Reynolds it was that

 11   way long before I came.     And it, in my opinion, is kind

 12   of the first step in having a sensible and coherent

 13   data protection strategy.     And that's one of the things

 14   we do with RCI is we know exactly which data fields,

 15   which records the third party gets, and we know when

 16   they get them.      They can't get any more than that

 17   without going through some process with us and also

 18   with their customer that additional data fields are

 19   appropriate or not.

 20       Q.   Let me ask you to take a look at another

 21   exhibit, CX 2250.     CX 2250 has Bates CDK CID 03047915.

 22   I'll ask the witness to take a look at it.       This is an

 23   e-mail from Mr. Brockman to Mr. Workman and others with

 24   an attachment.

 25            My understanding of this document is that you



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  1   had had some sort of meeting with some people from what

  2   was then ADP at an NADA meeting, and then folks from

  3   what was then ADP sent you some materials.       And this

  4   e-mail and the attachment is your response to CDK about

  5   the materials that they sent you.        Is my understanding

  6   correct?

  7       A.     Yes.

  8       Q.     I wanted to ask about something that's said on

  9   the last page of the exhibit, which is CX 2250-003.

 10   And it's under the heading of Data Services.       My

 11   understanding is that the materials that have been sent

 12   to you from ADP had envisioned a joint venture between

 13   ADP and Reynolds.       And my question is in the third

 14   paragraph down under Data Services, it says, "Reynolds

 15   would contribute to this Newco entity its technology

 16   for accessing ERA and POWER systems plus all of its

 17   current contracts for providing these services to third

 18   parties."

 19              What exactly was it that Reynolds would be

 20   contributing to this Newco under this proposed joint

 21   venture?

 22       A.     Frankly, the answer to that is I'm not sure.

 23   Their first submission to us was not requested and just

 24   kind of came in across the threshold.       And I sat down

 25   and tried to future think subject to what they were



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  1   talking about, some of which I was definitely more

  2   interested in than others, because as you may or may

  3   not be aware, there's a joint venture between us and

  4   ADP.     What I'm quite sure you are not aware of is it

  5   hasn't been very successful.

  6              Its original goal was to -- there's a process

  7   that Dealertrack has developed, and it's a good one.

  8   And they basically own that market.         They have

  9   effectively a complete monopoly.         How it works is that

 10   in the process of the sale of a vehicle, they are

 11   shopping for finance.       And that's one of the things

 12   that the finance manager in the dealership does is he

 13   shops for the best deal not only for the consumer, but

 14   also for the dealership, because the dealership gets a

 15   profit margin off of selling financing.

 16              The neat thing that Dealertrack has is that

 17   they have a shopping screen where they have pipes to

 18   and by pipes I mean communication capabilities with

 19   over a thousand finance sources.         Some big.   Some

 20   small.     But I mean, they have by far and away the most.

 21   And what you can do is you can have a transaction on

 22   your screen and you can hit the button and go shopping

 23   at two, three, four, five, ten different finance

 24   sources, which means it goes in electronically to those

 25   potential lenders.       And the potential lenders, they



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  1   each have software where they can, you know, render an

  2   up or a no decision in seconds.

  3          Q.     Is this the joint venture between CDK that you

  4   said wasn't successful that did a comparable service?

  5       A.       Attempted to.

  6          Q.    And this joint venture that's envisioned in

  7   CX 2250, was the notion that Reynolds would contribute,

  8   let's say, RCI to this Newco or am I off target there?

  9       A.        I don't think -- I don't think it says that.

 10   But one of the things that we were interested in was to

 11   try and make the existing joint venture successful.

 12   Amazingly, what's happened with that joint venture is

 13   the ability to have pipes to many credit sources.            We

 14   were unable to get finance sources interested in

 15   talking to us because they said, look, what we've got

 16   is working just fine; thank you; have a nice day.

 17          Q.     The joint venture envisioned by the documents

 18   that you are responding to in CX 2250 would have been

 19   all data.       Not just finance data; is that correct?

 20       A.        I don't know that it says all data.    But again,

 21   it's worthwhile pointing out that as a result of this

 22   exchange, nothing was ever done.

 23          Q.    Why not?

 24       A.        Frankly, because I was very much irritated with

 25   ADP.        I have had a long-standing hatred for ADP that



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  1   goes back to the first year I was in business.         But

  2   that's another story.

  3       Q.   Let me ask you a question.        And counsel will

  4   appreciate the narrowness of the question and may

  5   instruct you to just answer yes or no to the question.

  6   Was this joint venture something that was discussed

  7   with counsel?

  8       A.   I don't think so.

  9       Q.   Was the idea of the joint venture the subject

 10   of any further discussion between you and people at ADP

 11   after this e-mail?

 12       A.   No.

 13       Q.   Did you communicate to ADP after you sent this

 14   e-mail that you were no longer interested in pursuing a

 15   joint venture?

 16       A.   I don't recall.      I'm sorry.

 17       Q.   Let me ask you to take a look at an exhibit

 18   we've marked as CX 4043.       CX 4043 has Bates

 19   REYCID0719798.     My understanding is that these are

 20   notes from the 2012 time period.       And my first question

 21   is on the very first set of slash marks on the top of

 22   the exhibit, first page of the exhibit under

 23   Background, the sentence reads, "Secondary issue is

 24   data security of business information --         True Car."

 25   What's the reference to True Car in this sense?



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  1       A.   True Car is a service that's provided basically

  2   at no charge to consumers where they can electronically

  3   shop multiple dealerships for price information.          And

  4   True Car derives their revenue from dealerships that

  5   want to be part of the True Car family and thereby

  6   picking up additional sales.           Whether or not True Car

  7   ultimately thrives or not remains to be seen, but it

  8   certainly is developing competitors, one called

  9   Carvana, you see ads on TV about where they have this

 10   huge building that has a big central elevator, and you

 11   can dial in which vehicle you want and press the

 12   button, and it will go find it and pull it into the

 13   center, bring it down.      And you can open the door and

 14   drive it out.

 15       Q.   What is the reference in the sentence to the

 16   data security issue with True Car?

 17       A.   I don't think that's directly related to the

 18   line above.     We are talking about an unattended remote

 19   access to Reynolds systems is going to stop.          And the

 20   issue there is data security of personal information.

 21            Secondarily, we are talking about business

 22   information, which is pricing, competitive pricing.

 23   Dealers are very sensitive about what their typical or

 24   starting price would be for a specific vehicle, and

 25   they worry about that getting out.



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  1              Then the next paragraph is all about RCI

  2   interfaces.

  3       Q.     Right.    And the last slash, correct me if I'm

  4   wrong, but the one that begins,             Data broker situation

  5   is intolerable?"

  6       A.     Yes.

  7       Q.   And then it goes on.            Is this the point we were

  8   talking about earlier where you are concerned that if

  9   the information goes into the wrong hands, that there

 10   may be liability on the part of Reynolds as the deep

 11   pockets?

 12       A.     Yes.   And I think about this time period I was

 13   becoming aware that as far as the hackers that were

 14   invading our systems was predominantly two companies,

 15   both owned by ADP, IntegraLink and DMI.            And their

 16   entire business was all around invading systems and

 17   sucking out data and then reselling data.             They have

 18   been at it for a long time, but I did not understand

 19   that they were -- they did more hacking than everybody

 20   else combined.

 21       Q.   As you sit here today, what is your sense of

 22   all the third-party integration that was going on?                You

 23   call it hacking.       I'll use whatever phrase you are

 24   comfortable with.       As you sit here today, of all the

 25   instances of that that was happening to Reynolds in



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  1   this 2012/2013 time period, what percent was accounted

  2   for by the combination of IntegraLink and DMI?

  3       A.   I don't know a percentage, but I know that far

  4   and away they were the major, which would have been

  5   over 50 percent, probably in, I guess, the 75 percent

  6   range.

  7       Q.   Who would have been -- could I use the term

  8   hostile integrator?       What phrase are you most

  9   comfortable with?

 10       A.   We'll use hacker.

 11       Q.   What company would be the next most prevalent

 12   after the combination of DMI and IntegraLink?

 13       A.   There was a company called SIS who was pretty

 14   brazen about it.      That's the one that we had a lawsuit

 15   with in federal court in Ohio and won.

 16       Q.   I'm going to come back to SIS so I don't lose

 17   my place in my outline, if that's all right with you.

 18       A.   Sure.

 19       Q.   I want to ask about one more bullet on CX 4043.

 20   Two more.   It's the second-to-last one on the page

 21   that's talking about indemnification, and it's making a

 22   distinction, I believe, between the level of

 23   indemnification that would be needed for certain types

 24   of information.      This particular bullet talks about

 25   batch-type data.      What was your position on the need



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  1   for indemnification if data was shared?

  2       A.   Well, the point where it's most sensitive is

  3   personal information.     If it's personal information

  4   involved, that's the one where it's the most expensive

  5   to sort out, and therefore, it's the part that I'm most

  6   concerned from a security and from an indemnification

  7   standpoint.

  8            The other type of data and the classic one is

  9   vehicle inventories.     Vehicle inventory data is

 10   basically units that a dealership owns that they want

 11   to post for sale on an internet service.       Hard to see

 12   where damages comes out or anything like that because

 13   there's nothing secret about it.      You can go on

 14   dealership websites and see it all with no constraints

 15   on access.    So therefore, indemnification for that type

 16   of data is much less relevant.

 17       Q.   The last entry on this exhibit which is on the

 18   backside of the exhibit under Use of Agents talks about

 19   the use of a third party acting under contract as an

 20   agent of ADP or Reynolds.      And the sentence says that

 21   it's not an issue as the specific RCI agreement is

 22   directly between us.

 23            What was the point you were making here about

 24   the exception for third-party agents?

 25       A.   As I recall, this applies to OEMs.      And OEMs,



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  1   frankly, don't have the manpower, skill or knowledge

  2   that's necessary to interact with DMS systems.         And so

  3   therefore, if an OEM had a contract, say, with ADP to

  4   collect data from their dealers, that presented a

  5   different kind of situation than a hacker kind of

  6   situation.   And it's where the OEM would anoint ADP as

  7   their agent, and so therefore, we get direct hooks into

  8   the OEM if anything goes wrong because we recognize ADP

  9   as a valid collector of information for that OEM.

 10       Q.   How is that different than the situation which

 11   you would refer to as hacking?

 12       A.   Well, the situation is such that the OEM says

 13   to us, look, we want to have such and such and such

 14   kind of data; and our agent in the collection of this

 15   data is ADP; and we would like for you to permit ADP to

 16   do this data collection that we want, and you get to do

 17   business directly with us, the OEM, from a contractual

 18   basis.   And because CDK is an agent, they are basically

 19   transparent in the whole situation because the OEM

 20   signs up for the liabilities and for the

 21   indemnifications whenever -- which would include any

 22   acts by their agent.

 23       Q.   Why wouldn't the same arrangement be

 24   permissible for a dealer to sign up to have CDK act as

 25   their agent to collect data?



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  1       A.   Which means that we are basically permitting

  2   CDK an unfettered access into our stuff, in our system.

  3       Q.   Well, the dealer would be the one giving the

  4   permission?

  5       A.   See, the dealer is unable to give that

  6   permission because the dealer does not own the

  7   software.     He has the rights to the software only under

  8   license, and the license is very specific about what's

  9   allowed and what's not allowed.        And one of the terms

 10   is that it's the only people that are allowed access

 11   are dealership employees.

 12       Q.   I'm just trying to get the distinction straight

 13   in my mind about the distinction between letting an OEM

 14   use somebody like CDK as an agent versus letting the

 15   dealership use somebody like CDK as an agent.

 16       A.   Well, the manufacturers have an interesting

 17   disadvantage and they become the biggest pocket.         Then

 18   of course, OEMs are, you know, many hundreds of times

 19   bigger than we are and have those people on the hook.

 20   If anything goes wrong, it's an okay kind of situation.

 21       Q.   CX 4043 were notes you prepared in order to

 22   have a conversation with Mr. Anenen, as I understand

 23   it; is that correct?

 24       A.   This was the beginnings of that.       I think there

 25   are subsequent documents which are more complete and



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  1   closer to that whole thing getting settled.

  2       Q.    Yes.    I'm just asking about this document.     We

  3   have others in my pile that we'll get to as well.

  4       A.    This would have been an early one.

  5       Q.    And was the subject of indemnification

  6   something you discussed with Mr. Anenen?

  7       A.    That was one of the issues.

  8       Q.    What was the discussion about?

  9       A.    Well, the discussion was that they need to get

 10   out of our software.        They are hackers.   And they got

 11   no right to be in our software, invading systems and

 12   using our software.        And that's the principal part of

 13   what we talked about, which actually ultimately was

 14   accomplished.

 15       Q.    And that's the discussion that you led off

 16   with, the unattended remote access to Reynolds' system

 17   is going to cease?

 18       A.    Yeah.     That was kind of a combination

 19   promise/threat.       It was going to happen.    I had put up

 20   with it for too long.

 21       Q.    Was that -- would it be fair to characterize

 22   your conversation with Mr. Anenen as being partially a

 23   threat?

 24       A.    Yeah.

 25       Q.    In what sense?



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  1       A.   We would flip the switch and disrupt everything

  2   they were doing.

  3       Q.   What did Mr. Anenen reply?

  4       A.   It was an interesting conversation.      It was

  5   about an hour conversation, and it was by phone.

  6   Fifteen minutes of it were meaningful discussion.          Then

  7   45 minutes was just, you know, drivel.

  8       Q.   What was the discussion that you would

  9   characterize as drivel?

 10       A.   Totally unrelated to the subject.

 11       Q.   So in the 15 minutes you talked about this

 12   subject, aside from what you characterized as a threat

 13   that you would flip a switch and cut them off of the

 14   system and the indemnification, what other topics were

 15   covered in the 15 minutes of substance?

 16       A.   I believe that it was a discussion about

 17   orderly stand down, which is an important issue really

 18   to both of us because the dealerships that are

 19   involved, our customers as well and therefore, to

 20   abruptly just pull the rug out means something that

 21   what our customers wants, which is to have their data

 22   sucked out and given to some third party, to provide

 23   them some kind of service would be distressing to them

 24   for that to occur, just bang, that the right way to do

 25   it was to have a contractual stand down.       That way also



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  1   CDK would have time to actually notify their customers

  2   that they were no longer going to be able to offer the

  3   service in the manner that they had previously, which

  4   was by hacking.

  5       Q.     Did their customers include OEMs?

  6       A.     I think in some cases they did.

  7       Q.   So the wind down, would that have encompassed

  8   the situation where CDK would get its -- the apps that

  9   it was marketing certified by RCI?

 10       A.     Yes.   One of the things that was discussed, I

 11   don't know specifically, I don't have a date on this

 12   document, but over a period of time there were

 13   documents, discussions and so forth that we would enter

 14   into RCI agreements, as we would with any third party,

 15   for products that they were actually selling.          Not to

 16   give them liberty to just redistribute the data but to

 17   actually use the data in creation of a product that

 18   they would build, maintain and support on their own.

 19            And it's worked out that way.       We ended up

 20   buying another company, and we pay CDK $350 a month for

 21   over 800 dealers, which is quite a tidy sum, but it is

 22   a business intelligence piece of software that you have

 23   to have access to the total accounting information in

 24   the DMS.    We have to have that in order to produce this

 25   product.    And we pay a lot for it.     I'm not familiar



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  1   with what all we provide to them on an RCI basis, but I

  2   know there's some.      I don't know it's as extensive it

  3   is in the agreement we have for the company known as

  4   reverse risk.

  5       Q.   And part of the idea was also that Reynolds

  6   would take its applications and go in through 3PA; is

  7   that correct?

  8       A.   Yes.   And then this reverse risk application,

  9   this business intelligence application goes in

 10   through 3PA, and we get that data, and we have

 11   agreements with all the users of that product to get

 12   that data from CDK.      And so from a confidentiality

 13   standpoint, it's a tight loop.

 14       Q.   So you have a contract both with the dealer who

 15   is using the app and also with 3PA; is that correct?

 16       A.   That's correct.

 17       Q.   We've looked through these documents and seen

 18   how these contracts worked, and I'm going to ask you

 19   some more questions of more documents as we go forward

 20   in the next two days, but I'm curious why up to this

 21   point in time Reynolds had not gotten its apps on the

 22   CDK dealerships through 3PA?

 23       A.   Well, I'm a little embarrassed to tell you what

 24   happened.   The company that we bought the reverse risk

 25   product from were bandits, and they hacked CDK's



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  1   systems to get the data.      And we were horrified by that

  2   and one of the first things we did was we went to ADP

  3   and said, look, we want to be part of 3PA, and we know

  4   it's going to be expensive for us to do it, but that's

  5   what we want to do.

  6             They said, well, fine, we'll go along with

  7   that.    And fortunately, the subject of how was the data

  8   gotten beforehand never came up.

  9       Q.    So who was doing the integration for that

 10   product when you bought them?

 11       A.    It was a young lady that knew about such things

 12   that just logged on and sucked down information in the

 13   form of reports.    And they already had the software

 14   built to parse through the reports to get the data that

 15   they wanted.

 16       Q.    How much more expensive was it going to be to

 17   do it through 3PA?

 18       A.    Well, I would have to get my calculator out and

 19   calculate what $350 a month times 800 dealers times

 20   12 months a year and contrast that to the salary of a

 21   very intelligent young lady, which is probably in the

 22   hundred thousand dollars a year category.       So it is

 23   going to be more expensive, but it would be straight up

 24   legal.

 25       Q.    And CDK was going to put its apps in through



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  1   RCI.        What is your understanding of why that hadn't

  2   happened prior to this 2013-2015 time period?

  3       A.        Well, they didn't need to before that because

  4   they had their DMI, Authenticom, busily doing it for

  5   them.

  6          Q.     In that answer you said DMI and Authenticom.

  7   Did you mean DMI and IntegraLink?

  8       A.        IntegraLink.     Excuse me.   I get names confused.

  9   I know a little bit about a lot of things, and of

 10   course, the corollary to that is it means over time I

 11   will know everything about nothing.

 12                MR. COHEN:   As Socrates said you would.

 13                 (A recess was taken.)

 14                BY MR. ABRAHAMSEN:

 15          Q.     We were speaking before the break about CX 4043

 16   and the conversation you were having with Mr. Anenen in

 17   this time period.         In this time period, 2012 time

 18   period, was there a difference in the messaging that

 19   Reynolds had vis-a-vis the CDK messaging on the issue

 20   of data security?

 21       A.        (No response.)

 22          Q.    My understanding is that at this time period,

 23   Reynolds was quite publicly saying that it was not in

 24   favor of dealers using third-party apps by giving out a

 25   password and user name where CDK wasn't really saying



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  1   that same message.    Am I correct?

  2       A.   I don't have a specific knowledge on what they

  3   say or don't say, but my belief was that they were not

  4   saying anything like that.      They were     their message

  5   kind of continued to be, well, whatever goes, which, in

  6   my opinion, was certainly based on my understanding of

  7   the NADA report, what they were doing is totally

  8   contrary.   And from a messaging standpoint, it was

  9   really interesting that they are messaging about us and

 10   against us was the fact that we were oppressive idiots,

 11   which, in my opinion, was not the case at all.

 12       Q.   So when you say they are messaging against you,

 13   you mean they were trying to sell DMS systems by going

 14   to dealers and saying that they shouldn't get Reynolds

 15   because Reynolds had this bad policy on allowing third

 16   parties to integrate into their DMS?

 17       A.   That's correct.    As part of their sales

 18   process, they held out their approach as being superior

 19   and more importantly, desirable for the dealer.

 20       Q.   And was that having an effect in the

 21   marketplace?

 22       A.   I don't know what effect, but certainly no

 23   potential for good effect.

 24       Q.   I mean, at this time period in 2012/2013, was

 25   CDK taking market share away from Reynolds?



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  1       A.     In terms of rooftops, yes.   As a matter of

  2   fact, ever since we bought Reynolds, there has been a

  3   steady drip of the interception -- leaving and

  4   converting to CDK.

  5       Q.   And was one of the factors the reason they were

  6   leaving was because of this messaging that we've just

  7   been talking about on data security?

  8       A.     I believe it was.    There's no way to quantify

  9   that, but I believe it was certainly a factor.         It

 10   was -- we looked at it as, well, dealers will want to

 11   do what they want to do, and if they want to do it,

 12   where it's a free-for-all as far as data access or

 13   whatever, we don't need that business.       That's not

 14   there is nothing good going to come out of that.

 15       Q.     Was that part of the discussion you had with

 16   Mr. Anenen at the time the notes that we see in

 17   CX 4043?

 18       A.     I did not discuss that with Mr. Anenen.      That

 19   was considered to be competitive market information

 20   which I'm not supposed to be doing with my larger

 21   competitor.

 22       Q.     Well, the first bullet is that you informed

 23   him, you threatened him that you were going to stop

 24   allowing them, CDK, to get access to your DMS; is that

 25   correct?



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  1       A.     That's correct.

  2       Q.   And you talked to him about the need to have

  3   more data security for personal information; is that

  4   correct?

  5       A.     Yes.   This is where the discussion which was

  6   referred to earlier this morning about there's

  7   different levels of security required for personal

  8   information, and I think it's now called NPII as

  9   opposed to things like vehicle inventories, which is

 10   information that's already publicly available on each

 11   dealer's website.

 12       Q.     What did Mr. Anenen say when you brought up the

 13   fact that some of the information is personal

 14   information that's being bandied about?

 15       A.     I think he was very, very clear about that.

 16   Before this, I already made clear that it was the

 17   personal information where we saw the giant liability

 18   floating around.

 19       Q.     What was his response about his potential

 20   liability?

 21       A.     He never made any reference or response to his

 22   personal liability.        Again, CDK was a public

 23   corporation.      Steve Anenen had been the manager over

 24   that division back when it was a division of ADP, and

 25   he had been the president since CDK had been spun off.



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  1   But he was a typical CEO/employee of a large publicly

  2   held corporation.     Those type of people tend to have

  3   different outlooks than people like me.

  4       Q.   In what sense?

  5       A.   Well, I'm the CEO of a private corporation, and

  6   I feel really in a sense completely responsible for

  7   things like this.

  8       Q.   Whereas, how would you characterize

  9   Mr. Anenen's feeling on that?

 10       A.   Laissez-faire.

 11       Q.   In this 2012/2013 time period, was it your view

 12   that you would want CDK to adopt the same policy you

 13   had on data security?

 14       A.   No.   All I wanted them to do, only thing that

 15   was ever discussed was I want them out of our software.

 16       Q.   Let me ask you to take a look at an

 17   Exhibit 4515.     I'll ask you to take a look at it.

 18   CX 4515 has Bates REYCID0203876.           It's a series of

 19   e-mails back and forth between several Reynolds

 20   employees.     I don't believe Mr. Brockman's name is on

 21   the document, so I'll essentially be using it as a

 22   crutch to formulate my questions.

 23            My first question, Mr. Brockman, is to identify

 24   one of the individuals here.           The very top of the page,

 25   the very first line on the exhibit says that the e-mail



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  1   is from Chuck Hoyt.        Who is Chuck Hoyt?

  2       A.     Chuck Hoyt is the vice president of sales.      His

  3   region covers probably 10 states, 12 states, and he is

  4   based out of, I think, the Detroit area.         He actually

  5   lives west of Detroit.

  6       Q.    And the first e-mail in the chain, which means

  7   the bottom e-mail on the exhibit, Tuesday, August 13,

  8   2013, and the title of the e-mail, the subject line of

  9   the e-mail is Captcha Codes.         Let me first ask you to

 10   explain for the record what captcha codes meant in this

 11   context.

 12       A.     Captcha codes are a device which is intended

 13   and really works pretty well to make sure that the

 14   answer is being replied to by a person as opposed to a

 15   computer.    And it's a way to deny automated access to

 16   our software.

 17       Q.    And as I understand it, in approximately this

 18   time period, these captcha codes were put on the

 19   Reynolds DMS; is that correct?

 20       A.     Yes.

 21       Q.     Was this the first time Reynolds had put

 22   captcha codes on its DMS?

 23       A.    Probably not, but it was the most significant

 24   time.    And it was in a place where it probably impacted

 25   a greater number of people, users in the dealership,



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  1   than before.

  2       Q.    Why was it more pervasive this time than

  3   before?

  4       A.    Well, security is overhead for users.

  5       Q.    I'm sorry?

  6       A.    Users see data security as a, "god, why do we

  7   need this.     That's kind of their outlook and attitude.

  8   And have you ever filled out a captcha screen?

  9       Q.    I believe so.    That's where you identify

 10   pictures; is that correct?

 11       A.    Yeah, pictures or distorted numbers or

 12   distorted letters, whatever.          They are least

 13   aggravating when you get them correct the first time.

 14   If you don't get them correct the first time, then you

 15   start to growl a little bit and about the third or the

 16   fourth time, you start to throw up your hands.           Once

 17   people get used to captcha, they know how to interpret

 18   what the symbols are and get them over to letters and

 19   numbers as intended.      But there was definitely, out of

 20   the Serra organization, there was some real grumbling.

 21       Q.    Who is the Serra organization?

 22       A.    It's a dealership group that's based out of

 23   Detroit, I think.      Certainly that area.

 24       Q.    I assume -- correct me if I'm wrong.         I assume

 25   the grumbling was because they had certain automated



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  1   access from third parties on their dealers and that

  2   those captcha codes were now disabling whatever apps

  3   the dealers were using; is that correct?

  4       A.   I can't tell from this e-mail exchange whether

  5   that was the case or whether it was simply people,

  6   users that were dealership employees and legitimate

  7   users having to go through the overhead of captcha.

  8       Q.   Did this frustration about the captcha codes

  9   percolate up to your level?

 10       A.   Oh, yeah.   Particularly, Serra was a large

 11   customer, and in this particular instance, I would have

 12   heard about this.    And the security, it's an

 13   interesting situation in that we can make things, I

 14   mean, totally secure and lose all kinds of customers.

 15   From a business standpoint, there's a tradeoff because

 16   we find that particularly with the larger customers,

 17   they basically agree with us.        The dealers basically

 18   agree with us.   They know that there's a need for

 19   security.   They know that a significant part of their

 20   IP is tied up in their customer records.        These are

 21   very valuable assets for a dealership corporation, but

 22   they don't want waves made for their employees.

 23            So what will happen with somebody like Serra,

 24   you may have to back off a little bit and then wait a

 25   month or two and then go forward, because that's what



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  1   the dealer really wants to do.           What will happen is

  2   that in that first segment of time, the users within

  3   the dealership will become accustomed to captcha or

  4   whatever the particular technique that we are using at

  5   the time.    And once they've mastered it, then they can

  6   take a little more without disrupting their life,

  7   without degrading their performance from a throughput

  8   standpoint regarding what they are having to do with

  9   the computer screens.

 10       Q.     So the security issue in putting in captcha

 11   codes is there are two components to that.           There's

 12   sort of a technology component and then there's also

 13   sort of the business reality component; is that

 14   correct?

 15       A.     Yes.

 16       Q.   And at this point in time in 2013, had you

 17   gotten to the point where at least from a technological

 18   standpoint you could pretty thoroughly block what you

 19   refer to as hackers on your system?

 20       A.     We made a lot of progress, but we were not in a

 21   state of perfection because security, as security

 22   changed or security enhancement that the third parties

 23   can never find their way around is really good, but

 24   there's not very many of those.          And what will happen

 25   and more typically is we'll put in a new process that



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  1   will block an outside hacker for a while.

  2             Then they do things like we've had one

  3   situation where whenever -- let me see if I can

  4   describe this correctly.      There's a third party comes

  5   in and they are looking like a person at a terminal.

  6   Then what we do is we pop up a captcha because we are

  7   trying to figure out whether it's a machine or a

  8   person.    They will contract somebody in Vietnam to be

  9   kind of watching over the shoulders of our screens.

 10   And as a human, they can figure out the captcha, and

 11   that lets the third party invader in.      They have,

 12   quote, defeated captcha.      Well, that's not really a

 13   very good way, but a poor way is better than none.         And

 14   so we have situations like that occur.

 15             There's all manner of different strategies.

 16   They change the classification of the person.          They'll

 17   make them a systems specialist that works for the

 18   dealership, and we will let -- unintentionally, we'll

 19   end up letting some of those people through because

 20   they have a special status and they are responsible for

 21   the administration of the system, they are responsible

 22   for the password -- dealer passwords for everybody in

 23   the organization.

 24       Q.    Was one of your concerns when you put in a

 25   captcha that was widespread, was that ultimately it



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  1   could anger dealers so much that they might go to a

  2   different DMS provider?

  3       A.   Clearly.

  4       Q.   Did that happen?

  5       A.   I can't point to a specific instance, but I'm

  6   sure it happened.    It is -- from a business standpoint,

  7   we have two different extremes.       One extreme is as we

  8   have lax security, it would be a hell of a lawsuit

  9   versus having security that's so tight that it angers

 10   customers and they leave us.       And I'm kind of in the

 11   midst of that.

 12       Q.   Let me show you an exhibit that we've marked as

 13   CX 4004 and ask you to take a look at it.       CX 4004 has

 14   Bates REYCID0042299, and it's a series of e-mails, and

 15   Mr. Brockman is on at least one of them.

 16            So my understanding of this exchange of e-mails

 17   is that there had been integration going on with

 18   IntegraLink and DMI with regard to certain vendors that

 19   dealers wanted to use and that those connections had

 20   been interrupted.   And then the people at DMI and

 21   IntegraLink had been telling dealers that -- and I'm

 22   looking at the first sentence of the top e-mail -- the

 23   second sentence of the top e-mail, "Please understand

 24   that R&R is one hundred percent responsible for this

 25   situation."



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  1            Is that an accurate reading of the e-mails?

  2       A.   Unfortunately, yes.

  3       Q.   So what is your reaction when -- this came to

  4   your attention?     Your name is on the e-mail.       What was

  5   your reaction to this position that IntegraLink and DMI

  6   were taking?

  7       A.   I was clearly not happy about that at all and

  8   which is one of the reasons why that I became more and

  9   more demanding of CDK to get out of our sites.

 10       Q.   When you say more and more demanding of CDK,

 11   how were you being more demanding of CDK?

 12       A.   Because I was telling their CEO that I was

 13   beginning to lose patience and that I was -- if

 14   necessary, I was going to flip the switch and all their

 15   stuff would be blocked and there would be no

 16   opportunity for a rational stand down.

 17       Q.   In this time period, was there also issues with

 18   OEMs becoming blocked from being able to use their apps

 19   because of these security enhancements?

 20       A.   Not really very much.         I think in some cases

 21   rather than insert a third party between us and the

 22   OEM, we were dealing directly with the OEM.         And that

 23   straightened the situation up a lot.

 24       Q.   But were some OEMs using DMI to integrate?

 25       A.   Yes.



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  1       Q.   And were they getting blocked at times?

  2       A.   I would presume so.

  3       Q.   Did their anger ever reach your level?

  4       A.   No.

  5       Q.    The OEMs?

  6       A.   No, because when the subject did come up with

  7   OEMs, we would say, guys, you all need to understand

  8   what's going on.      Basically we are being hacked, okay.

  9   And DMI is ending up with data for which they are not

 10   authorized to have.      They get it out of our system

 11   improperly.

 12            And the OEMs understand about security a lot

 13   more.    They are big corporations.        Security is a major

 14   thing for them and has been.           It's not new to them.

 15   They have been very sensitive all along.          And I think

 16   in most cases at that point the conversation stopped.

 17       Q.   Is this August 2013 time period, was this, the

 18   disruptions and the messaging that's being sent out by

 19   IntegraLink and DMI, did this end up resulting in more

 20   conversations between Reynolds folks and CDK folks

 21   about the wind down agreement?

 22       A.   I would say generally not because the

 23   conversation was really taking place between me and

 24   Steve Anenen.

 25       Q.   How often did you talk to Mr. Anenen?



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  1       A.   Very infrequently.      Maybe months between

  2   conversations.

  3       Q.    Would you call him or would he call you?

  4       A.    I think in some cases both or I would call him

  5   and request a call back.

  6       Q.   And we are going to talk next about a meeting

  7   that Mr. Schaefer had with Mr. Gardner in September of

  8   2013.    Were you aware that Mr. Schaefer was going to

  9   meet with Mr. Gardner?

 10       A.    It was Bob Schaefer's job to interface with all

 11   RCI customers and the OEMs, and as part of that he had

 12   conversations, I'm sure, with CDK people.

 13       Q.    We're going to show you some documents about a

 14   particular meeting in September of 2013.       Do you recall

 15   a situation where Mr. Schaefer informed you that he was

 16   going to meet with CDK in that time period?

 17       A.    I'm sorry, I don't recall specifically.

 18       Q.   Let me ask you to take a look at CX 1151.

 19   CX 1151 has Bates CDK CID 01734952.       It's a series of

 20   e-mails, including one to Mr. Brockman and one from

 21   Mr. Brockman.

 22       A.    (Reviewing document.)

 23       Q.   Mr. Brockman, I would like you to take a look

 24   at CX 1151-002, second page of the exhibit.       And at the

 25   top of that page, there are three numbered paragraphs,



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  1   and I would like you to look at numbered paragraph 2.

  2   And it states, "Reynolds and Reynolds indemnification

  3   has been relaxed since we last exchanged documents."

  4            What is your understanding of the extent to

  5   which Reynolds and Reynolds had relaxed its

  6   indemnification position?

  7       A.   I'm sorry, I don't recall specifically what was

  8   going on.   This document in general was written by Bob

  9   Schaefer, is what it looks like, and covered all the

 10   points that we wanted.    Exactly what we were asking for

 11   as far as indemnification I don't recall.

 12            Now, the interesting part about this document

 13   is it's dated in September.     Well, my last really

 14   serious conversation with the CDK CEO had happened much

 15   earlier in the year.    And what's happening here is that

 16   Howard Gardner has finally been given authority to

 17   actually get serious about getting out of our systems,

 18   and to which I heaved a sigh of relief because I really

 19   didn't want to go through this situation where I just

 20   pull the plug on everything.         I was going to, but I

 21   really didn't want to.

 22       Q.   Because it would have angered the dealers?

 23       A.   Oh, yeah, it would have angered the dealers.

 24   So the fact that this letter and what was happening

 25   here was beginning to happen meant that finally Steve



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  1   Anenen had seen the handwriting on the wall, that I was

  2   serious, and he had given authority to go ahead and

  3   work out an agreement.

  4         Q.   Just so the record is clear and we are clear,

  5   Mr. Gardner writes the e-mail that begins at the sort

  6   of bottom third of the first page of CX 1151.            So the

  7   bulk of this exhibit is authored by Mr. Gardner at CDK;

  8   is that correct?

  9         A.   Yes.   But I think as it's written, I think that

 10   there are big pieces of this that actually came out of

 11   our requirements to them.         They are basically saying,

 12   okay, and they are restating what they are saying okay

 13   to.

 14         Q.   When you said in that answer Reynolds'

 15   requirements to CDK, what were you referring to?

 16         A.   Well, there was other communications, I presume

 17   in writing, from Bob Schaefer to people like Howard

 18   Gardner saying, look, when we say get out of our

 19   system, we mean all the way out.         Not only now but

 20   forever out.

 21         Q.   In that same paragraph that we were looking at

 22   on CX 1151-002 numbered paragraph at the top of the

 23   page 2, the sentence which I read part of it into the

 24   record, contains a clause midway through the sentence

 25   that says "since we last exchanged documents."            What



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  1   documents are being referenced in that paragraph?

  2       A.      I'm not sure.    I would presume that there would

  3   have been documents exchanged back and forth between

  4   Bob Schaefer and Howard Gardner, but I had turned over

  5   that process to Bob Schaefer and said, okay, they are

  6   basically agreeing to our most central and most

  7   strongest want; go ahead and work with them.          So I

  8   presume there were other documents before this.

  9          Q.   What was your most significant want?

 10       A.       For them to get out of our systems and stay

 11   out.

 12          Q.    There is a numbered paragraph further down in

 13   the same second page of this Exhibit CX 1151-002 midway

 14   down the page, and it references OEMs.          And I won't

 15   read the whole paragraph into the record, but it talks

 16   in the first sentence about DMI will formalize and

 17   extend our collaborative approach to helping OEMs.

 18   What was your understanding of what the collaborative

 19   approach had been with OEMs up to that point?

 20       A.      It's my understanding that what we were working

 21   towards is -- we'll take General Motors.           If General

 22   Motors wants data out of Reynolds dealerships, we are

 23   the ones that provide the data.           Likewise, if CDK wants

 24   to give data to the OEMs from CDK dealerships, that's

 25   fine.       That's their bailiwick.      But the important part



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  1   is that just because they have a contract with an OEM

  2   that requires data from Reynolds dealerships, no part

  3   of this agreement is going to allow that to go forward.

  4   That's part of the get out and stay out.

  5       Q.   So aside from maybe playing some role as an

  6   agent, the idea here would be for CDK to stop doing

  7   integration for the OEMs and have the OEMs have an

  8   agreement with RCI; is that correct?

  9       A.   Um-hum, yeah.   Yes.

 10       Q.   The last clause of the last sentence in

 11   numbered paragraph number 1 talks about a smooth

 12   transition for each OEM to a Reynolds certified

 13   interface.   And the last clause reads, "when Reynolds

 14   is prepared to provide service."      What was the issue

 15   with Reynolds being prepared to provide service to the

 16   OEMs?

 17       A.   The OEMs had special wants for data, and since

 18   the RCI program that would be applicable to data

 19   extraction forwarded to General Motors, there would be

 20   software work that had to be done.      Simply agreeing

 21   that that's going to be the situation doesn't

 22   necessarily mean we got the technical work done to

 23   actually effect it, make it happen.

 24       Q.   So my understanding, and correct me if I'm

 25   wrong, but this was a situation where if somebody like



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  1   DMI or IntegraLink was getting data from Reynolds'

  2   dealers into the OEMs, even if there was an agreement

  3   that that process would stop happening that way, there

  4   was still going to be a lead time before RCI could, in

  5   fact, get the data into the OEMs' hands; is that

  6   correct?

  7       A.     Correct.

  8       Q.     Why were the OEMs using DMI to get access to

  9   this data from the Reynolds DMSes?

 10       A.     I would suspect that somebody from DMI was

 11   knocking on the door offering it as a service.         And you

 12   have to understand that the DMI's position specifically

 13   with General Motors changed over time.        And one of the

 14   important changes that happened was that when asked,

 15   DMI would say, okay, we are collecting these pieces of

 16   data, this field, this field, this field, this field.

 17   Well, in fact, they were collecting a whole bunch more

 18   that General Motors didn't even know about.       And then

 19   they were taking this additional data that they had

 20   acquired as part of a GM-authorized process and selling

 21   it in the open market.

 22            And when we first figured that out, General

 23   Motors was really surprised.       And of course, DMI denied

 24   it flat footed.       And we had the traps.   We had the data

 25   traps to prove it.      And we proved it up to General



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  1   Motors, and they were very angry with DMI.       And

  2   therefore, switching over to getting things from us

  3   straight and by contract and by program we got the

  4   exact fields that are going to be delivered, that and

  5   nothing else, nothing more, nothing less, they were

  6   ready for that.

  7       Q.   Was part of the DMI pitch to an OEM that they

  8   would be able to provide them the data cheaper than

  9   they could get it through RCI?

 10       A.   I don't think so.

 11       Q.   Then --

 12       A.   But I don't know what DMI's prices were like.

 13   But if I had to guess, the price was not an issue as

 14   far as the manufacturers are concerned.

 15       Q.   So why would they go with DMI rather than go to

 16   RCI originally?

 17       A.   Well, all the OEMs would dearly love to have

 18   all the data they need all from one source all in one

 19   format, and they would prefer not to do business with

 20   multiple companies.    They would rather do business with

 21   just one.   So part of the DMI sales pitch is, look,

 22   we'll handle it all and you will get the data you need

 23   in a pipeline that's got exactly what you want.

 24       Q.   So General Motors, to use that example, would

 25   have dealerships that had different DMSes.       So DMI



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  1   could go to take the CDK data and the Reynolds data and

  2   the Dealertrack data and give it all to General Motors

  3   in one bundle and have all their dealers represented

  4   through one report rather than through multiple

  5   reports; is that correct?

  6       A.   That's correct.

  7       Q.   Did you discuss the OEMs transitioning to RCI

  8   with Mr. Schaefer?

  9       A.   I'm sure I did just because it was a topic, it

 10   was a project that was open.       And so I'm sure that I

 11   did, but specifically what I talked about and when, I

 12   don't remember.

 13       Q.   I had asked you before I showed you CX 1151 if

 14   you were aware of a meeting that Mr. Schaefer had with

 15   Mr. Gardner in the fall of 2013.       Having reviewed this

 16   exhibit, is there anything about reading it that

 17   refreshes your recollection about this particular

 18   meeting that this document is discussing?

 19       A.   Nothing specifically.       I mean, everything here

 20   is things that I would have expected to have been

 21   discussed at that meeting.

 22       Q.   And by this --

 23       A.   And actually, when I say that meeting, there's

 24   always a series of large and smaller meetings going on,

 25   some of which get reported in print, many that don't.



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  1   I mean, that's just the way that world works.

  2       Q.   So you were aware that Mr. Schaefer was having

  3   frequent communications with people at CDK on these

  4   subjects?

  5       A.   Yes.   I would have expected that.     It is a

  6   nontrivial project because, of course, GM wants their

  7   data uninterrupted, no change in format.       They don't

  8   want -- they want no changes at all, and they just want

  9   their data.

 10       Q.   And if they couldn't get their data, would that

 11   be an instance where they could decertify a provider

 12   such as yourself?

 13       A.   I would say in extremis, yeah.     We would be

 14   very careful to get it right and did get it right.

 15       Q.   The paragraph about the OEMs, the number 1

 16   paragraph that we have been talking about makes

 17   reference to a transition to a protected program.         It's

 18   in the second line down in that paragraph.       What was

 19   your understanding about what the protected program was

 20   going to be?

 21       A.   Well, what it meant was and that's that we

 22   would continue with our security enhancements, but as

 23   part of the stand down, we would turn off interruption

 24   to CDK as long as they were proceeding as they are

 25   supposed to through the turndown -- or not the



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  1   turndown, but the -- so the whole project of standing

  2   down could proceed without ripples.

  3       Q.   Let me see if I understand it.     Correct me if

  4   I'm wrong.    Whatever security measures Reynolds was

  5   going to take generally, you would carve out an

  6   exception under a protected program for CDK so that

  7   those security measures wouldn't block the data from

  8   going to the OEMs; is that correct?

  9       A.   Correct.

 10            (A recess was taken.)

 11            BY MR. ABRAHAMSEN:

 12       Q.   Mr. Brockman, I would like to continue to look

 13   at CX 1151.   Under the second numbered paragraph in the

 14   lower part of the page, the heading of that paragraph

 15   is Non-OEM Third Parties.      And my understanding of this

 16   paragraph is this has to do primarily with applications

 17   by companies that are not OEMs; is that correct?

 18       A.   Yes, I believe that's correct.

 19       Q.   What was your understanding of how this

 20   protected program would work?

 21       A.   I think this referred to, first of all, DMI and

 22   IntegraLink and that -- that's my understanding.

 23       Q.   So these are the applications that are on

 24   Reynolds dealerships using DMI or IntegraLink to get

 25   the data off of those dealers' DMSes, and that will



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  1   become -- they'll change their way of doing that; is

  2   that correct?

  3       A.    Yes.    What will happen is that all of such data

  4   extractions will convert to Rd .

  5       Q.    Was this what you were hoping to see from CDK

  6   for some time at this point?

  7       A.    Yes.    This is the goal, to get them out of our

  8   hair.

  9       Q.    The next paragraph down is number 3, Technology

 10   Investment.      "R&R and DMI will collaborate to define

 11   and invest in the development of technology-based tools

 12   that automate, accelerate, simplify and streamline the

 13   process of setting up and managing the protected

 14   programs for OEMs and third parties."

 15             Did technology investments take place?

 16       A.   Presumably so, because we, in fact, were able

 17   to convert OEM and non-OEM situations, and it all got

 18   done.    So whatever we had to do to do that, we did.

 19       Q.    Was there technology that had to be developed

 20   that had not already existed in DMI and Reynolds?

 21       A.    I'm sorry, I'm not knowledgeable of that.       This

 22   project was a very, very difficult one to get started,

 23   but once it got going, I'm on to the next one.

 24       Q.    So you correct me if I'm wrong, but I'll give

 25   you my understanding.       We'll see if it's accurate.



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  1   There was going to be work that had to be done to

  2   transition OEMs and apps from using DMI and IntegraLink

  3   to get data to now getting that data through RCI, and

  4   that was going to be an undertaking that had to be done

  5   over the course of a period of time.      But as you sit

  6   here today, you are not aware of any new or additional

  7   technology that had to be developed to make that

  8   transition work; is that correct?

  9       A.   That's correct.

 10       Q.   Let me ask you to look at paragraph number 4,

 11   Exclusivity.    I can read the sentence into the record.

 12   "Exclusivity.    Due to the investments in technology

 13   required to establish and administer protected

 14   programs, R&R is open to the R&R protective programs

 15   becoming an exclusive offering by DMI."

 16            What was your understanding of the exclusivity

 17   that was going to be offered by DMI?

 18       A.   As I recall, looking at this provision, this

 19   was a provision that really wasn't necessary being in

 20   here at all, because as the transition gets

 21   accomplished, there is no more -- when they talk about

 22   investments in technology required to establish and

 23   administer the protected programs, that's already all

 24   done as part of the previous processes.       So I'm not

 25   quite sure exactly what's implied by this because as



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  1   far as I know, DMI and IntegraLink and the third-party

  2   users that they represent, they didn't do anything

  3   more.    Once it's set up and the data is being

  4   transferred as per contract, that's the end of the

  5   story.    It's working.

  6       Q.    Is the notion that Reynolds will enter into

  7   this agreement to have the data transferred from RCI

  8   and IntegraLink to Reynolds but that exclusivity refers

  9   to Reynolds not entering into a similar agreement with

 10   any other integrator?

 11       A.   Absolutely not.     At this point I'm sure we

 12   still had some third parties out there that we had not

 13   reached agreement with and they had been finding ways

 14   to work around the security checks.      And there is no

 15   way -- at this point, my happiness with CDK has

 16   increased a little bit, but it's still so far low that

 17   you can't hardly measure it.

 18       Q.   Did you talk to Mr. Schaefer about this

 19   exclusivity provision -- we are going to look at your

 20   e-mail back to Mr. Schaefer in a moment.       But is this

 21   exclusivity provision something you discussed with

 22   Mr. Schaefer?

 23       A.    I'm sorry, I don't recall.    I may or may not.

 24       Q.   Did Reynolds have a protected program to get

 25   its applications on the CDK DMSes?



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  1       A.    As far as I know it did not, because it ended

  2   up that the reverse risk occurred at some period of

  3   time after this.      And the young lady that was

  4   responsible for extracting data out of ADP systems, she

  5   was independent.      She didn't require any help at all

  6   from ADP.    And she just kept on extracting and keeping

  7   that product running as it was transitioned over,

  8   because you don't transition 800 dealerships overnight.

  9   That had to be built.       And we had an RCI on our side

 10   that used 3PA to get the data out, but then there's all

 11   kinds of formatting that you got to worry about to get

 12   it into the right format to go into the reverse risk

 13   system.

 14       Q.    Let me see if I understand the explanation.

 15   When you referred to reverse risk, was it ultimately

 16   the plan that Reynolds would put reverse risk on to the

 17   CDK DMSes through CDK's 3PA program?

 18       A.    No.    It was -- the plan was and is, it still

 19   exists where we use 3PA to extract the accounting data

 20   and phase it into the reverse risk system which runs in

 21   the cloud to provide the capability to the dealerships

 22   to, you know, one button and you get to see all kinds

 23   of things.      But it was never, ever thought to be a

 24   product that would actually run on an ADP DMS system.

 25   That would be -- I don't understand how the ADP DMS



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  1   system is structured, how it's architected.       And I

  2   don't want to know.        So to even think about doing

  3   anything like that would have been, you know,

  4   unthinkable.

  5       Q.   But ultimately there were Reynolds applications

  6   that went in through the 3PA program; isn't that

  7   correct?

  8       A.     Well, this one here is an example of that, but

  9   the sole purpose was to extract data.        Not actually

 10   have the product run on an ADP system.        It was purely

 11   to extract data and lots of it.

 12       Q.     Did it extract it through the 3PA program

 13   ultimately?

 14       A.     Yes.   Today it costs $350 a month per dealer.

 15   Not cheap.

 16       Q.   At the very bottom of the exhibit on this page,

 17   CX 1151-002, the sentence reads, "ADP would be open to

 18   adopting and advocating common industry standards

 19   and/or recommendations."

 20              What was the common industry standards that you

 21   wanted ADP to be open to adopting?

 22       A.     I interpret this one a little bit differently.

 23   I think that ADP is making a suggestion to adopt common

 24   industry standards, and that's not something we were

 25   ever interested in doing because I think common



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  1   industry standards, that translates to me as somebody

  2   else gets to decide how things work besides us.

  3               And well, this requires more explanation.

  4   There has been attempts to establish common industry

  5   standards, and when it first came up, we thought that

  6   would be really cool.       The problem is that

  7   manufacturers participate, and the manufacturers are

  8   big guns, and it started almost from the very first the

  9   manufacturers will say, yeah, we want to adopt industry

 10   standards, however, we want this little part to be done

 11   differently.      So there are many variants of what common

 12   industry standards are for car dealers.          That is, as

 13   far as we are concerned, madness from a programming

 14   standpoint.      That means that there is that many more

 15   balls we got to keep in the air.        And therefore, this

 16   thought here about common industry standards, I mean,

 17   that went nowhere.       It was dead on arrival.

 18          Q.   Was the notion that the common industry

 19   standard would be that both CDK and Reynolds would take

 20   the position that data should only go from the DMS

 21   provider and not be provided by a third-party

 22   integrator?

 23       A.      There was no discussion along those lines at

 24   all.

 25          Q.   That was Reynolds' position at this time; is



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  1   that correct?

  2       A.   Well, Reynolds' position at that time was that

  3   there would be no third-party access to our boxes.

  4       Q.   And that's ultimately the position that CDK

  5   came down with; is that correct?

  6       A.   Ultimately they did.          I was surprised that they

  7   made that change some period of time after all this was

  8   done.

  9       Q.   And that would have been a common industry

 10   standard that would have been beneficial to Reynolds in

 11   this 2013 time period because of the factors we've

 12   talked about before, how CDK was marketing against

 13   Reynolds, saying we are different, we have a different

 14   standard on security, you should join us, you should

 15   hire us to be your DMS provider, you should not go to

 16   Reynolds, and that would be a major benefit to Reynolds

 17   if that -- if they professed a different standard and

 18   turned 180 degrees in the other direction and stopped

 19   doing that market messaging to you?

 20       A.   Again, none of that was under any consideration

 21   in this whole process right here.          I fully expected to

 22   have dirty tricks come out of the relationship as far

 23   as this whole process is concerned with ADP.          I was

 24   looking forward to being out first and foremost and not

 25   thinking about anything else.



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  1       Q.    What was your reference to dirty tricks in the

  2   answer?

  3       A.    Well, a classic dirty trick in this kind of

  4   situation which, fortunately, didn't happen but could

  5   have happened, where they start sending data to us

  6   coming out of ADP systems and stuff is transposed.         Not

  7   much, but just a little.      Or some stuff is left out or

  8   extra junk put in.    And it's, oh, I'm sorry, we had a

  9   programmer that screwed up.      Okay, tell me about that.

 10   Those are dirty tricks that happen.

 11       Q.    So in that example, you are referring to a

 12   situation where Reynolds would be having a Reynolds app

 13   on a CDK dealer and somehow that dealer would not get

 14   satisfactory results from its Reynolds app because of

 15   an alleged programming issue; is that correct?

 16       A.    That certainly, but what I was more focused on

 17   was in this transition period where we are endeavoring

 18   to get dealerships that have been getting their data by

 19   extraction processes through Rd .      Well, if they mess

 20   up the extraction processes while all this transition

 21   is going on, that would be a dirty trick.

 22       Q.    And you say pretty much everything, the

 23   transition went smoothly from your perspective?

 24       A.    That fear did not come to reality.

 25       Q.    We are still on CX 1151 looking at the first



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  1   page of the exhibit.     There is in the middle of the

  2   page an e-mail from Mr. Schaefer to you, and he starts

  3   out his e-mail to you with the phrase,       per our

  4   conversation."    Was this a conversation you had with

  5   Mr. Schaefer about the substance of Mr. Gardner's

  6   e-mail?

  7       A.    I don't know specifically about Mr. Gardner's

  8   e-mail, but it was about the whole issue and situation.

  9   And what Bob Schaefer wanted is he wanted in writing

 10   what he was empowered to do.       And Bob Schaefer is a

 11   quite talented person.     In addition to the fact that

 12   some of his basketball school records at Wright State

 13   University still stand is kind of amazing.

 14             But he was actually in charge of development

 15   for Reynolds in the period of time before I got there.

 16   And actually, when I got there, supposedly he was --

 17   his neck was on the chopping block.       He was going to be

 18   fired.    And the fact that I came along and I said, you

 19   know, you guys got to be crazy; this guy is a bright

 20   guy; he knows all kinds of stuff; he invented the hub,

 21   he owns a patent on the hub, absolutely not.

 22             What I think happened was there had been a huge

 23   development failure at Reynolds before we got there.

 24   They had decided to build a whole new DMS, and they

 25   refused to allow the existing programmers at Reynolds



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  1   to participate in the building of this new system.

  2   They felt like they had the need for programmers

  3   experienced in the new ways of programming, and they

  4   wouldn't let the people that really knew everything

  5   participate.   They started with a whole bunch of fresh

  6   programmers that didn't understand automotive at all.

  7   They spent probably a quarter of a billion dollars for

  8   a system which ultimately failed.

  9            They actually had to withdraw it from the

 10   marketplace.   They had to make special provisions to

 11   basically buy dealerships out of their contracts and

 12   convert them back to Era.      I would imagine probably,

 13   though I have never talked to him about it in detail,

 14   Bob Schaefer had some choice things to say about that

 15   whole process, because what had happened was that the

 16   new programmers knew how to build pretty screens,

 17   pretty reports, but they had no knowledge of all the

 18   interior logic that had been built up over the years.

 19   And so when a dealer converted from Era to this new

 20   system, things didn't work.

 21       Q.   What was the new system called?

 22       A.   It was called Generations.     Scott, do you

 23   remember?

 24            MR. CHERRY:    That's correct.

 25            THE WITNESS:    Generations is correct, okay.



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  1   But at any rate, my observations and decisions as far

  2   as Bob Schaefer is concerned turned out to be exactly

  3   correct.       He's been a very is valuable person.

  4                BY MR. ABRAHAMSEN:

  5          Q.    And then you sent him back an e-mail which

  6   says,       You have authority to pursue discussions with

  7   ADP on these subjects as per our conversation."

  8       A.       Yeah, this is where the point about him almost

  9   getting fired when I fist got there.         Evidently, he had

 10   had his legs cut out underneath him by the previous

 11   administration.        And he was very, very sensitive about

 12   whenever he has something to do, that he has

 13   authorization to do it.         So any time somebody climbs

 14   him about what he's doing, he can open his drawer and

 15   say, I got the letter, see, which is a sad situation

 16   for that level of lack of trust.          But he started that

 17   process with me, and I felt like he was so sensitive

 18   about it that we would continue that process.

 19          Q.    Was it your understanding that he would then

 20   pass on your e-mail to people at CDK so that they would

 21   know that you had weighed in on it?

 22       A.       I don't think that -- that's not what the point

 23   was.        The point was that within our organization

 24   anybody that questioned his authority to discuss things

 25   with ADP, he's got the letter or the e-mail that says



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  1   that he's authorized.     It would not cover him divulging

  2   things to CDK at all.

  3       Q.   You mentioned in a prior answer that the market

  4   messaging position that Mr. Gardner had put in his

  5   e-mail was dead on arrival.     Was there some reason you

  6   didn't address that in your e-mail back to

  7   Mr. Schaefer, that you thought that particular

  8   provision was dead on arrival?

  9       A.   All this is so long ago, I don't remember if I

 10   thought about it or not thought about it.

 11       Q.   Did you talk to Mr. Schaefer about the

 12   marketing message, the market messaging part of

 13   Mr. Gardner's e-mail?

 14       A.   I don't specifically recall that.

 15            MR. COHEN:    Dana, I'm just going to lodge a

 16   clarification.   I may be wrong, but I thought that his

 17   dead on arrival testimony related to the industry

 18   standards provision.    But I could be wrong about that.

 19   If I'm right, then you have mischaracterized his

 20   testimony.   If I'm wrong, my objection is meaningless.

 21   But anyway, I simply wanted to let the record reflect

 22   my understanding of that prior testimony.

 23            BY MR. ABRAHAMSEN:

 24       Q.   And I will try to clarify the record.         The

 25   market messaging paragraph states that ADP would be



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  1   open to adopting and advocating common industry

  2   standards.

  3            MR. COHEN:    We are on the same page, then.

  4            BY MR. ABRAHAMSEN:

  5       Q.   So when I phrased my question as whether you

  6   spoke with Mr. Schaefer about market messaging, did you

  7   understand my question to encompass the part of that

  8   paragraph that talked about advocating common industry

  9   standards?

 10       A.   Again, my answer is the same.       We are now down

 11   really into the weeds, and my memory just is not that

 12   good.

 13       Q.   So just to make sure the record is clear on

 14   this point of common industry standards, you don't

 15   recall whether or not you talked to Mr. Schaefer about

 16   that part of Mr. Gardner's e-mail; is that correct?

 17       A.   That's correct.

 18            MR. COHEN:     Thank you.     I think that was an

 19   unnecessary detour on my part, but I appreciate the

 20   clear record.

 21            BY MR. ABRAHAMSEN:

 22       Q.   I flipped the page on the market messaging

 23   paragraph and realized there was a reference at the end

 24   on the next page that I had overlooked when we were

 25   speaking about this before in CX 1151-003.         The



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  1   paragraph about market messaging ends with a

  2   parenthetical where Mr. Gardner is giving an example.

  3   His example is "through or in conjunction with an

  4   industry organization such as NADA."

  5                Was there discussion between you and

  6   Mr. Schaefer about whether it would be satisfactory to

  7   Reynolds to do a common market messaging through NADA?

  8       A.       I'm sorry, but my answer is the same.        This is

  9   an exquisitely fine detail that I'm sorry I just don't

 10   recall.

 11          Q.    Let me ask you a broader question.     Taking our

 12   eyes off this exhibit for a moment so I can broaden the

 13   question, was there a time in the 2013 to 2015 time

 14   period where you were interested in CDK and Reynolds

 15   getting together in a public forum such as NADA and

 16   making a joint announcement about market messaging as

 17   it relates to data security?

 18       A.        I was not really interested in doing that at

 19   all.        I don't trust the people at ADP.    Never have.     I

 20   have been competing robustly against them since 1975.

 21   I don't want to do anything with them that I can

 22   possibly avoid.        It has to be a really, really good

 23   opportunity.

 24          Q.    Let me ask you to take a look at an exhibit

 25   we've marked as CX 4035.          I'll ask you to take a look



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  1   at it.   CX 4035 bears Bates REYCID0263974.

  2       A.   (Reviewing document.)

  3       Q.   My understanding is that these are notes that

  4   you made to yourself for a telephone call with

  5   Mr. Anenen; is that correct?

  6       A.    That's correct.

  7       Q.    There is an indentation on the first page of

  8   the notes that have five subparagraphs, and I wanted to

  9   ask you about the bottom of the five.       It begins with,

 10   "Therefore, I want a no-charge access to ADP systems

 11   for the next 20 years."       Do you see that?

 12       A.   Yes.

 13       Q.   And what was your ask here in terms of the

 14   20 years?

 15       A.    The ask was that I was to be able to -- for

 16   Reynolds products, for instance, like reverse risk, the

 17   reverse risk, we didn't know anything about that at the

 18   time.    That was a much, much later event.      To be able

 19   to access 3PA's approach to ADP's systems for no charge

 20   in view of the fact that they have been taking theirs

 21   and they had been paying nothing for over 20 years.

 22   They've been extracting data on our systems.

 23       Q.   And what did Mr. Anenen have to say about that

 24   proposal?

 25       A.   I don't know.      I didn't talk to him directly



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  1   about that proposal.      He, unsurprisingly, was not happy

  2   with that.   But I was pretty adamant.

  3       Q.   At the end of that same paragraph, you make the

  4   point that you want it used only for a product that

  5   Reynolds offers.

  6       A.   Yeah, this is in no way to be considered a data

  7   extraction for resale to third parties.       It was only to

  8   facilitate a product that we provide to dealerships

  9   that use CDK and that's it.

 10       Q.   Why was that a significant point for you to

 11   make?

 12       A.   Well, because I would be hypocritical if I

 13   acted otherwise because what I'm doing is I'm demanding

 14   the rules that they have to follow.      Therefore, it's

 15   appropriate that I need to follow them too.

 16       Q.   The third slash down in this same indented

 17   paragraph states that ADP has wrongly taken advantage

 18   of Reynolds in the marketplace over the issue of data

 19   security and has cost us in the millions.

 20            Is that the issue we have been speaking about

 21   earlier where CDK was selling against Reynolds on this

 22   issue of data security?

 23       A.   Yes.

 24       Q.   The third slash mark from the bottom of the

 25   first page of this exhibit speaks again about



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  1   indemnification, and it reads, "indemnification has

  2   been dealt with.

  3               Does this refresh your recollection at all

  4   about what Reynolds had done with regard to

  5   indemnification that had sort of cleared the way for

  6   this -- what had previously been a stumbling block to

  7   now be dealt with?

  8         A.    I'm sorry, I don't recall.

  9          Q.   The second page of the exhibit, CX 4035-002,

 10   the first sentence on that page says,         We have held up

 11   on a large release of security enhancements for over

 12   two months to see if there was a deal to be worked

 13   out.

 14               What security enhancements were you referring

 15   to?

 16         A.    There were a bundle of security enhancements.

 17   I don't know specifically.        As a matter of fact, I

 18   don't know how any of them -- well, most security

 19   enhancements, I don't understand how they work.

 20   There's been a couple of simple ones such as we verify

 21   that the employee status of a person that holds access

 22   to a Reynolds computer system by going over the payroll

 23   system and checking to see if they are on payroll.            If

 24   they are not on the payroll system, that's a good

 25   indication they are a third party.         So that kind of



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  1   security enhancements I understand.      That's pretty

  2   simple and straightforward.      But the rest of them get

  3   pretty exotic, and I'm frankly -- I would love to have

  4   time to sit with the programmers to understand exactly

  5   what they do, but that's a luxury that I don't get to

  6   have.

  7       Q.   And am I reading this correctly, you'll correct

  8   me if I'm wrong, but you are saying you have held up

  9   the security enhancements, you have held them up in the

 10   hopes that you'll be able to figure out a way to not

 11   apply them to the CDK integrations that are going on?

 12   Is that accurate?

 13       A.   Yes, because that would dislocate a lot of

 14   customers and there would be a lot of heat and anger

 15   over the whole situation.     These two months worth of

 16   security enhancements that are being held up are the

 17   ones that would finally disable them, that would

 18   disable ADP access to our boxes.

 19       Q.   Right.   So it was getting back to what we

 20   talked about earlier this morning that the technology

 21   was there to block, but the business problems were

 22   still a problem.

 23       A.   Exactly.

 24       Q.   How did you know that -- I'm looking at the

 25   second-to-last bullet on this page.      You make a



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  1   reference here to hundreds of third parties.         How did

  2   you know how many third parties DMI and Integralink

  3   were working with?

  4       A.   That number had been mentioned in the

  5   discussions that had been ongoing between Bob Schaefer

  6   and the ADP people.     I was not -- prior to this whole

  7   process, I was not aware of how many they had.          I

  8   presumed it to be a pretty good size because they had

  9   been in the business of doing this for 20 years or

 10   more.

 11       Q.   During the phone call with Mr. Anenen, did you

 12   talk about other integrators that were in the market

 13   such as Authenticom or any of the others?

 14       A.   No.

 15       Q.   At this time point, I'm going to go back to the

 16   paragraph we started out talking about, the one that

 17   referenced the next 20 years.          Was there any hesitancy

 18   on the part of CDK to allow Reynolds to use 3PA to

 19   access its apps on to the CDK DMSes?

 20       A.   There's never been occasion for a conversation.

 21   And frankly, when all this was going on -- and

 22   remember, this is a list of talking points for a

 23   telephone conversation that I had hoped was going to

 24   happen within a month or two.          It didn't happen for

 25   seven or eight months.      But frankly, I didn't even



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  1   understand that they had a 3PA process at all until

  2   further on in this particular process.

  3       Q.     What was your sense of why the process was

  4   taking so long to play out?

  5       A.     They were stalling.

  6       Q.     Why would they be stalling?

  7       A.     Well, frankly, they didn't want this all to

  8   happen at all.        They were being forced into it.    So

  9   therefore, what they did is they drug their feet.          And

 10   as is typical in a negotiation that you give the other

 11   party an opportunity to act in good faith presumably to

 12   start with.        When it doesn't quite work out that way,

 13   then it becomes much more difficult.        It becomes

 14   tougher.

 15       Q.     Were there instances where you threatened CDK

 16   if they didn't move forward on this agreement?

 17       A      Yeah.

 18       Q.     What did you threaten them with?

 19       A.     I said, look, you are going to wake up one

 20   morning and nothing is going to work as far as your

 21   accessing of the Reynolds boxes.       And so therefore,

 22   whatever you are supposed to be doing for your

 23   customers, you are going to be up a tree, which is a

 24   very serious decision, and I thought long and hard

 25   about it, but I didn't want to cause the upset that it



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  1   would have caused in the marketplace generally.         My

  2   wants were simple.      I wanted them out of our boxes.

  3   And it took me a while to get to the point from a

  4   resolution standpoint that if they didn't do it, I was

  5   going to shut them off.

  6       Q.   Did you make those representations about

  7   shutting CDK off directly to Mr. Anenen?

  8       A.   Yes.

  9       Q.   Did you make those representations to anyone

 10   else at CDK?

 11       A.   No.

 12       Q.   Did you have conversations with anyone at CDK

 13   other than Mr. Anenen on the subjects that we have been

 14   talking about today?

 15       A.   No.

 16       Q.   Did you ever talk to Mr. Workman?

 17       A.   Not about these subjects.      And Ron Workman, I

 18   would -- one of the few decent people in that

 19   organization.     A good guy.

 20       Q.   How did you know Mr. Workman?

 21       A.   Well, the setting up of the ODE relationship.

 22   He worked on the contracts on his side.       I worked on

 23   them from our side.

 24       Q.   How long have you known Mr. Workman?

 25       A.   That's probably in the ten-year park.



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  1       Q.   I'm going to ask you a series of the same

  2   questions, but I'm going to ask you whether the

  3   conversations took place between Mr. Schaefer and

  4   anyone at CDK.    Are you aware of whether Mr. Schaefer

  5   conveyed these sort of threats, that there would be

  6   blocking of the CDK DMSes if progress wasn't made on

  7   the contracts that we have been talking about?

  8       A.   I would feel quite certainly that he did have

  9   conversations that covered those subjects because there

 10   wasn't -- my meeting with Steve Anenen and then a long

 11   period of silence from our side.      People on the ground

 12   doing the work who were personally invested in how

 13   everything worked, I'm sure that they got talked to by

 14   Bob Schaefer.

 15       Q.   The last bullet on the first page of CX 4035

 16   makes reference to Mr. Workman and that he has

 17   reported -- I understood it to mean he had reported to

 18   you that your interface request could only be approved

 19   b y Mr. Anenen.   Am I reading that correctly?

 20       A.   Yes, but as far as I don't think Ron Workman

 21   reported that to me.    He probably reported it to Bob

 22   Schaefer because again, I was not talking directly to

 23   anybody at CDK other than Steve Anenen.

 24       Q.   So Mr. Workman could have made that

 25   representation to Mr. Schaefer, and then it would have



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  1   come up to you through Mr. Schaefer.      Is that my

  2   understanding?

  3       A.    That is correct.

  4             (Discussion off the record.)

  5             BY MR. ABRAHAMSEN:

  6       Q.    A little earlier today we were talking about

  7   the market message that DMS providers conveyed to the

  8   market.    We were talking about Reynolds' long-standing

  9   position on data security, and we talked some about how

 10   CDK had a different message to the market about its

 11   view, I think you used the phrase laissez-faire view on

 12   market security.

 13             My question is what was the message on data

 14   security that was being conveyed by the other DMS

 15   providers such as Dealertrack and Autosoft and so on?

 16       A.    Frankly, I'm not aware.     From a DMS provider

 17   standpoint, Dealertrack, their DMS is small and weak.

 18   From the facility standpoint, it's kind of a get-by

 19   product that works for small dealers.      We don't hear

 20   much about them at all in the marketplace.

 21             As far as the others, there's probably four or

 22   five others, but frankly, we don't pay any attention to

 23   those people because they are in a different market.

 24   They are selling to small dealers who don't really need

 25   very sophisticated systems.



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  1          Q.    Let me ask the question a slightly different

  2   way.        Was there -- did you have a sense in this

  3   2012/2013/2014 time period that Reynolds was unique in

  4   that it was offering a market message on data security

  5   about being strong and vigilant about third-party usage

  6   of user IDs and passwords and so on, and it was sort of

  7   alone, that all the other DMS providers had a different

  8   market message?

  9       A.        I understood that to be the case, that we were

 10   different and we were the only ones that were

 11   different.       But that's, as far as I'm concerned, a

 12   perfectly satisfactory situation because I'm convinced

 13   the way we are doing it is the right way.          And the

 14   other folks are doing it the wrong way, and the fact

 15   that there's other folks doing it the wrong way means

 16   nothing to me.       Above all else, I want our stuff to be

 17   right.

 18                MR. ABRAHAMSEN:    Why don't we go off the record

 19   for today, and we'll resume tomorrow morning at 9:00 in

 20   the same location.

 21                 (Whereupon, the proceedings at 1:02 p.m., were

 22   adjourned.)

 23

 24

 25



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 1                    CERTIFICATE OF REPORTER




 4             Ii, Deborah Wehr, do hereby certify that the

      foregoino: proceedings were taken bv m in stenotype and

      thereafter reduced. to typewriting under my supervision;

 7    that I am neither counsel for, related, to, nor employed

      by any of the parties to the action in which these

      proceedings were taken; and further, that I am not a

             , or employee of any attorney or counsel
             ,
      relatiw.

      employed by the parties hereto, nor financially or

12    otherwise interested in the outcome of the action,


:14




16

                                LAi:lbotah Wthi,   PR

                                Notary Public

19

20




24

25




                                                              FTC-0000110

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Gov. Ex. 33
 1                    FEDERAL TRADE COMMISSION

 2

 3    In the Matter of:

 4    CDK GLOBAL,

 5           a corporation,              )   File No.

 6   And                                 )   171-0056

 7   REYNOLDS AND REYNOLDS,

 8           a corporation.

 9

10

11                   Thursday, September 19, 2019

12

13                  Sheppard, Mullin, Richter & Hampton, LLC

14                  2099 Pennsylvania Avenue, N.W.

15                   Washington, D.C.    20006

16

17                   The above-entitled matter came on for

18   investigational hearing, pursuant to notice, at 9:05

19   a.m., for the testimony of:

20

21                        ROBERT BROCKMAN

22

23

24

25   Reported by:   Deborah Wehr, RPR




                                                         GOVERNMENT
                                                           EXHIBIT

                                                        4:21-CR-009-GCH
                                                              No. 33



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  1   APPEARANCES:

  2

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 23   ALSO PRESENT:

 24            SCOTT CHERRY

 25            JON EMMANUAL



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  1                       PROCEEDINGS

  2

  3            MR. ABRAHAMSEN:      We will resume today our

  4   examination of Mr. Brockman.          We have as counsel for

  5   the Federal Trade Commission, William Lanning.         And

  6   Mr. Ansaldo, who was with us yesterday, is not present

  7   today.     But otherwise the attendance in the room is the

  8   same as yesterday.     And we are back on the record.

  9   Whereupon --

 10                          ROBERT BROCKMAN,

 11              a witness, called for examination, having been

 12   previously duly sworn, was examined and testified as

 13   follows:

 14                              EXAMINATION

 15              BY MR. ABRAHAMSEN:

 16       Q.   Mr. Brockman, good morning.

 17       A.     Good morning.

 18       Q.     I remind you, you are still under oath.

 19       A.     I understand.

 20       Q.     We were talking yesterday about the different

 21   approaches Reynolds had when it came to its idea about

 22   security and how it differed from the way the

 23   laissez-faire attitude that CDK had when it came to

 24   security.    And I wanted to ask whether it would have

 25   been beneficial for Reynolds' business if CDK changed



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  1   its philosophy.     You mentioned yesterday that CDK was

  2   costing Reynolds millions of dollars by hacking in to

  3   your system, and they were using the fact that you had

  4   a closed system as a way to tell dealers that they

  5   should switch DMSes over to the CDK DMS.          So if CDK

  6   changed its business practice and adopted a practice

  7   more like Reynolds' practice of not allowing third

  8   parties on its system, would that benefit Reynolds?

  9       A.     I hadn't really thought about that, but

 10   certainly they would not be able to declare us fools

 11   and idiots.    And to that extent, I'm sure it would have

 12   been beneficial.     They would not have kept throwing the

 13   way we were doing things up in our face in sales

 14   situations.

 15       Q.   And it would have vindicated your position on

 16   the importance of security for data as well?

 17       A.     Certainly it would.        There's no question.

 18       Q.   Let me ask you to take a look at a document

 19   we've labeled CX 1143 and ask you to take a look at it.

 20   CX 1143 has Bates CDK CID 01535307.          It's a two-page

 21   exhibit.

 22       A.     Yes, I find the next-to-the-last paragraph

 23   somewhat amusing.

 24       Q.     I'm sorry, you are talking about the

 25   next-to-the-last paragraph of the first page of the



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  1   exhibit?

  2       A.     Of the first page.     It's the one that says, I

  3   should point out, we have not been accessing R&R

  4   systems for decades, as you said.        Our business in

  5   access R&R systems came to us through an acquisition.

  6              I didn't think that acquiring something

  7   automatically put them through the holy water.

  8       Q.     I appreciate that.     His point about the number

  9   of years that CDK had been accessing the Reynolds

 10   system is a response to your e-mail to him; is that

 11   correct?

 12       A.     Yes, I believe that's correct.

 13       Q.     So the record is clear, the Exhibit CX 1143 has

 14   as the second page of the exhibit the first e-mail in

 15   the e-mail and responsive e-mail.       And the first e-mail

 16   is from Mr. Brockman to Mr. Anenen on June 30, 2014.

 17   And the first sentence of your e-mail to Mr. Anenen

 18   states, "I think there is some confusion surrounding

 19   the issue that I called you about last week."

 20              Do you see that?

 21       A.     Yes.

 22       Q.     So is the call that you are referring to in the

 23   first sentence of the second page of this exhibit the

 24   telephone conversation that we discussed yesterday?

 25       A.     I'm not sure that I recall exactly what was



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  1   discussed yesterday as far as which telephone call, if

  2   you could refresh my recollection in that.

  3       Q.     I believe it's CX 4043.

  4            MR. COHEN:       Here we go.   I have 4043 in front

  5   of him as well.

  6              THE WITNESS:     This is my list of talking points

  7   for an eventual telephone conversation.

  8            BY MR. ABRAHAMSEN:

  9       Q.     When you said this, you are referring to

 10   CX 4043?

 11       A.     That's right.

 12       Q.     Had you had any other telephone calls with

 13   Mr. Anenen in this June 30th time period aside from the

 14   one call you reference in your e-mail?

 15       A.   As best as I can recall, that was the only one.

 16   Mr. Anenen was a hard person to get ahold of.

 17       Q.     The response from Mr. Anenen is the first page

 18   of CX 1143, and I would like you to take a look at the

 19   indented part of the paragraph on the first page of the

 20   exhibit and the first hash mark under the sentence that

 21   begins with, Based on my assumption, it starts,         For

 22   ADP", do you see that sentence?

 23       A.     I'm sorry, I don't know if I'm looking at the

 24   right thing or the right side of it.

 25       Q.     Yes, CX 1143.



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  1         A.   Dash 001?

  2         Q.   Yes.

  3         A.   Excuse me, I was on the wrong page.      And your

  4   question?

  5         Q.   I was going to direct your attention to the

  6   paragraph that's indented, and it's the first paragraph

  7   under, "Based on my assumption".

  8         A.   This is the one that starts off,       For ADP to

  9   provide integration to Naked Lime"?

 10         Q.   Correct.    What did you interpret him to mean

 11   when he talked in that paragraph about providing

 12   integration to Naked Lime, having to go through a set

 13   of defined, documented and thoroughly tested processes?

 14         A.   I interpreted that to mean what he was

 15   describing was a 3PA process.

 16         Q.   And had you talked to him about having your

 17   applications go through 3PA prior to receiving this

 18   e-mail?

 19         A.   I had not personally.       I would suspect by the

 20   context that my people had been talking to his people.

 21         Q.   But at this time, by the time you read this

 22   e-mail, CX 1143, you, at that point, were aware that

 23   CDK had a 3PA program?

 24         A.   Yes, but my people had been talking about it to

 25   me.



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  1       Q.   And he talks here about not only for Reynolds

  2   and Reynolds, but he also makes reference in the first

  3   sentence for ADP to provide integration to Naked Lime

  4   or R&R or any third party.      What did you interpret him

  5   to be meaning when he said that for any third party

  6   they would have go through 3PA?

  7       A.   I don't know that I paid a lot of attention to

  8   that particular line.     What I was more interested in is

  9   that they were, as of this date, clearly getting behind

 10   the process of the stand down and they were describing

 11   things that they needed to have, which I considered to

 12   be reasonable as part of the soft landing.

 13       Q.   So you thought it was reasonable for him to

 14   expect you to go through 3PA for your apps?

 15       A.   Yes.

 16       Q.   And with respect to his reference, and he says

 17   it twice in this paragraph, in the first line he talks

 18   about how this has to apply to any third party.         And

 19   then the very last sentence of this paragraph says,

 20   "Every third party must operate within these

 21   parameters."    Did you understand that sentence to mean

 22   that CDK was no longer going to adhere to its

 23   laissez-faire attitude about third parties?

 24       A.   Clearly this e-mail represented -- it may not

 25   have been a change, but my understanding of where they



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  1   were at from a security standpoint, it was obviously

  2   much different than what I had seen before.

  3       Q.   And what did you take his sentence in the very

  4   next indented paragraph, in other words, the one that

  5   begins after the second hash mark, he's talking again

  6   about ADP's third-party approval and how they have been

  7   developed.   And the last sentence is what I would like

  8   to -- the last two sentences are what I would like to

  9   point your attention to.     The second-to-last sentence

 10   of the paragraph reads, "I am sure you will appreciate

 11   the need to have R&R follow the same process and meet

 12   the same standards.    I believe that" -- I think the

 13   word "this" should be here -- that "this is the same

 14   point you make publicly."

 15            Did you interpret that to mean that he was

 16   moving away from his position about -- his

 17   laissez-faire position about allowing third parties on

 18   to his system and that he was making reference to the

 19   fact that this is something that you had made public

 20   statements about?

 21       A.   My interpretation of what this paragraph is all

 22   about is that the 3PA system had been around for a

 23   while but I had not known about it.      And evidently,

 24   it's something that they provided to very large

 25   customers, large groups, chain dealerships.       Auto



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  1   Nation, of course, is their largest customer because

  2   it's the biggest chain dealer operator in the whole

  3   country.

  4              What we are seeing here is a well-developed

  5   process, but I had not been aware of that before this.

  6   And to see what all he wrote here, actually it's

  7   comforting in that the worst situation would be if

  8   there were no process at all and they would have to

  9   build one from scratch.       Looking at this one, you can

 10   say, well, this has been running for a while and it's

 11   well documented.      It looks like it would be a

 12   reasonable process to interface using what he's laying

 13   out here.

 14         Q.   And he's kind of making a point, if I'm

 15   interpreting this correctly, that almost explaining why

 16   maybe you haven't heard about it, that you have been

 17   very public about your position when it comes to third

 18   parties accessing your DMS, and he's kind of hinting

 19   that you may not have known this because we haven't

 20   made it public yet that we are going to take the same

 21   position that you are going to take on third-party

 22   access.     Did you interpret this e-mail that way?

 23         A.   I don't know that I thought that deeply about

 24   it.    It was mainly a sigh of relief on my part that we

 25   weren't going to have to start from scratch to build up



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  1   an interface.

  2       Q.   The next paragraph -- the next paragraph on the

  3   first page of this paragraph that's not indented

  4   begins -- and this is the one that you referenced

  5   before I had even asked a question about the exhibit,

  6   the "I should point out      paragraph, and I would like to

  7   turn your attention to the last two sentences of that

  8   paragraph.    The second-to-last sentence says, "I would

  9   be remiss not pointing out that R&R is accessing the

 10   ADP system through a contract with Authenticom and has

 11   been doing so for quite some time without an agreement

 12   from ADP.    We need to clean this up as well.

 13            What did you interpret those two sentences to

 14   mean?

 15       A.   Well, there is no question we had been using

 16   Authenticom on a very small scale to provide service

 17   reminder follow-up data, addresses and names of

 18   customers that own vehicles that sign up to have an oil

 19   change or have a 100,000 mile checkup or whatever.

 20            As far as what arrangements that Authenticom

 21   had, that was beyond our vision.      We don't get to see

 22   what Authenticom does or was doing at that time.         And

 23   what he's saying here in so many words is that

 24   Authenticom doesn't have a contract with us.

 25   Authenticom is acting as a hacker into CDK's systems.



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  1   And he's being fairly gentle about pointing that out

  2   because we truly didn't understand what Authenticom was

  3   doing, what permissions they had and which ones they

  4   didn't.

  5       Q.    When he said   we need to clean this up as

  6   well , is he suggesting that you need to stop using

  7   Authenticom to access the CDK system?

  8       A.    That was my interpretation.

  9       Q.    And did this suggest to you that CDK was moving

 10   away from its laissez-faire attitude about third

 11   parties and was going to take a stricter approach in

 12   terms of not allowing third parties to hack into its

 13   system?

 14       A.    I wouldn't say that I perceived that at this

 15   point.    It wasn't until they started publicly

 16   announcing 3PA that I took notice.

 17       Q.    Why would he be e-mailing you that you needed

 18   to clean this up as well if CDK wasn't interested in

 19   stopping the use of third-party integrators on its

 20   system?

 21       A.    Again, I don't think I thought that deeply.

 22   This was -- at this stage of this project, you know, my

 23   efforts were pretty much done because I forced the

 24   issue with Steve Anenen.     And after that I'm backing

 25   away because I'm on to whatever the next hill is.



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  1       Q.    This notion that Reynolds had been using

  2   Authenticom and that CDK was going to ask you to clean

  3   that situation up, was that a topic that you and

  4   Mr. Anenen had discussed on the telephone?

  5       A.    I'm sorry, I don't recall whether we did or

  6   didn't.    But it was absolutely clear what he was saying

  7   in this letter.

  8       Q.    That the third-party integration that had been

  9   going on would not be allowed to continue?

 10       A.    Yes.

 11       Q.    Was that something you talked to Mr. Anenen

 12   about, whether CDK was also, in addition to seeing to

 13   it that Reynolds stopped using third-party integration

 14   on its system that CDK was also going to stop being so

 15   laissez-faire about other parties using third-party

 16   integration on the CDK system?

 17       A.    Again, I'm not perceiving that far deep into

 18   this letter.     I'm -- again, I think I'm out of this

 19   project and I'm on to the next one.

 20       Q.    I can't remember how I started my question, so

 21   I'm going to maybe ask the same question, but I don't

 22   think so.

 23             MR. COHEN:    You have asked the same question

 24   for about 45 minutes in several different ways, and I

 25   haven't objected once and I'm not going to.       But the



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  1   answer is not going to change.

  2            THE WITNESS:   Can I declare a timeout?

  3            (A recess was taken.)

  4            BY MR. ABRAHAMSEN:

  5       Q.   Before the break we were talking about CX 1143

  6   and how it had followed a telephone conversation you

  7   had had with Mr. Anenen.      In that telephone

  8   conversation with Mr. Anenen, had he said anything that

  9   led you to believe that CDK was no longer going to take

 10   a laissez-faire attitude about third-party integration

 11   on its DNS system and was going to be adopting a system

 12   where they would no longer permit third parties to

 13   integrate on its system?

 14       A.   We never had any conversation about that.           When

 15   I finally learned about it, I wasn't surprised because

 16   I thought the way they were doing it before was really

 17   stupid from a security standpoint.      And probably from a

 18   general background statement, I consider really

 19   everything that CDK does to be inferior.       And that's --

 20   I have been competing with them now since 1975.         So

 21   therefore, I don't spend any time, quote, watching what

 22   CDK does.   I find it humorous that they turn over chief

 23   executive officers as often as they do.      But other than

 24   that, as far as operationally or technically, whatever,

 25   I pay no attention to what they do.



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  1       Q.    You mentioned in a prior answer that you had

  2   learned about CDK's 3PA program from people who report

  3   to you.    Who would that have been?

  4       A.    Probably Bob Schaefer.

  5       Q.    Let me ask you to take a look at a document

  6   we've marked as CX 4036.       The Exhibit CX 4036 has Bates

  7   REYCID0264663, and my understanding is that these are

  8   notes that you prepared for yourself to deliver remarks

  9   at a sales meeting on July 14, 2014; is that correct?

 10       A.    Yes, that's correct.

 11       Q.    I wanted to ask you to take a look at the

 12   second page of the Exhibit CX 4036-002, and at the

 13   bottom of the page there is a paragraph titled

 14   Security.    Do you see that?

 15       A.    Yes.

 16       Q.    The second bullet down talks about the early

 17   stages of negotiating an agreement, and it says it's a

 18   similar agreement.      When you say similar agreement, is

 19   that a reference to the reference in the first bullet

 20   that Reynolds had reached an agreement with

 21   Mr. Batista?

 22       A.    Yes, the most important part of which is that

 23   Phil Batista, since lost in court, was no longer going

 24   to be hacking Reynolds' sites and there was going to be

 25   an orderly stand down.       And that was the way it looked



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  1   like the agreement with ADP would take place.          It would

  2   be similar.

  3       Q.   So you had had a court case going against

  4   Mr. Batista, and then ultimately you settled that court

  5   case?

  6       A.   I don't know who brought it in the first place,

  7   whether it was us or whether it was Mr. Batista.         And

  8   the final disposition, whether it was a settlement or

  9   whether it was an agreed verdict, I'm not aware.

 10       Q.   And the reference in the first bullet "reached

 11   an agreement where Phil is getting out of the

 12   business", is that what you would call a wind down

 13   agreement with Mr. Batista?

 14       A.   Yes.

 15       Q.   And were the terms basically that he would stop

 16   doing integration on Reynolds but he would do so in a

 17   way that allowed his clients to continue to do the

 18   integration for a period of time until they could move

 19   into the RCI program?

 20       A.   Yeah.    It was an orderly stand down would be

 21   the way I would characterize it.

 22       Q.   And Mr. Batista, his company is SIS?

 23       A.   Yes.

 24       Q.   The third hash mark down under security on

 25   CX 4036-002 states, "ADP seems to be becoming aware of



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  1   the laws and liabilities involved."      Do you see that?

  2       A.   This is in the last section titled Security?

  3       Q.   It's the third hash mark down.

  4       A.   Yes, I see that.

  5       Q.   What did you mean by ADP seems to be becoming

  6   aware of the laws?

  7       A.   The very existence, which was in relatively

  8   recent news to me, was the fact that the 3PA program

  9   existed at all and the fact that they were talking

 10   about that.    Again, that was new news to me or

 11   relatively new.

 12       Q.   What laws were you referring to?

 13       A.   The ones -- and I should know the names of

 14   them, but the ones that were discussed in the document

 15   produced by NADA.

 16       Q.   And had you talked to Mr. Anenen about the

 17   applicability of those laws?

 18       A.   No.   I just had disagreed with the way it was

 19   interacting with our systems.

 20       Q.   But you told your sales force that ADP seems to

 21   be becoming aware of the laws.       What was your basis for

 22   saying that?

 23       A.   The fact that I had become aware of the 3PA.

 24       Q.   What did 3PA have to do with laws?

 25       A.   Well, 3PA is, as we've seen in just prior



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  1   documents, is very organized, very structured, has

  2   contracts.     The 3PA system provides for ADP to

  3   understand exactly what data is being extracted from

  4   systems.    And I think they probably started to become

  5   aware of what was happening from a hacking standpoint

  6   of their DMS system.

  7         Q.   You said in a prior answer that 3PA had been

  8   around for a while.      It's just that you hadn't heard of

  9   it.

 10         A.   Well, I made that statement based on the fact

 11   that it was a pretty complete definition of how it

 12   ought to be done.      And that's not typically something

 13   you start with on day one.        So therefore, it was -- I

 14   can't tell how mature it was, but it was certainly past

 15   starting, for sure.

 16         Q.   But your comments that you are going to make to

 17   your salespeople are sort of -- make it sound to me

 18   that because you say ADP seems to be becoming aware of

 19   the laws, that there was something recent.

 20         A.   It was recent knowledge to me.

 21         Q.   And what was it about the existence of the 3PA

 22   program that gave you insight into ADP's thinking about

 23   the laws?

 24         A.   Well, as far as compliance with the law, my

 25   belief is that to do it legally, you got to have



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  1   contracts, you got to have definitions, you got to have

  2   an explicit listing of what data fields are going to be

  3   removed from the DMS system.         And this is -- the fact

  4   that there was the existence of the 3PA at all was at

  5   variance with what the status quo had been as far as my

  6   knowledge is concerned.

  7            And talking to the salespeople, the point I'm

  8   trying to make is that, well, it kind of looks like

  9   that CDK is going to have a formal process, and

 10   therefore, they are not going to be able to throw rocks

 11   at us for having a formal process, which the sales

 12   force are the people that take the stones on this

 13   particular subject.     That's why I was telling them that

 14   it looked like the world is perhaps changing.

 15       Q.   And you talked in this same sentence about

 16   liabilities, that ADP seems to be becoming aware of the

 17   laws and liabilities.     What liabilities were you

 18   referencing?

 19       A.   Well, the very fact that the 3PA agreement

 20   meant to me that they were changing their previous

 21   positions of laissez-faire, and that has -- if you

 22   describe laissez-faire from a business standpoint, it's

 23   treacherous because if there's a breach and you

 24   don't -- you are operating without contracts and

 25   without definitions of who is doing what, it makes for



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  1   a really messy situation as far as liability is

  2   concerned.

  3       Q.   Liabilities like the ones we talked about

  4   yesterday where if a third party sent data into the

  5   wrong hands, the DMS is the deep pocket?

  6       A.   Exactly.

  7       Q.   And you state in the next hash mark down,        This

  8   could put the security wars very much behind us."         Is

  9   this referencing back to the prior bullet about ADP

 10   becoming aware of the laws and liabilities?

 11       A.   I would say that would be correct.

 12       Q.   Let me ask you to take a look at CX 4037.

 13   CX 4037 has Bates REYCID0513201, and it appears to be

 14   an e-mail from Mr. Schaefer to Mr. Brockman.       It's

 15   dated September 11, 2014.

 16       A.   The print on this one is really small.        Yes.

 17       Q.   The exhibit has a paragraph that contains four

 18   numbered paragraphs, the longest of which is number 4,

 19   which starts out "CDK also wants to begin discussing

 20   the tactical direction for the following."       And this

 21   is -- these are subjects that are being negotiated

 22   between CDK and Reynolds with regard to what ultimately

 23   becomes a contract that's signed in February of 2015;

 24   is that correct?

 25       A.   Yes, that's correct.



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  1         Q.   And the paragraph B starts out "RCI pricing,

  2   minimums, et cetera," and has one little subparagraph

  3   under it.    And there's a reference in the -- well, it's

  4   the first sentence, but it's a very long sentence and

  5   there's some dashes, and it's talking about Menu

  6   Advantage [sic], and then the sentence continues, Their

  7   contract is not up with SIS until July 2015.

  8              Was this a reference to CDK using SIS to

  9   integrate Menu Advantage on Reynolds' DMSes?

 10         A.   Yes, that's correct.

 11         Q.   And was this integration by SIS subject to the

 12   wind down agreement, as far as you know?

 13         A.   I'm not sure about that.     What I think is

 14   happening here is that Phil Batista and SIS, Phil is a

 15   snake, and it looks to me like that CDK has finally

 16   become aware of his true qualities and nature, and they

 17   are deciding they want to move to a place where they

 18   are not doing business with him anymore, which I'm not

 19   surprised.

 20         Q.   The sentence goes on and -- I know you didn't

 21   write this, but I appreciate your interpreting it for

 22   us.    It says that when they go with Reynolds, they'll

 23   be paying Reynolds a much higher price than what SIS is

 24   currently charging them.       How much higher price would

 25   CDK pay Reynolds compared to what it was paying SIS?



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  1       A.    I don't know that.    We don't have that

  2   information.    They don't tell us that, but they infer

  3   that.    But as far as what prices SIS was charging, we

  4   don't know.

  5       Q.    Well, did you know what price you were paying

  6   Authenticom to integrate apps on to the CDK system?

  7       A.    I was not personally aware of that, it was such

  8   a minor piece of business.      Reminder cards is not

  9   really a huge deal.    I think we pay more for the

 10   postcard than the rest of it.

 11       Q.    Was it generally the case that the third-party

 12   integrators were charging less than what 3PA and RCI

 13   were going to be charging for integration?

 14       A.    I don't have direct knowledge of that, but I

 15   wouldn't be surprised if that was the case.

 16       Q.    The next paragraph down, in other words, 4C,

 17   talks about communication plan and marketing

 18   announcement, and the first clause of the sentence

 19   under paragraph i says, "How will the agreement be

 20   announced to the market."

 21             What was the issue with regard to announcing

 22   the agreement to the market?

 23       A.    CDK was very, very sensitive -- this was their

 24   issue, was very, very sensitive about how all this was

 25   going to happen.    We are not, you know, marketing kind



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  1   of folks.     We are programmers and technical kind of

  2   folks, and this was not something that we brought up.

  3   It was their issue.     And at this point we had not given

  4   the slightest thought to that there would even be a

  5   marketing program around an announcement, but that's

  6   their deal.     So we were not opposed to that.

  7       Q.   What would the announcement be if Reynolds

  8   could get its -- what would Reynolds want the public

  9   announcement to say?

 10       A.   We would not want it to say anything as far as

 11   we are concerned.     We would be just as happy if it

 12   didn't exist.

 13       Q.   Is this something you discussed with

 14   Mr. Schaefer?     He's writing you this e-mail that

 15   contains this sentence.

 16       A.   I would say probably we did, and probably I

 17   would have communicated exactly what I have

 18   communicated to you.     We are not spinmeisters.

 19       Q.   The impression I get from having read documents

 20   in this matter is that Mr. Schaefer thought that a

 21   public announcement was very important to you.         Do you

 22   know why we would see that in the documents given what

 23   you have stated about the lack of enthusiasm for a

 24   public announcement that you are testifying about?

 25       A.   Well, I'm sure I would have talked to Bob



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  1   Schaefer about this issue.       But again, a joint

  2   marketing announcement with CDK is not something I get

  3   all, you know, wet and tingly about.

  4       Q.   The notion that there would be an announcement

  5   that CDK was no longer being agnostic about third

  6   parties integrating on its platform would seem to be

  7   beneficial to Reynolds in the sense that it would be

  8   public acknowledgment that they were no longer going to

  9   be throwing rocks at you for your stance on security.

 10       A.   I would think that that would be the furthest

 11   thing from their mind because they are the ones that

 12   want to do it, which means they are going to want it to

 13   be favorable to them.      And anything that's favorable to

 14   them is unfavorable to us.       Anything that's favorable

 15   to us would be unfavorable to them.

 16       Q.   Well, what would be favorable to you in terms

 17   of an announcement?

 18       A.   Nothing.   No announcement.     That would be our

 19   preference.

 20       Q.   You wouldn't want an announcement that CDK was

 21   going to stop coming into your system unauthorized?

 22       A.   I don't think that there was any way in the

 23   world that CDK would admit that in a marketing

 24   announcement.    I mean, it would be like a public

 25   confession that they were hackers and had been hackers



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  1   for years.     I mean, there's no way in the world they

  2   would have agreed to let that be any part of a press

  3   announcement.

  4       Q.     I have noticed from reading the final agreement

  5   that it says that both companies will agree on press

  6   releases.    Was that something Reynolds wanted the

  7   agreement to say or was that --

  8       A.     Well, what it is, it's a tit for tat.       They

  9   would want it to say that they could agree and approve

 10   it, and we would say, no, it's got to be joint which

 11   means if we didn't like it, it would not happen.         It's

 12   one of those kind of situations where you got two

 13   parties and it has to be unanimous consent or nothing

 14   happens.

 15       Q.     Was that a provision that Reynolds felt

 16   strongly about having in the agreement?

 17       A.     Certainly I would have thought so.    I'm not

 18   aware exactly how it was handled in the final

 19   agreement, but I would hope that our legal department

 20   would be diligent enough to not give CDK a one-sided

 21   ability to approve anything.

 22       Q.     Is there anything that you could have said to

 23   Mr. Schaefer that would have given him the impression

 24   that you were strongly in favor of a public

 25   announcement about the agreement with CDK?



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  1       A.      I don't think so, but probably at this point

  2   I'm not far enough along in thinking about how the

  3   whole thing is going to wind down because again, as I

  4   have said before, I was around a lot in the beginning.

  5   There was a pile on my desk in the beginning, but once

  6   it got past the point there wasn't a pile on my desk

  7   anymore, I got other piles to work on.         At this point

  8   it's in the later stage of the whole situation.

  9          Q.   Right, but early on in the process is there

 10   anything you could have said to Mr. Schaefer that would

 11   have given him the impression that Reynolds wanted to

 12   be having a public statement about the agreement with

 13   CDK?

 14       A.      Well, I think that there's -- Bob Schaefer

 15   feels much more strongly about that than even I do.

 16   And quite possibly we might have had a conversation,

 17   but when it comes down to the final thing, CDK wanted

 18   so much means that automatically it's good for them and

 19   it's not good for us when you really in the cold, clear

 20   light of day and you think about it.         But prior to the

 21   cold, clear light of day, it's possible I have had

 22   conversations with -- and we thought that it might have

 23   been a good idea.       But when you really think about it,

 24   it's not.

 25          Q.   Let me ask you to take a look at CX 4273.



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  1   CX 4273 has Bates REYCID0675646.      It's entitled

  2   Settlement Agreement, and the subtitle is The Reynolds

  3   & Reynolds Company versus Superior Integrated

  4   Solutions, Inc., and then it gives the court that the

  5   settlement is in front of.

  6       A.   (Reviewing document.)

  7       Q.   Mr. Brockman, the document, the settlement

  8   agreement that I have shown you at CX 4273 on page 007

  9   of the document, it indicates that it was agreed to on

 10   the 5th day of March 2014.      And I guess my question is,

 11   is the settlement agreement the agreement you were

 12   referring to in CX 4036, which was your statement to

 13   the sales executives on July 14, 2014?

 14       A.   Yes, I believe that's the case.

 15       Q.   And you had mentioned in a prior answer that

 16   Mr. Batista ran a company called SIS.      And just for the

 17   record, SIS is the acronym for Superior Integrated

 18   Solutions, Inc.; is that correct?

 19       A.   Correct.

 20       Q.   What exactly was SIS doing with regard to its

 21   interactions with the Reynolds system?

 22       A.   It was one of the Japanese manufacturers, I

 23   think it was Subaru, had plans for building what I

 24   would call a wrapper around the DMS system so that the

 25   user interfaces would be exactly like Subaru wanted.



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  1   It would be Subaru-specific.         And what SIS had agreed

  2   to do involved really getting into our system in much

  3   greater detail than anybody else had ever attempted.

  4   And this settlement basically we thought we killed the

  5   snake here.    Unfortunately, we've not killed the snake.

  6            Next time around Phil Batista got really,

  7   really clever, because he was banned from the RCI

  8   system forever because -- as part of this settlement.

  9   But I mean, he created an absolute fraud.         He went out

 10   and had another company created that achieved RCI

 11   status and then he used them to collect all the data as

 12   opposed to him doing it directly in contravention of

 13   what he agreed to here and started selling an interface

 14   for a product called Darwin, which we touched on, I

 15   think, maybe perhaps the first day.

 16            And what Darwin is, is a system that competes

 17   in a way against DocuPad.     What it does is it handles

 18   presentation of products, aftersale products to the

 19   consumers.    And we mentioned the fact that its major

 20   drawback is it can't recompute the payments based upon

 21   what's either bought or decided not to buy as part of

 22   the aftersale process, extended warranties, all that

 23   manner of stuff.

 24            And wildly enough, he had gotten some fairly

 25   large Reynolds accounts to buy Darwin.        And we were



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  1   then our rights -- I mean, he clearly violated

  2   everything in the book, but we couldn't shut him down

  3   because of the nature of the customers that he already

  4   had, which were also our customers.          Had to shut the

  5   whole thing down.         So we entered into a new stand down

  6   agreement, and I think it's coming up sometime early

  7   next year where he stands down once again.          It's a

  8   miserable deal, and I hated to settle with him, but

  9   from a business standpoint, we were just compelled to.

 10          Q.   You didn't want to settle with him because that

 11   would mean he would get the benefit of the wind down

 12   period; is that correct?

 13       A.      Yeah.

 14          Q.   You said from a business standpoint, you had to

 15   settle with him?

 16       A.      Well, because of the relationships with our --

 17   his customers that's also a big customer of ours.

 18          Q.   Which customer was it, if you recall?

 19       A.      I'm sorry, I don't remember, but it was a

 20   significant customer.          And I think there was more than

 21   one.

 22          Q.   Was SIS accessing the Reynolds DMS in a way

 23   that was technologically different than the way, say,

 24   DMI, IntegraLink and Authenticom were accessing the

 25   system?



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  1       A.   It was different in some respects.        I can't

  2   tell you specifically what they were, but Phil is much

  3   smarter than the folks at CDK.        And my view of the

  4   situation, I was under the impression that it was a

  5   more sophisticated approach.

  6       Q.   I have seen in the documents the phrase "code

  7   on the box."    Are you familiar with that phrase?

  8       A.   Very much so.     It is very, very unpleasant as

  9   far as we are concerned.

 10       Q.   Would that be an accurate description of how

 11   SIS was accessing the Reynolds DMS?

 12       A.   I'm not clear as to exactly from a technical

 13   standpoint how that was done.         I would expect Bob

 14   Schaefer to know.

 15            MR. COHEN:    Mr. Abrahamsen, can we take our

 16   hourly break?

 17            MR. ABRAHAMSEN:     Yes.

 18            (A recess was taken.)

 19            BY MR. ABRAHAMSEN:

 20       Q.   So we were speaking before the break at

 21   CX 4273, which is the settlement agreement with SIS.

 22   Was SIS integrating other third-party apps on to the

 23   Reynolds system?      You mentioned the Subaru one, so

 24   referring to others than the Subaru one you mentioned.

 25       A.   I'm not aware that they were.        We had ample



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  1   evidence of Subaru.        More than enough.   So he could

  2   have been doing other ones that we would not know

  3   about.      We would have no practical way to understand

  4   what else he might be doing.

  5          Q.   Let me ask you to take a look at page 003 of

  6   CX 4273, and there's a paragraph, well Roman V, so like

  7   a V.     And I was looking at the first sentence of that

  8   long paragraph, and there's a first clause, and then

  9   the sentence continues after the parenthetical "SIS and

 10   Mr. Batista, on behalf of themselves and their

 11   employees and affiliates, covenant and agree not to

 12   integrate with, access or attempt to integrate with or

 13   access any Reynolds-brand DMS."

 14       A.      Now we think we've got him.

 15          Q.   So this is a prohibition on Mr. Batista and his

 16   company integrating on the Reynolds DMS?

 17       A.      Yes.

 18          Q.   And then the next sentence states, "SIS and

 19   Mr. Batista further covenant and agree not to sell,

 20   transfer or assign to any affiliate or third party any

 21   technology or know-how regarding integration with

 22   Reynolds-brand DMS."        And it goes on.    What is this

 23   prohibition aimed at?

 24       A.      The same that him accessing Reynolds DMSes, DMS

 25   systems in any way forever.



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  1       Q.   And what's the reference to third parties?

  2       A.   He won't assist third parties with technology

  3   or know-how.

  4       Q.   And what was the concern about technology and

  5   know-how with regard to third parties that you are

  6   trying to address in this paragraph?

  7       A.   We believed at that time and still do that Phil

  8   is very smart and he is technologically the most

  9   superior hacker, as far from a technology and knowledge

 10   standpoint, better than DMI and IntegraLink.

 11       Q.   And what third parties are you trying to

 12   address in this paragraph?

 13       A.   People that are doing the same thing or similar

 14   things that Phil Batista is doing, which we would like

 15   to think we were aware of all of them, but that's not

 16   necessarily the case.

 17       Q.   Then further down after there's a reference to

 18   paragraph 3.A.v, and the sentence states that the

 19   covenants set forth are not intended as a covenant not

 20   to compete but rather as a contractual restriction of

 21   access and attempted access intended to protect the

 22   operational and data security -- I'm sorry, yeah, data

 23   security integrity of the DMS         What is that a

 24   reference to?

 25       A.   I think that that is just stating further again



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  1   in a different way that he's not going to access

  2   Reynolds' DMS systems.       Whoever wrote this paragraph v

  3   made a very serious effort to contractually lay that

  4   down.    And again, we thought we had killed the snake,

  5   but we didn't.

  6       Q.     When you say "lay that down" in that answer,

  7   you mean lay down the prohibition about Mr. Batista

  8   accessing your DMS?

  9       A.     That's correct.

 10       Q.    And the next sentence says, "These covenants

 11   are intended to extend for the life of any Reynolds DMS

 12   product."    And that's just what you referenced in an

 13   earlier answer, that you wanted this to extend for as

 14   long as Reynolds was in the DMS business?

 15       A.    Correct.

 16       Q.    You mentioned in a prior answer that

 17   Mr. Batista sought access to the Reynolds DMS after

 18   this settlement agreement was reached, which was in

 19   2014.     What was the name of the entity that later tried

 20   to get access to the Reynolds DMS?

 21       A.     I don't remember the name of the entity which

 22   essentially was a straw entity, which is how he got

 23   access.    Basically that straw entity did all the

 24   accessing and fed him the data that he needed for the

 25   application that he was building.      We know what that



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  1   entity is, but I personally don't know the name of it.

  2       Q.   And is the entity you are referring to, is it

  3   gaining access to the Reynolds DMS through the same

  4   type of technique that SIS was using or is it going in

  5   through RCI?

  6       A.   It's my understanding that this straw entity

  7   had an RCI agreement and essentially used the power in

  8   that RCI agreement to do what Phil Batista wanted to

  9   get done.   And they did it and turned everything over

 10   to him on an ongoing basis the data that was required

 11   for the product that he had built, which is either this

 12   paragraph V is defective and the lawyer missed that

 13   point or there's a case of fraud and deception.         I

 14   believe it's a case of fraud and deception.

 15       Q.   Let me show you three exhibits.      These are the

 16   three contracts that were executed between CDK and

 17   Reynolds.   We'll go through them one at a time,

 18   obviously, but perhaps for the economy of time, we'll

 19   just put them all on the record now and then I'll ask

 20   my various questions about them as we go forward.

 21            MR. COHEN:    Then we'll have them all in front

 22   of him, sure.

 23            MR. ABRAHAMSEN:     And they are CX 4045, which is

 24   the Data Exchange Agreement; CX 4152, which is the 3PA

 25   Agreement; and Exhibit 4153 which is the Reynolds



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  1   Interface Agreement.

  2            CX 4152 has Bates REYREY0000091.      CX 4153 has

  3   REYREY0000025.   And CX 4045 has Bates REYREY0000012.

  4            BY MR. ABRAHAMSEN:

  5       Q.   Before we plunge into the actual words in the

  6   contracts, let me ask you a broader question.          Just

  7   could you state for the record what your role was with

  8   regard to these contracts.

  9       A.   Very minimal.

 10       Q.   Who was responsible for having these contracts

 11   come into being for Reynolds?

 12       A.   Bob Schaefer.

 13       Q.   Anyone else?

 14       A.   I don't know to what extent our legal

 15   department played in actually constructing the

 16   contracts.   Again

 17       Q.   I meant my question to kind of exclude the

 18   legal department.     I'm sorry, I should have made that

 19   more explicit.   And I intentionally cut you off.

 20            MR. COHEN:     Thank you.   I was listening and I

 21   was comfortable with Mr. Brockman's response, but I

 22   appreciate your safeguarding the privilege.       And the

 23   fact that he consults lawyers for legal contracts is

 24   hardly earth shattering.

 25            BY MR. ABRAHAMSEN:



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  1       Q.   But were there any other businesspeople

  2   involved in negotiating these contracts with CDK other

  3   than Mr. Schaefer?

  4       A.   Not that I'm aware.      Certainly all discussion I

  5   had about the subject was with Bob Schaefer.

  6       Q.   Let me ask you to take a look at CX 4152 and

  7   ask you to look at CX 4152-016.       I believe my questions

  8   will continue on.     We'll have the same questions for

  9   the next several pages.

 10            In the first part of the document, Section 1:

 11   List of Third Party Access Utilized, and then there's

 12   several entries.    Extract Inventory Vehicles - Batch,

 13   what is this part of the contract referring to?

 14       A.   This would be they keep vehicle inventories in

 15   a separate area inside their database, and the access

 16   would be to -- on a batch basis.      And by batch, that's

 17   when you have a program that runs that copies records

 18   from one file into another file, and it does it without

 19   benefit of any screen interaction.       That's why it's

 20   called batch.

 21       Q.   Is this part of the contract starting with

 22   CX 4152-016, are these Reynolds applications that are

 23   going to be integrated into the CDK DMS through 3PA?

 24       A.   I'm under the impression that these are records

 25   that will come out of 3PA and be used in a marketing



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  1   application in our marketing arm.

  2          Q.    And what is your marketing arm?

  3       A.       Naked Lime Marketing.

  4          Q.    So Naked Lime Marketing will get data from CDK

  5   DMSes through 3PA?

  6       A.       Yes.

  7          Q.    And could you just go through the next couple

  8   of pages and just tell us what the other applications

  9   are?        For instance, number 2 on CX 4152-017 appears to

 10   be Naked Lime Web.

 11       A.       I'm sorry, I'm not following where I'm supposed

 12   to be.

 13          Q.    CX 4152-017, there's a numbered paragraph in

 14   the middle of the page, number 2, Application Served.

 15       A.       Yes.

 16          Q.    What is Naked Lime Web?

 17       A.        That's where we have a service which creates

 18   and maintains the website for a dealership, which is a

 19   very important part of their marketing.

 20          Q.    And that would now be getting data through 3PA;

 21   is that correct?

 22       A.       Yeah.    Vehicle inventory data, that's correct.

 23          Q.    And flipping over to CX 4152-018, number 3 is

 24   toward the top of the page and it's talking about

 25   ReminderTRAX.         What is that?



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  1       A.   That is the service that prepares service

  2   reminder cards to be sent out to the consumers

  3   encouraging them to bring their vehicles in for

  4   50,000-mile service or winterizing or de-winterizing,

  5   that sort of thing.

  6       Q.   And after the contract is signed, ReminderTRAX

  7   would be getting data from CDK DMSes through 3PA; is

  8   that correct?

  9       A.   That's correct.

 10       Q.   Let me ask you to flip to the first page of the

 11   Exhibit CX 4152-001, and under Background in the second

 12   paragraph it says, Vendor provides its application

 13   programs" and then there's a parenthetical       as further

 14   described in section is 2 of Exhibit 3PA-B, including

 15   all subparts, the applications, close quote, to certain

 16   CDK clients.    So those are the Reynolds applications we

 17   were starting to look at a couple of questions ago; is

 18   that correct?

 19       A.   That's correct.

 20       Q.   Let me ask you to look at CX 4152-004, and

 21   actually it's paragraph E on that page.      And I'm going

 22   to ask you whether this paragraph prohibits Reynolds

 23   from using hostile integrators for its applications.

 24   And I draw your attention to the first -- well, there's

 25   a sentence ten lines down in subparagraph E



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  1             MR. COHEN:      I'm sorry, Dana, my assistant is

  2   bringing me something.

  3              (Discussion off the record.)

  4             BY MR. ABRAHAMSEN:

  5       Q.     I'm sorry, Mr. Brockman, I'm having difficulty

  6   asking you to turn your attention to the sentence I

  7   want to ask you about.         It's ten lines down in

  8   subparagraph E, and it begins, "Vendor agrees that it

  9   will not .

 10       A.     I'm sorry, I'm just not finding that.        I'm

 11   quite sure it's probably here, but this paragraph is a

 12   killer.

 13       Q.     I'm sorry.

 14       A.     Typically what I do when I'm faced with having

 15   to understand something like this is I get a copy in

 16   Word and I go back through and wherever I think I need

 17   new paragraph ought to start, I hit a return, and I end

 18   up with something that's about this long, but you can

 19   read it.

 20       Q.     It's ten lines down in subparagraph E.

 21       A.     Okay.

 22       Q.    And I'm not going to read -- it's a long

 23   paragraph and this is a long sentence.         I'll ask you to

 24   read that sentence and then answer my question, which

 25   is whether this sentence is stating that Reynolds



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  1   agrees not to use hostile integrators to get onto the

  2   CDK system.

  3       A.   Yes, I see and understand that provision.

  4       Q.   Is my statement correct that that provision

  5   prohibits Reynolds from hostilely integrating onto the

  6   CDK system?

  7       A.   Yes, that's correct.

  8       Q.   Let me ask you to take a look at the second

  9   exhibit in our series of three exhibits.       It's CX 4153.

 10   This is the Reynolds Interface Agreement.       I'm going to

 11   direct your attention to two provisions starting with

 12   definition 1.8 on CX 4153-002, Non-Approved Access.         Do

 13   you see that definition?

 14       A.   Yes.

 15       Q.   And is that definition a provision that is

 16   relevant to CDK getting direct or indirect access onto

 17   the Reynolds system for applications?

 18       A.   (Reviewing document.)

 19       Q.   Mr. Brockman, let me ask you to take a look at

 20   CX 4153-006.    The very first provision on that page is

 21   paragraph 2.5.3, Compliance With Certification.

 22       A.   I'm sorry, I'm a little bit lost.      Could you

 23   repeat the directions again.

 24       Q.   No problem.    CX 4153-006, at the very top of

 25   that page, the first provision, 2.5.3.



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  1       A.   Okay, I have got 2.5.3.

  2       Q.   Compliance With Certification.

  3       A.   Yes, I see that.

  4       Q.   Okay.     I'm looking at the second clause of the

  5   first sentence, "CDK acknowledges that any non-approved

  6   access and/or non-approved use is strictly prohibited

  7   and is considered a material breach of this RCI

  8   agreement."      Is this a prohibition on CDK using hostile

  9   integration to get onto the Reynolds system?

 10       A.   That's correct.      It's an anti-hacking

 11   provision.

 12       Q.   Let me ask you to turn to our third agreement,

 13   CX 4045, the Data Exchange Agreement.         I'm going to ask

 14   you -- you can take a look at any part of the agreement

 15   you care to.      I'm going to ask you questions about

 16   paragraph 4.5, which begins on the very bottom of

 17   CX 4045-004.

 18       A.   Okay.     I'm on the page 4 of 13.

 19       Q.   Yes.

 20       A.   Okay.

 21       Q.   It's paragraph 4.5.       It begins at the very

 22   bottom of that page, Prohibition on Knowledge Transfer

 23   and DMS Access.

 24       A.   Yes, I see and understand that.

 25       Q.   What is this paragraph intended to apply to?



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  1       A.   What it is, it is an anti-hacking provision.

  2   And it's pointed not at CDK, but at anybody that CDK

  3   might help or share information with.      That's my

  4   understanding.

  5       Q.   So when you say it's anti-hacking, what is

  6   the -- what was the fear that was being covered by this

  7   paragraph?

  8       A.   Well, what's happening in general with all

  9   these agreements is that Reynolds and CDK have agreed

 10   to provide RCI interfaces to each other under standard

 11   terms and conditions.      And what this specific provision

 12   is all about is that not only do we agree not to hack

 13   each other, to only use authorized interfaces, but to

 14   not help or assist or teach anybody else how to hack

 15   into CDK's systems or Reynolds' systems.       That's the

 16   whole thrust.

 17       Q.   So at this point does this paragraph, since it

 18   applies to CDK and Reynolds, is this an indication to

 19   you that CDK has moved away from its laissez-faire

 20   attitude and is now concerned about hackers getting

 21   into their system?

 22       A.   I hadn't thought about it in that light, but

 23   yeah, I believe that you could see it that way.

 24       Q.   Let me ask you to look at paragraph

 25   CX 4045-003, and I'm looking at paragraph 4.2,



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  1   Third-Party Communications.         And my only purpose in

  2   showing you this paragraph -- let me let you read the

  3   paragraph.       Then I'll propound my question.

  4       A.    4.2 is the one being referred to?

  5       Q.    Yes.

  6       A.    Yes.

  7       Q     We had spoken earlier about a provision that

  8   the parties entered into where they would each have to

  9   seek approval and gain approval from the other firm in

 10   order to issue press releases.          And I just thought I

 11   would show this to you, since we hadn't had the

 12   document in front of us at the time we were talking

 13   about, and ask you whether this is the provision that

 14   you understood me to be asking about when I asked you

 15   about whether the agreement contained such a provision.

 16       A.    I'm afraid I'm a little lost.        Could you

 17   reiterate?

 18       Q.    Could you look at 4.2, the last sentence.          It's

 19   a sentence that runs onto the next page, and it begins

 20   three lines up from the bottom of the page.         And it

 21   begins, "Prior to the dissemination of any written

 22   press releases or market communications by either

 23   party".   And I'm going to skip over to the end of the

 24   provision on the very top of 4045-004,          such press

 25   releases or market communications shall be tendered to



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  1   the other party for its review and approval."

  2       A.     Yes, I see that.

  3       Q.   Are you familiar with it?

  4       A.     Frankly, not.   These documents, I was not

  5   involved at all in their preparation.      I authorized

  6   them to be done so that the project could be finished

  7   and that we could get CDK to stop hacking into our

  8   systems.    But as far as the content and the details

  9   inside these contracts, I was not personally familiar

 10   with -- I was not involved at all in the drafting, and

 11   therefore, I can't claim or disclaim knowledge about

 12   any particular piece.      They got the job done.      The

 13   mission was accomplished.      And I look back on it as a

 14   successful effort.

 15       Q.     You know, just sitting back and not, you know,

 16   staring at this document, did you have an

 17   understanding -- this was signed in February of 2018.

 18   So did you have an understanding in the February of

 19   2015 time period that you had an agreement with CDK

 20   whereby you would both have to review, say, a press

 21   release before you put it out talking about the

 22   agreements that you had entered into?

 23       A.     Frankly, I was not thinking very much about

 24   that at all.     I had moved on mentally from this project

 25   at the time these documents were drafted.



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  1       Q.    Were there any press releases that Reynolds

  2   sent out about these agreements?

  3       A.    I'm sorry, I don't have any knowledge in that

  4   regard.    We may or may not have.     I don't know.

  5       Q.    And the same question for CDK.     Did CDK send

  6   out any press releases about the agreements?

  7       A.    I'm sorry, I don't know.

  8       Q.    Did you come to have an understanding during

  9   the time period leading up to these agreements whether

 10   CDK had a message that they wanted to communicate to

 11   the market about these agreements?

 12       A.    I'm sorry, I have no perception of even

 13   thinking about that.    I was on to the next project.

 14       Q.    Did you ever become aware of any exchanges of

 15   documents between Reynolds and CDK exploring whether to

 16   send communications to the Reynolds sales force?

 17       A.    I'm sorry, I'm not aware of any such thing.

 18   Again, I was not active in this process.       I had already

 19   moved on.

 20             (A recess was taken.)

 21             BY MR. ABRAHAMSEN:

 22       Q.    I would like to show -- Mr. Brockman, I would

 23   like to show you what we've marked as CX 4176 and ask

 24   you to take a look at it.      It's a new exhibit.     CX 4176

 25   has Bates REYCID0046837.       I would ask you to take a



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  1   look at it.       CX 4176 is an e-mail from Mr. Thornhill to

  2   Mr. Schaefer and Mr. Martin dated February 26, 2015.

  3   It's an e-mail with an attachment.

  4       A.     Yes.

  5       Q.     CX 4176 is entitled -- well, the subject matter

  6   of the cover e-mail, I should say, is Revised

  7   One-Pager - CDK.       Were you familiar with the drafting

  8   of this document?

  9       A.   Not at all.

 10       Q.   Have you seen this document before?

 11       A.     Frankly, not.     I don't believe I have.

 12       Q.   Putting aside the actual physical document

 13   itself, were you aware of any undertakings at Reynolds

 14   to draft up a document to -- so people could

 15   communicate to various audiences what the CDK/Reynolds

 16   agreement contained?

 17       A.     I don't believe that I was.        Again, this is now

 18   substantially after the whole project got done

 19   contractually, and I'm even further away from what's

 20   happening in this area.        All I know is that the general

 21   reports are, yep, it's working; yep, CDK is doing what

 22   they promised they would do.            And therefore, not a

 23   problem.    I'm on to the next subject.

 24       Q.     I appreciate that, and I'm just going to use

 25   the document sort of as a way to ask you questions, but



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  1   I'm appreciative of the fact that you haven't seen it.

  2   You are not familiar with it.           And I understand your

  3   explanation and I will try not to belabor this line of

  4   questioning, but I would like to ask you a couple

  5   questions based on the document even though you are not

  6   familiar with it.

  7       A.    Sure.

  8       Q.    I would ask you to turn to CX 4176-004.        And

  9   the first box on the page has in the far right-hand

 10   column Scenario: Media outlets find out about the

 11   CDK/Reynolds agreement.

 12       A.    Yes.

 13       Q.    To your knowledge, were the agreements ever the

 14   subject of a media inquiry?

 15       A.    I don't recall specifically other than I think

 16   that there was something.        But exactly how big it was

 17   and what all it contained, I don't remember if I ever

 18   saw it.

 19       Q.    Were you asked to give a statement to the

 20   media?

 21       A.    No.

 22       Q.    The response as indicated in this same box is

 23   that ensure CDK and Reynolds market message align.              Do

 24   you know what that's a reference to?

 25       A.    Other than what it says in that sentence, no.



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  1   It says what it says.         I agree that what it says was

  2   appropriate, but I had no more specific knowledge about

  3   it.

  4         Q.   Did you ever have any communications in this

  5   February 2015 time period with anyone at CDK about

  6   aligning the market messaging?

  7         A.   I don't believe so.

  8         Q.   Did you have any discussions with anyone at

  9   Reynolds about ensuring that the CDK and Reynolds

 10   market message aligned?

 11         A.   No, not that I recall.         And I'm sorry, but

 12   February 15th was -- February three years ago or four

 13   years ago was a hundred years ago as far as I'm

 14   concerned.

 15         Q.   The next bullet down says, "Access to DMS by

 16   dealers' DMS provider only."             Do you know what that's a

 17   reference to?

 18         A.   Okay, this is the second block down?

 19         Q.   The first block, second bullet down under

 20   Response.

 21         A.   Okay.    Yes, I see that.

 22         Q.   Is that a reference to the Reynolds position

 23   that only people who have an RCI agreement are allowed

 24   to access the Reynolds DMS?

 25         A.   That's correct.      That's in line with our



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  1   long-standing policy.

  2       Q.   Was it your understanding that the position at

  3   Reynolds was that if the media were to contact you,

  4   that they would ensure that CDK and Reynolds were

  5   aligned on that market message?

  6       A.   Again, I'm not clear exactly who was doing what

  7   here.    I don't disagree with what was being done, but

  8   it was, as far as I was concerned, it was

  9   administration-type kind of issues about a project that

 10   had already been done.

 11       Q.    This document is dated February 26, 2015.       My

 12   understanding is that the contracts were signed on

 13   February 18, 2015.    So this document is eight days

 14   after the contracts were signed.      But I wanted to ask

 15   you, you said that you had kind of finished with this

 16   project earlier.     Give me your best estimation of how

 17   much earlier before this February 2015 time period

 18   where you would consider yourself engaged in the

 19   negotiation of these contracts.

 20       A.   Unfortunately, I don't have a timeline of what

 21   happened when, but I believe that I was detaching as

 22   the final agreements were being drafted because the

 23   reports I got back from principally Bob Schaefer was

 24   all was in order, things were proceeding according to

 25   our expectations and that my input was not necessary



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  1   anymore.

  2       Q.     We looked earlier today at an e-mail exchange

  3   you had with Mr. Anenen which was sort of, I believe,

  4   in late June, early July of 2014.      So with that as a

  5   milepost and February of 2015 when the agreements were

  6   signed, can you give me any idea of where in that time

  7   period you became less engaged in the actual

  8   negotiations of the contracts?

  9       A.     I would say probably -- I would have periodic,

 10   not scheduled discussions with Bob Schaefer about

 11   what's going on.    And one of my questions would be were

 12   the contract negotiations reaching final stages.         So it

 13   would be whenever that was happening date-wise.         That

 14   would be when I was beginning to detach and move on to

 15   the next project.

 16       Q.     In terms of details about drafting the

 17   contracts, what issues were you engaged on in that time

 18   period after the July -- e-mails in July and the

 19   signing of the contract?      Were there issues that came

 20   to your attention that needed to be resolved?

 21       A.   Not that I recall.

 22       Q.     Where is your office located?

 23       A.     I live at home.

 24       Q.     I live at home too.

 25       A.     To describe how my life works is I get up in



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  1   the morning and I have a big blue bathrobe, terrycloth.

  2   I take the dog out for a walk.          I get a cup of coffee

  3   and some toast, I sit at my desk and the day commences.

  4   Much to my wife's unhappiness, many times noontime

  5   comes and I'm still in the terrycloth bathrobe.

  6         Q.   You'll be surprised to learn that was not

  7   exactly the information I was driving at, but I

  8   appreciate your answer.        My next question was going to

  9   be whether you worked in physical proximity with

 10   Mr. Schaefer.      That was the question I was going to get

 11   to.

 12         A.   He is in Dayton, Ohio.       I'm in Houston.    We

 13   communicate typically by Skype when necessary.            But he

 14   is a very experienced person, been around a long time,

 15   knows the waterfront, if you will.         So I don't have

 16   extensive communications with him.          From an

 17   organizational standpoint, I have 16 direct reports,

 18   which is not right, but it is.

 19         Q.   Is Mr. Schaefer a direct report?

 20         A.   Yes.

 21         Q.   So we obviously know from reading the documents

 22   that you do use e-mail to communicate with Mr. Schaefer

 23   and many other people.        And you said you use Skype.

 24   Any other forms of communication with Mr. Schaefer?

 25         A.   Occasionally there will be a telephone call



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  1   when he's not in a place where he can access Skype.

  2       Q.   So during this time period when the contracts

  3   were being negotiated and so on, give me an estimate of

  4   how frequently you are in contact with Mr. Schaefer

  5   with regard to these contracts.       And I'm sure it

  6   varied, but just give me an estimate.

  7       A.   Probably at that stage I would have been in

  8   contact with him once a week, once every ten days, two

  9   weeks.

 10       Q.   Let me ask you to refer back to the exhibit in

 11   front of you, CX 4176, and ask you to take a look at

 12   the first box on the top of CX 4176-005.

 13       A.   This is the top box?

 14       Q.   Yes, sir.

 15       A.   Yes.

 16       Q.   My first question is under Scenario, it says,

 17   "New third-party vendor contacts CDK."       How are

 18   third-party vendors dealt with in the contracts we

 19   looked at earlier?

 20       A.   Again, this was the orderly stand down period,

 21   and as I recall, they got an announcement from CDK or

 22   actually from DMI that they were no longer going to be

 23   offering their Reynolds and Reynolds hacking services

 24   and that they directed them on to us to talk about what

 25   they needed to have done.



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  1            And I think it's important to point out that in

  2   many or most cases, batch-type kind of data can be

  3   handled by the dealer.       They can run reports.     They can

  4   point those reports out to a PC and they can transmit

  5   them into their third party, and they get all the data

  6   and it works just fine.       The issue is that somebody has

  7   got to remember to do it every day.        It's not one of

  8   these things where you can just kind of set your watch

  9   and everything is going to happen hands-off.

 10            And I would think some fair number of third

 11   parties were really pretty small and they really could

 12   get at what they wanted as far as getting dealership

 13   data by having to dealer send it to them.

 14       Q.   Right.   My understanding is that for existing

 15   DMI clients, they would have the choice -- once the

 16   contracts were signed, they would have the choice of

 17   either going into the RCI program if they wanted to

 18   continue to get automated, the data in an automated

 19   fashion.    Or if they did not want to go to RCI, they

 20   could manually send the data.         Is my understanding

 21   accurate?

 22       A.     That's correct.

 23       Q.   And my understanding is that some chose to go

 24   into RCI and others chose not to go into RCI.          Is that

 25   your understanding?



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  1       A.      That is correct.

  2          Q.   Do you have any idea magnitude-wise how many

  3   chose to go into RCI rather than not go into RCI?

  4       A.      I don't have good information on that, but I do

  5   know that it was some number.           It was not just one or

  6   two.

  7          Q.   I'm sorry, some number that did what?

  8       A.      Some number that actually elected to start

  9   having their dealership customers print reports and

 10   transmit them to the third party as opposed to being on

 11   RCI.

 12          Q.   CX 4176-005 talks about a scenario where

 13   there's a new third-party vendor that contacts CDK.              I

 14   interpreted that as a new third-party vendor being a

 15   vendor that hadn't already been subject -- had not

 16   already been using DMI to integrate onto the Reynolds

 17   system.     Do you know whether the -- how the contracts

 18   dealt with the situation where a brand new vendor would

 19   go to CDK and ask for them to use their services?

 20       A.      I don't know how the contracts addressed that

 21   or if they addressed that, but I think what's stated

 22   here is what actually happened in that if some new

 23   third party shows up and wants to access data in

 24   Reynolds' DMS systems, what happened here was that if

 25   they talked to CDK, CDK forwarded them on over to us.



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  1       Q.   What was your interpretation of the reference

  2   in the fourth bullet which says "CDK and Reynolds agree

  3   on the benefits of the dealers' DMS vendor providing

  4   data"?

  5       A.   Well, I think it is what it says it is, that

  6   there are obvious advantages, one of which is that

  7   using an automated fashion that all the data that's

  8   supposed to be collected gets collected.       Again, the

  9   key to the dealership actually printing reports and

 10   transmitting them to the third party, it requires

 11   somebody that is diligent and will do it every day like

 12   they are supposed to or every week or every month.           And

 13   one of the benefits of an Rd -type contract is that

 14   personnel failure is removed from the equation.

 15       Q.   The third bullet down talks about DMI

 16   continuing to provide data cleansing, standardization

 17   and aggregation services.     Is that a reference to DMI

 18   providing a subset of services that do not include

 19   actually entering into the DMS, what you have referred

 20   to as hacking?

 21       A.   Yes, that's my understanding.     And what they do

 22   in those services I'm not aware of.      That's not a

 23   business that we pursued and therefore have had no

 24   occasion to come to understand what's included.         I

 25   think probably one of the obvious ones is a process



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  1   they call de-duplication.       You end up with duplicate

  2   pieces of data.     And they have to have some software, I

  3   think in some cases probably fairly sophisticated

  4   software, that detect the presence of dupes and

  5   actually have confidence enough where they can actually

  6   combine them where all that happens automatically.

  7         Q.   And does the third bullet saying that DMI will

  8   continue to provide those services read in conjunction

  9   with the fourth bullet that CDK and Reynolds agree on

 10   the benefits of the dealers' DMS vendor providing data,

 11   the recitation of the fact that CDK will be moving away

 12   from its laissez-faire approach to third-party

 13   integration on its DMS?

 14         A.   I'm afraid I'm missing the point.

 15              MR. ABRAHAMSEN:    Why don't you re-read the

 16   question, and then I'll probably end up rephrasing it.

 17              (The record was read as requested.)

 18              THE WITNESS:   Sitting here reading it today

 19   after the fact, I agree that it could be understood

 20   that way.     However, this particular document, I didn't

 21   draft it.     So I'm unfamiliar with it.     I haven't seen

 22   it.    I have seen it for the first time today.

 23              BY MR. ABRAHAMSEN:

 24         Q.   And I appreciate you hanging with me through

 25   these questions and letting me use that as a crutch to



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  1   ask you questions.     Let me ask you to take a look at

  2   CX 4182.    CX 4182 bears Bates REYCID0675485.

  3   Mr. Brockman, have you seen the document before?

  4       A.     I don't recall seeing this document ever

  5   before.

  6       Q.     It's entitled CDK Deal Information -

  7   February 2015.

  8              I would like you to turn to the third page of

  9   the exhibit, which is CX 4182-003, and ask you to take

 10   a look at the paragraphs -- there's two numbered

 11   paragraphs under the heading that's underlined Key

 12   Messages.

 13       A.     Yes, I see those.

 14       Q.     Then the first key message, I think we've

 15   talked about the first sentence, "Reynolds has long led

 16   the way in the battle on DMS security."       When you talk

 17   about DMS security, aside from keeping third party,

 18   what you refer to as, hackers off the system, what

 19   other security measures would you say Reynolds has led

 20   the way on?

 21       A.     Well, there's, for example, establishment of

 22   user ID records inside the DMS system.      One of the

 23   things that we did that I have not heard anybody else

 24   do it, since we also in most cases have the payroll

 25   information, what we do is we look at the user ID, and



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  1   before we declare it a valid employee, we go check the

  2   payroll file, which is kind of simple but you know,

  3   certainly a reasonable thing to do from a security

  4   standpoint.   And again, nobody else has done that that

  5   we know of.

  6       Q.   Would that help detect whether there is a

  7   third-party integrator getting a user ID and password

  8   from the DMS?

  9       A.   It would certainly detect them being provided a

 10   user ID and password.      There is -- I believe that

 11   software also double checks that there is not two

 12   people connected to a single user ID.      And again, the

 13   name and user ID has to be a name in the payroll file.

 14       Q.   So if somebody like Mr. Batista was given a

 15   user ID and a password by a dealer to run an app on

 16   their dealership's DMS, you would use that -- that

 17   software would allow you to detect that Brown Chevrolet

 18   does not have a Phil Batista as an employee?       Is that

 19   how it works?

 20       A.   Exactly.

 21       Q.   Let me ask you to look at -- and I appreciate

 22   I'm just using this document as a crutch to ask my

 23   questions because I know you haven't seen it and you

 24   didn't write it.     CX 4182-003 Key Messages sentence

 25   numbered paragraph 1, second sentence, and I'll read



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  1   it: "In doing so, other DMS providers are finally

  2   acknowledging that the fastest and correct way to move

  3   data between parties is to have the DMS push the data."

  4   Is the phrase "have the DMS push the data" a reference

  5   to what RCI does?

  6       A.     Yes.   RCI is typically, and it could be in all

  7   cases, set up to actually wake up and perform program

  8   instructions about what data to get, where to send it

  9   to, from which dealership.         And I think in some cases

 10   even the hour of the day is specified in the RCI

 11   program.

 12       Q.     The first clause in this sentence says "In

 13   doing so, other DMS providers are finally

 14   acknowledging".      What is the reference in your

 15   interpretation of the other DMS providers?

 16       A.     Other than what it says, other DMS providers.

 17       Q.     In this February 2015 time period, obviously

 18   you had -- we have been talking about CDK and its

 19   position on data security.         Were you aware of any DMS

 20   provider other than CDK, perhaps, that was

 21   acknowledging that the safest way to move data is to

 22   have the DMS push the data?

 23       A.     That would be the only one that I would be

 24   aware of.     Quite likely, some of the more minor DMS

 25   providers had also adopted it, but I'm not aware of



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  1   that.

  2       Q.   And the second numbered paragraph, the first

  3   sentence states, "CDK is finally acknowledging that

  4   they need to move forward with securing their DMS."

  5   And "securing their DMS" is underlined.         What is your

  6   interpretation of that?

  7       A.     That's our belief, that what they are doing is

  8   that they are migrating to what we have been doing all

  9   along.

 10       Q.     What you had been doing all along with regard

 11   to securing your DMS?

 12       A.     Yes.

 13       Q.   And would that include adopting a position

 14   where they would not permit third-party integrators to

 15   get onto their DMS?

 16       A.     Yes.

 17       Q.     The next paragraph down is entitled Important

 18   to Note.     It's underlined.      I would ask you to read the

 19   paragraph and then I'll ask my questions.

 20       A.     Yes.

 21       Q.   Let me give you my interpretation of what the

 22   paragraph is saying and then you correct me if I have

 23   misinterpreted it.       It seems like now that the

 24   contracts have been signed, CDK is going to provide

 25   Reynolds with the identification of its clients that



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  1   its integrating onto the Reynolds system.           And

  2   following that, once Reynolds receives those and is

  3   able to protect those, Reynolds is going to put out its

  4   security update, a new security update; is that

  5   correct?

  6       A.     Yes.

  7       Q.   And the second-to-last sentence ends with the

  8   clause "meaning a number of users will be broken."

  9   What is your interpretation of that?

 10       A.     Well, this goes back to the peaceful stand down

 11   process.    Prior to that we had notified CDK that we had

 12   a number of security changes that we had been holding

 13   off releasing, but if they didn't finally agree to get

 14   out of our boxes, quit hacking us, we were going to

 15   turn loose those security changes which were going to

 16   make basically all of CDK inoperative as far as

 17   extracting data out of Reynolds' machines.

 18              Well, once the contract was done, the agreement

 19   in the stand down was that it would be an orderly stand

 20   down and there would be no stand downs that would cause

 21   trouble, unhappiness on the part of dealers.              Well, in

 22   order to do that, we have to know who because we don't

 23   know who all the ADP customers are.            We don't know who

 24   all their third parties are.            So what we are talking

 25   about here is that if we don't get the names, then



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  1   what's going to happen is as we finally turn loose this

  2   next security update, there's going to be some people

  3   that won't work.

  4            And the fact that this even has to be said is

  5   kind of amazing because it is so clear that if you are

  6   not on the list, if we don't know that you are a CDK

  7   customer, certainly they will get the full force of the

  8   security changes that are impending.

  9       Q.   And then there's a reference in the next

 10   sentence that we will know immediately whether these

 11   parties are supposed to be broken or not.       And I

 12   interpret that to mean that you don't intend to disrupt

 13   the CDK clients but that if somebody is using an

 14   integrator that you are not protecting, they are

 15   supposed to be blocked.       Am I interpreting it

 16   correctly?

 17       A.   Absolutely correct.

 18       Q.   So --

 19       A.   And we have no knowledge as to how many, who,

 20   because an exploit that gets past or attempts to get

 21   past a security change, there's no way for us to know

 22   until we apply a security change and then somebody

 23   hollers.     That's when we know that there's somebody new

 24   that we didn't know about before.      And hopefully at

 25   this point there should not have been very much of



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  1   that, but we don't know.

  2          Q.    Well, so what happened?     At this point, as I

  3   understand it, you have -- you are protecting some SIS

  4   customers under their stand down, and you are

  5   protecting the CDK customers under their stand down,

  6   and then you put in the security change, as I

  7   understand it.       And so what happened?     Were there

  8   people who were disrupted?

  9       A.        The answer to that is I don't know of any.        I

 10   just don't know whether there were, whether there were

 11   not.        I do know that there was -- I don't recall any

 12   serious commotions.        Whatever it was, I don't think

 13   there were very many.

 14          Q.    So did there come to your attention any angry

 15   phone calls or letters or other forms of communication

 16   from people that were being disrupted as a result of

 17   your security enhancements after this March of 2015

 18   time period?

 19       A.       Not that I'm aware.     Of course, since then

 20   what's happened has been relatively quiet.            Not

 21   completely, but relatively.          Nothing major.   But as

 22   security changes go on, continue to get improved, I'm

 23   sure that we'll find more.          Where there is one hacker

 24   there, there are ten more behind them.

 25          Q.     Just so the record is clear, I followed your



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  1   answer to the question.     The question was very broad,

  2   so I'm going to break it down into two questions as

  3   between app providers and OEMs just so the record is

  4   clear about this.

  5            Following this March 2015 time period, were you

  6   contacted by any OEMs because they had had applications

  7   that they wanted to use that were disrupted?

  8       A.   Personally, I received no such contact.

  9   Whether or not someone else in the organization did,

 10   I'm not aware.   But I'm quite sure that I did not.

 11       Q.   And with regard to app providers in this time

 12   period following March of 2015, were you contacted by

 13   any app providers with regard to anger over disruption

 14   of their apps?

 15       A.   Not me personally.

 16       Q.   You mentioned in an earlier answer that, I

 17   forget the exact phrase you used, but you noted that

 18   CDK had had a number of CEOs or words to that effect.

 19   We have been speaking today and yesterday about

 20   Mr. Anenen.   Who are the other CEOs of CDK in addition

 21   to Mr. Anenen that you are aware of?

 22       A.   Mr. Anenen was the last true CEO because he is

 23   like a 37-year veteran of the business and probably the

 24   longest serving veteran CEO.         And probably I'm the only

 25   one that has got more than he.         I have got 49 years.



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  1              But I can't recite the names to you.      The most

  2   recent was a gentleman that was president of Intel.

  3   And he was dismissed from Intel for an inappropriate

  4   relationship.     And his new job is CEO of CDK.

  5              And there were two others besides him prior.

  6   And this is caused by the fact that CDK is controlled

  7   by a group of hedge funds.        Hedge funds, it's my

  8   understanding that they hold like 60 percent of the

  9   stock of CDK.     And they are very impatient for

 10   improvement in operations and the profits to be -- to

 11   come about inside CDK.       So therefore, they appear to be

 12   very quick on the trigger to turn over CEOs in seeking,

 13   you know, improved stock valuations so they can

 14   ultimately sell the stock that they hold today and make

 15   a profit and get on to the next deal.        I'm sure it's

 16   been disappointing to the hedge fund folks that it has

 17   not already been able to occur.

 18              And this is all a matter of public record and

 19   probably is the only part of CDK that I pay attention

 20   to.    I'm always curious as to who my counterpart is.

 21         Q.   So we went through some -- we talked about some

 22   conversations you had with Mr. Anenen.        Telephone

 23   conversations, I believe.       Did you also meet with him

 24   at NADA?

 25         A.   Briefly.   NADA is, you shake hands with old



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  1   friends and old enemies, but there's no serious

  2   conversation that takes place.         There's too much else

  3   going on.

  4       Q.   So you had serious conversations with

  5   Mr. Anenen over the phone, the ones we spoke about?

  6       A.   Yes.

  7       Q.   And did you have any conversations with

  8   Mr. Anenen after the contracts were signed that we

  9   looked at?

 10       A.   No.    As a matter of fact, the only interaction

 11   I have had with him is at the big national auto dealers

 12   association convention.       He was no longer with CDK, and

 13   he stopped past just to say hello.        He's a nice guy.

 14       Q.   To what extent have you had conversations with

 15   the CEOs at CDK who have followed Mr. Anenen?

 16       A.   None.

 17       Q.   You have never spoken with them on the phone?

 18       A.   No.     I don't exist as far as they are

 19   concerned.      Yes.   And I have not -- I got other things

 20   better to do than to seek out a conversation with them.

 21       Q.   And just to make sure the record is clear on

 22   this, have you had occasion to meet with them

 23   informally at an industry conference?

 24       A.   As far as I know, the answer is no.        However,

 25   what happens is that at NADA people kind of travel in



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  1   packs of two, three, four, five, six, seven, eight, ten

  2   people.     And they come by and I would not recognize

  3   them by face.       And they don't announce themselves.

  4   They don't have a sign on them that says I'm CEO of

  5   CDK.     So I may possibly have seen some but not

  6   understood who they were.

  7               (A recess was taken.)

  8               BY MR. ABRAHAMSEN:

  9          Q.   Mr. Brockman, we were talking yesterday, I

 10   believe it was, about how the OEMs need to certify a

 11   DMS provider in order for the DMS provider to have

 12   their franchise dealers as using the DMS.          Do you

 13   recall that?

 14       A.      Yes.

 15          Q.   And we talked about decertification as

 16   something that would be very, very bad for the DMS

 17   provider if an OEM were to do that.

 18       A.      Disastrous.

 19          Q.   Short of decertification, is there other things

 20   that OEMs can do to the DMS to sort of influence how a

 21   DMS undertakes certain policies?

 22       A.      Yes.   Probably one of the ones that we see the

 23   most often is -- and we'll say that Ford Motor Company

 24   has a new initiative regarding a service and how that's

 25   handled from a computer standpoint.         And what they do



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  1   is, they kind of separate it into multiple pieces.         And

  2   there will be mostly old pieces but then some new

  3   pieces.   And let's say that the new piece is a new

  4   interface where a dealership that uses the right DMS

  5   with the right certifications, they can type in a

  6   vehicle identification number and get an instant

  7   readback of all the warranty claims that's been made on

  8   that vehicle so that you can see if, say, for instance

  9   another dealership fixed something under warranty, but

 10   they really didn't fix it.      So you have the right to

 11   kick over to them and say, look, you guys fix it.

 12             Well, if you are not on the good guy list as a

 13   DMS provider, you may not get access to this special

 14   new facility that Ford is making available, which is

 15   very, very worthwhile and important to dealership

 16   customers.    So therefore, you are in the

 17   never-neverland where you are not decertified, but

 18   again you are not quite fully certified either.         And

 19   larger dealerships will be very, very sensitive to

 20   this, which is we have a lot of customers in that

 21   category.

 22             And so it even comes down to dates of approval.

 23   If we don't meet their schedule, their desired schedule

 24   as far as the creation of the additional facilities

 25   inside the factory communications, they'll say, okay,



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  1   you are late but we are still going to certify you, but

  2   we are not going to give you that until next March.

  3            That's dirty pool, but they are the guys.        And

  4   we end up having to work programmers nights and

  5   weekends to meet their crazy schedule as far as when

  6   something is supposed to be built, tested, implemented

  7   in the field by their by-god date.

  8       Q.   And I'm curious, you have mentioned several

  9   times in the last two days that you contemplated

 10   throwing the switch on CDK and blocking their apps,

 11   shutting them down.     Was there any concern that if,

 12   say, you shut down CDK because you didn't have an

 13   agreement with them and caused disruption to a lot of

 14   dealers' use of CDK, the products that CDK was

 15   integrating onto their DMSes, was there any fear that

 16   OEMs would be angered by this also, the dealers would

 17   complain to the OEMs and that the OEMs would take

 18   actions adverse to Reynolds because of the blockage

 19   that had taken place?

 20       A.   That's always a possibility.     But the hopes are

 21   in any kind of situation such as we went through CDK

 22   that cooler heads would prevail and a reasonable

 23   situation would occur as opposed to a disastrous one.

 24   And historically, that's always been the case.         Now,

 25   you can't say that's going to be that way on every



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  1   situation forever, but that's the opening expectation.

  2       Q.   And in this particular instance, you did reach

  3   an agreement with CDK, and the anger that would have

  4   been directed to the OEMs was avoided, presumably?

  5       A.     Correct.

  6       Q.   Let me ask you to take a look at an Exhibit

  7   CX 4038.    CX 4038 has Bates REYCID0577749.     It's an

  8   e-mail with three pages of attachments.       The subject

  9   line is 6240's.

 10       A.     Well, I conclude that we've got a senior vice

 11   president of sales that writes pretty good.

 12       Q.     What do you conclude that based on?

 13       A.     Well, short paragraphs, to begin with.

 14       Q.     You said vice president of sales, and you are

 15   referring to Keith Hill; is that correct?

 16       A.     Yes, that's correct.

 17       Q.   Have you seen this document before?

 18       A.   No, I have not.

 19       Q.     With your indulgence, I'm going to still use as

 20   an effort to ask you to interpret certain things in it.

 21   In his cover e-mail, he talks about some of the

 22   subjects we have been talking about in the last two

 23   days, data security, and he uses the phrase in the

 24   sentence "unattended automated access."

 25       A.     Yes.



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  1       Q.    How do you interpret that?

  2       A.    Well, there the dividing characteristic is

  3   unattended.   And the reason for that is and that's my

  4   interpretation from a liability standpoint is that if a

  5   dealer runs a report and then turns around and e-mails

  6   that to a third party, that's perfectly within his

  7   rights to do that, and there's nothing incorrect about

  8   that.    But it also means that if something goes wrong

  9   from a data breach standpoint, it's his problem.         It's

 10   not our problem.

 11             So the unattended access just crosses the line

 12   to what happens over and over again, and that's an

 13   unattended report will be set up and it will run, and

 14   it will run faithfully every day, every week, every

 15   month, and nobody knows it's running.      The actual

 16   running of an unattended batch job creating a data set

 17   that would be used outside the dealership, there's no

 18   scream of flashing lights that says we are now

 19   currently extracting payroll data.

 20             But the point is that if the dealer decides to

 21   extract data out of his system and then put it in his

 22   PC and transmit it to somebody, that's his problem.

 23   When it's automatic and we allow that to occur, all of

 24   a sudden we start getting our hands in the liability

 25   grease.



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  1       Q.   So firms like DMI, IntegraLink, they were doing

  2   unattended automated access to Reynolds' DMSes?

  3       A.   Correct.

  4       Q.   Is there -- I'm just trying to figure out in my

  5   mind whether unattended and automated are redundant.

  6   Can there be automated access to a DMS that doesn't

  7   inflict liability on Reynolds?

  8       A.   The only one that I can conceive of -- and this

  9   is a theoretical answer.     I don't know that it exists

 10   in real life would be vehicle data used to populate

 11   websites, because vehicle data we perceive to be --

 12   since it's available on every dealership's website to

 13   begin with, this is basically public data, and

 14   therefore -- but also it changes all the time.         So

 15   therefore, an automated unattended process for

 16   consolidating and transmitting vehicle inventory data,

 17   there is no liability associated with that.       But

 18   anything that has name, rank, serial number, you know,

 19   personal information, PII or NPPI, that has tremendous

 20   liabilities associated with that, the likes of which we

 21   have not begun to see.

 22       Q.   To your knowledge, did Reynolds send out

 23   talking points to the sales staff so that they would be

 24   able to address the security issues after contracts

 25   were signed?



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  1       A.      I think that's what this document is all about.

  2          Q.   Were you aware at the time -- this is sort of

  3   the March 2015 time period.          Were you aware that these

  4   instructions were being sent out to the sales staff?

  5       A.      No.    And I would have no occasion to be aware,

  6   because Keith Hill is a senior VP of sales.          He is an

  7   interesting person in that he was a mathematician, a

  8   math major in college, but he also was a high school

  9   football coach.        And so you have the personnel planning

 10   capability he has because, of course, high school

 11   football is all about that, deciding, you know, who can

 12   start, who can play, who does what position, who gets

 13   benched because of being unmannerly with a mathematics

 14   background which means that he understands computer

 15   systems.      While he's not a software person, he

 16   understands from a principle standpoint how the guts of

 17   the things are supposed to work.

 18          Q.   Is he a direct report to you?

 19       A.      Yes.    And I might add a very capable direct

 20   report.     As a result, I don't spend a lot of time with

 21   him.     My theory as far as personnel management is

 22   concerned is when they can do as good as I can do it, I

 23   need to let them do it.

 24          Q.   Let me ask you to flip to the second page of

 25   the exhibit, CX 4038-002.         And there's a series of hash



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  1   marks, and the last hash mark talks about DMI and

  2   IntegraLink, and the last sentence of that hash mark

  3   says,    They now see the risk inherent in facilitating

  4   unattended automated data extraction."      Do you

  5   interpret that as the risk inherent in the data being

  6   extracted and then getting into the wrong hands?

  7       A.   Yes.

  8       Q.    The bullet above that says "CDK and Reynolds

  9   have partnered together to push data securely.         Thus,

 10   85 percent of the market is now in agreement with our

 11   stance."   What do you interpret that to mean?

 12       A.   Well, I interpret that to mean that as

 13   knowledge of the availability of the 3PA program has

 14   now become pretty widespread, and it's now obvious that

 15   CDK has changed their feeling as far as data security

 16   is concerned to no longer be laissez-faire but to

 17   actually have a more secure policy.

 18       Q.   Do you interpret that to extend to both CDK

 19   agreeing to use RCI for its apps and also to restrict

 20   third-party integration on its own system?

 21       A.   I'm not focusing on what they do as far as

 22   their own system is concerned, but the fact that they

 23   understand our position and they are not going to try

 24   and hack us.

 25       Q.   Let me ask you to take a look at Exhibit



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  1   CX 4459.    CX 4459 bears Bates REYCID0186574.          This is

  2   an e-mail dated November 21, 2016 from Tommy Barras to

  3   Mr. Schaefer and Mr. Brockman.            Who is Mr. Barras?

  4       A.    He is an executive VP of software development.

  5       Q.     Is he a direct report to you?

  6       A.     Yes.

  7       Q.     Did he -- was he working at Reynolds when UCS

  8   acquired Reynolds?

  9       A.    No.     He is originally a UCSer.      He and I have

 10   worked together probably 48, 49 years.

 11       Q.    And he's been doing software development with

 12   you in that whole time period?

 13       A.     Yes.

 14       Q.     In the body of his e-mail to you at the top of

 15   the first page of CX 4459, the first word in the

 16   sentence is S-Y-S-C-H-E-C-K.            What is that?

 17       A.    Syscheck.     I hope you'll bear with me because

 18   some of the explanation of necessity has got to be a

 19   little technical.       The operating system that the DMS is

 20   built around is what's called a multi-user operating

 21   system.    And what that means is that if you have a

 22   system that has 100 PCs attached to it, each one of

 23   those is a separate user as far as the operating system

 24   is concerned.      And the operating system, to the extent

 25   that it is set up that way, can handle 100 different



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  1   users pretty much simultaneously.      Well, they are not

  2   exactly simultaneously.     They are kind of close.      Every

  3   minute of computer power that's available, it's used by

  4   many different users of the 100 that are out there.

  5            Now, that's really pretty cool except for the

  6   fact that people like in the accounting department that

  7   have big end-of-month reports they have to create,

  8   batch reports are very different in their usage

  9   characteristics.    If you have a terminal-based

 10   application, somebody that uses a terminal and then

 11   they won't, and that frees up computer power for all of

 12   the rest of the folks.     Even if you have five or six

 13   people, they are not -- each one of them isn't getting

 14   that big a bite of computer power.

 15            But in the accounting world, we have big batch

 16   programs that run at the end of the month.       Think of it

 17   like a machine gun.    They just load in this infinite

 18   supply of ammunition and they take the trigger down and

 19   it just goes with no break.      And what that does is you

 20   can actually -- not theoretically, but it actually

 21   happens in practice where the accounting department

 22   with six or seven users can suck up all the computer

 23   power, which means people that run terminal

 24   applications like parts invoices or service repair

 25   orders or service invoices, they have to wait.



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  1            And this is a logic issue that is a little hard

  2   to get around, but we devised Syscheck.      And what

  3   happens is Syscheck is a dipstick into the computer

  4   usage, and it knows -- you can dipstick and say, okay,

  5   it's 85 percent consumed or 90 percent or 50 percent,

  6   but when it gets up fairly high, and I would say

  7   probably 85 or 90, it's smart enough that it suspends

  8   the batch programs and lets the other 90 users in the

  9   pile, it will get their answers quickly.       Because the

 10   transaction base, what you hate is when you enter a

 11   bunch of data entry, hit the button and then you got to

 12   wait.

 13            And of course, what that then leads to is users

 14   accuse the DMS provider of a defective system, you are

 15   forcing us to buy a bigger computer.      And our only

 16   defense now, which is a pretty good defense, we turn on

 17   Syscheck and people that are wanting to do something,

 18   if the computer system is overloaded, they get a

 19   message on their screen that says, I'm sorry, the

 20   accounting department is doing you in.      Anyway, that's

 21   what Syscheck is all about.

 22       Q.   So what is the reference in that same sentence

 23   to the AUR exemption?

 24       A.   That one I'm having a little difficulty with

 25   what AUR is.   I think it had something to do with where



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  1   we basically shut down batch reports that are consuming

  2   computer time with the indication that if we want to

  3   run this thing, you've got to do it at night.

  4             Now, interestingly enough, all this sometimes

  5   results in a power play between departments in that the

  6   accounting folks will raise up and beat their chests

  7   and say you guys don't let us run our reports all day

  8   whenever we want to run, tough luck if payroll doesn't

  9   get run on time.   And everybody gets all shaky about

 10   that.    But that's the wrong answer.

 11             The right answer is that the transaction-based

 12   customers need to have as close as we can get to

 13   instant response time because those people are

 14   profit-producing people.       The dealership, finance

 15   managers, service managers, they need to have the

 16   capability to get their work done.      And the accounting

 17   folks need to wait.    And I don't publicize my feelings

 18   on that widely, but I mean, that's the truth.

 19             (A recess was taken.)

 20             BY MR. ABRAHAMSEN:

 21       Q.    Let me show you an exhibit we've marked as

 22   CX 4420 and ask you to take a look at it.       CX 4420 has

 23   Bates REYCID0186518.    The exhibit is an e-mail from

 24   Mr. Schaefer to Mr. Brockman in November 2016.         And the

 25   subject of the document is Stone Eagle Request For



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  1   Changes.    Mr. Brockman, who is Stone Eagle?

  2       A.   Stone Eagle is a third party that specializes

  3   in analysis of vehicle sales and more especially

  4   vehicle financing and aftermarket sales.        And they get

  5   information on car sales, quote, deals.        A deal is what

  6   we -- a term we use to apply to the facts of the whole

  7   transaction and the paperwork.         The whole transaction,

  8   which is kept in a file folder.        And that's what Stone

  9   Eagle wants from us in terms of interface that they

 10   want all the finance deals for a month.        And then they

 11   go run all their analysis programs and create nice bar

 12   charts and graphs and that sort of thing so that the

 13   dealership will understand how well they are doing in

 14   that area.    And specifically, they'll understand by

 15   person, by finance manager who is doing what as opposed

 16   to looking at the overall department and saying, yes,

 17   it's good or bad or whatever.         It's specific

 18   individuals.

 19       Q.     In the e-mail that's in the middle of the first

 20   page of this exhibit, there's an e-mail from

 21   Mr. Schaefer to you dated March 15, 2016, and the first

 22   sentence of the e-mail says, "Stone Eagle executes this

 23   process today using their interface."         What interface

 24   is being referred to in that sentence?

 25       A.   Stone Eagle has been a customer that's like an



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  1   RCI customer, but it predates that.        They are a very

  2   mature company.   They have been around a long time.

  3   And what's happening here is that we are saying, look,

  4   you got to go forward to the RCI process.        They don't

  5   particularly want to do that because it involves them

  6   getting involved with programming, creating a new

  7   interface from the data that they want.        Their old

  8   stuff, as far as they are concerned, works perfectly

  9   fine.   But we've said that the old process is dying.

 10   You got to go to the standard process.       And they are

 11   dragging their feet, frankly.        As a matter of fact,

 12   they were the worst that exhibited dragging their feet.

 13   They didn't say no.    They just couldn't get it done.

 14   We talked to them and they would give us a new

 15   anticipated deadline, and we would go away and come

 16   back when they missed the deadline.       And that had been

 17   going on for literally a couple of years.        Other than

 18   that, they are nice people.      They pay their bills.

 19   They are not complainers.

 20            And in this particular situation, they figured

 21   out that the RCI interface that we had prepared for

 22   them, they had left out the issue where there is a deal

 23   done on paperwork and electronically, but it got

 24   unwound.   In other words, it never actually happened,

 25   yet the data was all recorded.        And as far as the data



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  1   pull that was happening here, we looked like everything

  2   was just fine, but it turns out, out of the month there

  3   were six deals that didn't happen, which impact the

  4   numbers on the reports.

  5            And so we've got to do -- this one is called

  6   Deal Reversal Notification.       And it was one more thing

  7   we had to do before we could finally get them to move

  8   forward and completely get off the old interface and

  9   get onto Rd .

 10       Q.   In the footnote -- or I shouldn't say in the

 11   footnote.    There's a sentence in the e-mail in the

 12   middle of the first page of CX 4420 that says, "As a

 13   footnote, we've received the latest enhancements for

 14   Stone Eagle that allow us to replace the Stone Eagle

 15   hostile interface."     In what way was Stone Eagle a

 16   hostile interface?

 17       A.   That is a misnomer.      It's not a hostile

 18   interface.     It's like a hostile interface because its

 19   bandit is different, but it was not hostile in the fact

 20   that we definitely knew about it and condoned it,

 21   probably were even selling it as a service and charged

 22   them for it.    But again, it was an obsolete interface.

 23   It was less secure, and we wanted to move to RCI.

 24       Q.   How was it less secure?

 25       A.   I don't know the details.      I just know that it



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  1   was -- we were concerned that it was an oddball.

  2   Whenever things are oddball, nothing good comes out of

  3   that.

  4          Q.   Let me ask you to take a look at CX 4463.

  5   CX 4463 has Bates REYCID0265394.          It's an e-mail dated

  6   August 1, 2017 from Mr. Barras to Mr. Brockman on the

  7   top.     And it's a series of e-mails that follow.

  8       A.      Yes.

  9          Q.   Mr. Brockman, in the first e-mail in the

 10   exhibit, the top one -- the top one on the first page

 11   of CX 4463, the second paragraph states, "Stone Eagle

 12   exemptions go beyond Hendrick.           Third party has 100

 13   exemptions into our ERA systems."          What exemptions are

 14   being discussed here?

 15       A.      What's happening here is that the Stone Eagle

 16   interface process has been around for a long time.             It

 17   probably dates before my time at Reynolds.          And where

 18   they have a bypass around the security changes, and

 19   this is not desirable.         It's a hangover.   It's a

 20   cleanup.     And what's happening is Tommy Barras is

 21   telling me, look, it's worse than just the current

 22   Stone Eagle stuff.        There's a bunch of others with

 23   exceptions laying around out there.

 24               At this point we are getting more focused on

 25   we actually have reports now that list every kind of



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  1   exception that's in place.         And we give these

  2   exceptions or are really forced to give them from major

  3   customers.      For instance, here they are talking about

  4   Heritage is a very big customer, Crain, DARCARS is

  5   right here in D.C., and evidently we have some manner

  6   of exception for those folks where they are not on Rd .

  7   They are on something else that predates Rd .

  8               This is another example of the situation where

  9   we have power to block things, but there's also a cost.

 10   The cost is customer relations with major accounts.

 11          Q.   Right.   I mean, if you block them, they would

 12   possibly move to a different DMS system?

 13       A.      The noise would precede anything like that.

 14          Q.   What noise?

 15       A.      The customer just calling up and wearing

 16   everybody out.

 17          Q.   In the second sentence of the e-mail on the

 18   very top of the first page of the exhibit, it says,

 19   DSV, I think it's supposed to be         has   been talking

 20   about moving for years now.         No end in sight.      What's

 21   DSV?

 22       A.      Data services, I believe, is what that stands

 23   for.

 24          Q.   So this is a department within Reynolds?

 25       A.      Yeah, that reports to Bob Schaefer.      And what's



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                                                                   FTC-0000194

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                              Brockman
CDK Global & Reynolds and Reynolds                           9/19/2019

  1   happening is, and as Mr. Barras is being very pointed

  2   in his needling over the situation and quite properly

  3   so, the amount of things that we've had to clean up

  4   inside Reynolds has been huge.         And we've aggressively

  5   worked at that, but it's still not done yet.

  6             BY MR. LANNING:

  7       Q.    Mr. Brockman, talking about this idea of

  8   exemptions, were you in the habit or in the practice at

  9   Reynolds to give exemptions to certain customers that

 10   were using what you call hackers?

 11       A.    Yes.   And these would be large customers.

 12   Frankly, in a lot of cases pretty sophisticated folks.

 13       Q.    Like Hendrick?

 14       A.    Like Hendrick and Penske, you know, very, very

 15   large folks that have quite capable IT staffs on their

 16   own separate from the work we do for them.

 17             These are not lightly handed out.       I mean,

 18   particularly for an exemption for a very big customer,

 19   they got to come to me and I got to weigh the sales

 20   issues.    In accounts like this, there's some folks that

 21   are just kind of obstinate, and other folks, their

 22   excuse is, well, they are really busy.        And there's

 23   other folks that are the delay kind of folks: Well,

 24   yeah, we'll do that but we're really busy right now.

 25   We'll talk about it next summer and get it done that we



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  1   constantly have to follow up on.            Now we actually

  2   review our lists of exemptions now, which makes it a

  3   lot easier.       Before we had to do a lot of legwork to

  4   figure out who was doing what.

  5       Q.   So in essence, you're saying that for the large

  6   customers that might have those types of exemptions,

  7   they have to be approved by you?

  8       A.     Yeah.    And the number is steadily falling,

  9   especially now that we've got a list.

 10       Q.     Would Mr. Schaefer make recommendations to you

 11   about whether or not an exemption for a large customer

 12   should be given?

 13       A.     Yes.    I wouldn't necessarily follow that up.         I

 14   would talk to Keith Hill.

 15       Q.     I'm going to just ask you to go back to

 16   CX 4037.

 17            MR. COHEN:       Bill, could you just tell me what

 18   that was or where it was.

 19            MR. LANNING:       That's the September 11, 2014

 20   from Robert Schaefer to Bob.             It's the one-pager.

 21            MR. COHEN:       Okay.   Do you know how long ago you

 22   guys used it?

 23            MR. LANNING:       It was this morning.

 24            MR. COHEN:       Thank you.

 25            BY MR. LANNING:



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  1       Q.   Mr. Brockman, I would like to direct your

  2   attention to something we were talking about earlier

  3   today, which is if you go down near the bottom of the

  4   page where the little letter C is and it says,

  5   "Communication plan and marketing announcement" under

  6   number 4, do you see that?

  7       A.   Yes.

  8       Q.   And I believe when we talked about this earlier

  9   today, we were talking about the sentence that says,

 10   "How will the agreement be announced to the market --

 11   they need to get this identified and understood quickly

 12   due to the CDK global announcement."

 13       A.   Yes.

 14       Q.   Do you see that?

 15       A.   Um-hum.

 16       Q.   I believe it was your testimony, of course we

 17   can go back and read it, but you were saying that this

 18   was CDK's issue about the marketing and the

 19   communication; is that correct?

 20       A.   Yes.

 21       Q.   And my question to you, then, is what was CDK's

 22   concern about getting an agreement where you were going

 23   to either manage jointly a communication to the

 24   marketplace or that you were going to at least review

 25   this?



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                              Brockman
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  1       A.    Well, I think the issue is that they wanted to

  2   do what they wanted to do.      They would much prefer to

  3   actually have us agree to what they wanted to do, but I

  4   believe in the end we did not agree.      In this case

  5   here, they went ahead and did it or were going to do it

  6   anyway.

  7       Q.    But was there an expression of what their

  8   concern was about having this in relation to their

  9   announcement of going public?

 10       A.    Not that I recall.    There probably was, but I

 11   wasn't sensitive enough to remember.

 12       Q.    And was it related in any way about a concern

 13   that Reynolds might make an announcement about the

 14   agreement that CDK didn't like?

 15       A.    Well, I think probably that was part of it

 16   because if we made the announcement the way we would

 17   like, it would be very, very damaging to them.

 18   Truthful, but it would be damaging.

 19       Q.    What do you mean?    What would this statement

 20   say that might be truthful and damaging to them?

 21       A.    Well, the truthful statement would be that they

 22   had been hacking into our systems for many years and

 23   quite a large number of systems.     And I'm sure that

 24   would have caused telephones to ring at CDK with

 25   customers calling, was I one of the ones, that sort of



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                                                                FTC-0000198

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  1   thing.

  2       Q.   Was there also an element to it that Reynolds

  3   might take the tack competitively that we were right

  4   all along on security and now that you are joining us?

  5       A.   I don't know what they were thinking about, but

  6   that's one of the things they could have been thinking

  7   about.

  8       Q.   So did you discuss this with Mr. Schaefer?

  9       A.   Not that I recall.

 10       Q.   Was there any discussion that CDK did not in

 11   advance of its going public want to announce that they

 12   were changing their position on being open or closed?

 13       A.   Again, I'm not aware of anything like that.

 14       Q.   I have just two more questions on another

 15   document, which is CX 4273.

 16            MR. COHEN:     Would you mind telling us what that

 17   is again?

 18            MR. LANNING:     The SIS settlement.

 19            BY MR. LANNING:

 20       Q.   Could you please turn to CX 4273-003 and go

 21   down to V, section V or numeral 5 that starts with the

 22   exception of the wind down period for SIS.       Do you see

 23   that?

 24       A.   Yes.

 25       Q.   I just had one question here.     If you go to the



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  1   sentence that's about midway down, and it says,         For

  2   the avoidance of doubt, the covenants set forth in this

  3   paragraph 3(a) (v) are not intended as a covenant not to

  4   compete."    Do you see those?

  5       A.    Yes.

  6       Q.    I guess I'm curious, why was this put in the

  7   SIS agreement?

  8       A.    Well, I would like to be helpful, but frankly,

  9   I don't know because I wasn't part of the crafting of

 10   these documents.     And just looking at it today, it

 11   looks to me like it was -- an attorney wanted to put in

 12   some sort of blanket statement.

 13       Q.    Were you competing with SIS at this time?

 14       A.    SIS is a data extractor where they in bandit

 15   mode go into a system.       We don't do that.   We've never

 16   done that and therefore, we don't compete with them.

 17   They have that market all to themselves.

 18       Q.    That's why I was curious about why the language

 19   was in there.     If you are not competing with them, why

 20   are you concerned about it being construed as a

 21   covenant not to compete?

 22       A.    I have no idea.

 23             MR. LANNING:    Thank you very much.    That's it

 24   for me.

 25             MR. COHEN:    Mr. Brockman, you do have a right



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                                                                FTC-0000200

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  1   to clarify any testimony that you have given over the

  2   past two days.     Do you have any clarifications to make?

  3              THE WITNESS:   No.

  4            MR. ABRAHAMSEN:        Then we will adjourn today's

  5   session.    We will keep the record open.      And everybody

  6   can go to lunch.

  7              (Whereupon, the proceedings at 1:08 p.m., were

  8   adjourned.)

  9

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                                                                FTC-0000201

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                     CERTIFICATE OF REPORTER



3

              I, Deborah Wehr, do hereby certify that the

     foregoing proceedings were taken by me in stenotype and

6    thereafter reduced to typewriting under my supervision;

     that I am neither counsel for, related to, nor employed

     by any of the parties to the action in which these

9    proceeding-s were taken; and further, that I am not

     relative or employee of any attorney or counsel

     employed by the parties hereto, nor financially or

12   otherwise interested in the outcome of the action_

13




16

7

8                              Notary Priblic

19



21

22

23




                                                            FTC-0000202

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Gov. Ex. 34
                                                                                                                    Page I of I


                Brockman, Bob
                       . .                                                     ..„.. ........ .....
                From:           Welch, Peter[pwelchri•NADA.org]
                Sent:      •    Friday, November 08, 2013 1:44 PM
                To:            'Robert Schaefer; Bob Brockman (bob_brockman@reyrey.com);forrestmcconnell@gmail.com;
                               Miller, Bradley; O'Neill, Finbarr
                Subject: '      NADA/Reynolds Data Meeting
                Attachments: Agenda - RR 11-13-13.docx
               Gentlemen:

                         As I discussed with Bob Schaefer this afternoon, I will unfortunately not be able to attend next
                Wednesday's meeting in Dayton. The Consumer Financial Protection Bureau has abruptly decided to hold an
               "Auto Finance Forum" next Thursday in D.C. and my presence at that event is necessary together with lots of
                preparation. However, the meeting will go forward with Forrest McConnell (our Chairman-Elect) Brad Miller
               (from our Regulatory Affairs Dept.) and Fin O'Neill (our outside consultant) representing NADA. I have attached
                a proposed agenda and invite any of you to added any additional items. It's my understanding that the meeting
                will commence at 8:00 a.m. Please confirm the start time and also let all of us know by return email the precise
                location of the meeting and who our contact person should be when our team arrives.

                      Thanks again for your time on this issue and if you have any questions, I can be reach at the below
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                                                                                                      GOVERNMENT                   CX4468-001
                                                                                                        EXHIBIT

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                                                                                                       No. 34
                                                                                                                                       FTC-0000472

                                                           Ex. 34, p. 1 of 30
                                                              NATIONAL AUTOMOBILE DEALERS ASSOCIATION
                                                              51400 Wegipark Drive - McLean. Virginia 22102
                                                              7021021-7040 v 702:021-704-1




                  Memo

                             To:        NADA Members

                              From: NADA Legal and Regulatory Affairs

                             Date: August 28,2013

                             Re:        Dealer Data Guidance— Sample Service Provider Contract Language



                          Dealers collect a large volume ofinfOrination fmin)their eustomers in their dayeto-day
                 operations with much ofthat intbrnation eategorized under federal law as higJaly sensitive "non-
                  public perseriel information" or "NPPI." What information is NPPI is a complicated topic, but
                 generally spe.akieg, NPPI is any personal information ihrit a dealer collects abotit an individual in
                 connection with providing a finarieial pmduet or service, that is not otherwise "publicly
                 available." This vould Include intbrimation auch AS that contained on an individual's credit
                 application or credit report,2 but it could also include any information that identifies that
                 'individual as having financed or leased a vehicle, such as APR,down payment, or monthly
                 payment.'

                         This is important because the information's status as NPPI means that the dealer is
                 subject to several obligations under federal law to protect and maintain its privacy. Even
                 customer information that does not rise to the level of NPPI can be sensitive to the consumer and
                 the dealer and thus should he protected closely by dealers. In addition, this customer infermation
                 has tremendous commercial value to the dealer altd COUld be deemed to be a trade secret under
                 state law, Ofcourse, this data has value to other as well and,as a result there arc a numar of
                 entities who wish to gain access to the data.

                        This customer data is generally stored in the dealer DMS and related computer systems,
                 along with a great deal of other sensitive financial data about the dealership and its employees.
                 In today's world of online commerce, dealers, like many other small businesses, rely on a
                 number ofthird party service providers to store the data or provide technical or other services

                  See, e.g., ai&,. Sk skivi     kl:t114'iMleenOMIXgi
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                 For moreuo finaace use icasc Iderottiors"'sod why they arc NPPI,see"A Dealer Cuide So the Privacy ituie arid the Model
                Privacy Notice"

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                                                                   Ex. 34, p. 2 of 30
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               that require access to certain data in the dealer DMS. The result is that this customer and other
               sensitive data (together "Dealer Data")raises difficult and sensitive issues for dealers that they
               must understand when they enter into contracts that could allow access to Dealer Data,

                      The basic problem is the inherent conflict between,on the one hand,the need to provide
               access to manufacturers, vendors, and other third parties who legitimately require access to
               portions ofthe Dealer Data so that they can provide a service to the dealer, and, on the other
               hand, the dealer's regulatory duties regarding the Dealer Data, as well as their legitimate
               business interests in the Dealer Data.

                       To properly manage this conflict, dealers must(1) understand the issues at stake;(2)
               understand who is seeking to access their Dealer Data, and why;(3)control and monitor that
               access, and (4)ensure that the contracts governing that access address the relevant issues and
               contain the appropriate language to protect dealers' business interests and regulatory
               responsibilities.

                        This memo dees         and is not intended to, prmdtie 1       ke.,wr adviceobultte
               fiesittess 1.410:5Iaalearrers' mulor or ether control:ft Instead,it LS intended to Ititt4ilit4t
               ?mperel reetirrink Issues in contracts implicetinz necess o DaT4fer Dul'rtt unettheferfgrgt
               reptintory issuesraised bp Mem, Dealers utuSt otatet Wilt their owls counsel with reseset to
                   contradek, Ivaas ellfetierfli.Oates and lucid refultuerP uhlietelelts•
                        The 45!niatery Requirements

                       Details about the underlying regulatory requirements are complex and largely outside the
               scope of this memo. Dealers should review the numerous dealer guides available
               at www.nridetinivssrsity.coin covering the relevant federal regulatory issues including the GLB
               Safeguards Rule, GLB Privacy Rule and Model Privacy Notice, the Affiliate Sharing and
               Marketing Rules, as well as telemarketing and other guides for more details about the various
               rules affected by sharing or allowing access to Dealer Data, and associated issues potentially
               implicated by certain types ofservice provider contracts.

                       However, given the need to understand at least the basic issues at stake in order to grasp
               the MtplisAlirstis of certain exastractual provisions, koo ;$, mirw that destlers' ilsOics with respeo
               to Dealer Data are governed by two primary federal teguislioni,' - the &regards Rule and the
               Privasiy Rule,/ Broadly speaking,the Saleguanis Rule requires dealerS to take terttin
               procedural and technical steps to ensure that certain customer data is protected from inadvertent
               disclosure or other access by third parties(such as theft, hacking, etc.) who could then use the.
               information to steal an individual's identity or otherwise harm the consumer. Similarly, the
               Privacy Rule is intended to protect consumers' financial privacy and prohibits dealers from
               sharing NPPI with any third party unless(1)an exception applies, or(2)they first provide the
               customer with a privacy notice and allow the customer the chance to opt out. Dealers must also
               provide their customers with a notice informing the =stoma of thin'inibrmation sharing,
               practices.d As a praetkal matter the overwhelming majority ofdosets p•ovide it tastier:. that

                These are the shorthand names for two regulatory provisions under the Gramm-Leach-Bliley Act("GLB"),.

                112.,FTC's Model Privacy Notice ir dudes all the required notices in one form.


                                       DEALER DATA MEMO— NOT WENDED AS LEDAL ADVICE




CONFIDENTIAL                                                                                                             REYCI00568118
                                                                                                                        CX4468-003




                                                                                                                            FTC-0000474

                                                           Ex. 34, p. 3 of 30
                  Page 3
                  iitattm that they
                                  do NOT share NPPI with any Mini parties.? Of course, this means that dealers
                  must- honor the proirtint not to share the customers' data.

                        611 irOp         IS,51.1C; W nutlet's:triad is that the Fre may consider any third party 'access" to
                  NPPI to be lilt.tquivalma of'sharing."2 In other words,ifa third party has access(via rat
                 oompnter at:1%-o* or otherwise)to Nfin -ca- Quota'access it., you may be deemed (or at least
                 --Mend)to have'share that data even ifthe third party n"vcr -tetttallv rice-sAcs oblat15,'
                 prof:gas**, or reties upon thetiater!

                              "Service Providers"

                         Another importantissue:you must underritaud lertoth ib Serfegliarcis and Privacy
                 Rule for the purposes(if u1i alefiltt::t that of.tite"serviee provldor..” The federal reg,tdations
                 contemplate.that entities will useithe setirims of third Psrties, and may need to share or-otherwise
                 expose. NPPl• to those third party storit4 provider& Section 313.]3 ofthe Privacy: ROC:,contains
                 one ofthe"exceptions" mentioned abOve, and allows a.dealer to share l\IPPI witiv4 service
                 provider withottt providing the refanired opt-out oppontialty                aittive, * bet‘ori):.{,f;roe
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                provisiOrk ci services direetly to a{dealer sublect to the.Rniel:" nis definition would imiude
                third party vendors including DMS providers, and in some circumstances could also include your
                manuftmarer.


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               '9 You must still provide the privacy notice, and ifappropriate. that notice mei cask:Irma that you share with SerSifsS reraviders.

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                                                                                                                                                                                           FTC-0000475

                                                                                  Ex. 34, p. 4 of 30
                Page I 4
                        The Problem

                        The primary issue under these federal regulations generally arises because ofa disconnect
                between the duties dealers have and the promises they may have made to their customers, and
                the demands for access to Dealer Data sought by third parties. While every situation is
                different, the basic issue can arise in one of several ways. For example:

                    (l) The dealer wishes to engage the services ofa third party service provider that requires
                        access to Dealer Data to perform the service, but fails to ensure that the appropriate
                        contractual provisions and other restrictions are placed on the service provider with
                        respect to Dealer Data.

                   (2) A manufacturer establishes a marketing or other "program" that either directly or
                       utilizing the services of a third party service provider requires dealers to allow access to
                      Dealer Data, and the dealer either fails to ensure, or is prevented by the manufacturer(or
                       its service provider)from ensuring that the appropriate contractual provisions and other
                       restrictions are placed on the service provider.

               In either event, the result is often that Dealer Data, potentially including NPPI, could be
               "accosstd"or"accussi')V" to ne third l. rty vezdor,and the dealer runs thal risk of vtolating its
               Priv    'otrepr•En ise 10 its <,ustomerN, its Safeguards ftule               -5yeAl as r.)terztial
               violations endr.-4 ,-"ayfr ripjural takv..13

                       Unfortunately, these scenarios do occur. While the duties and responsibilities are the
                same, a dealer's response to each scenario is likely to be somewhat different. In the first
                scenario, a dealer must be vigilant in policing and negotiating their contracts to ensure that the
                required contractual provisions are included in all service provider vendor contracts, There area
                number of other contractual provisions that, while perhaps not required, may be worthy of
                consideration by the dealer and its attorney in the vendor agreement. We discuss some ofthose
                provisions below.

                        The second scenario often presents more difficult issues for dealers because these
                manufaaturer "programs" art generally presented by the manufactilrer to tile dealer as, for all
                intents and purpoims, requirements'4 This means that dealers may in many cases have more
                limited ability to police and amend these contracts to ensure they are protected adequately
                against regulatory and other risks. While some contractual protections may be optional, it is


                    n addiljon, in aTeliRriM   aciateg ViDlOti011a of the.Privaey end Sefeznarda Rule% the FTC will also generally allege a
                vitgation of Seulion 5 of ale FTC Act on the ba9is 532i a failure to abide by the, P;iYacy Notes promiaus and the lb lanai La
                rotintain adaqoats sarel.s.oards is "untise sad/or "doeuplive." the, ex, 4 meant FTC action hzultgbt apinsE a dealer, allegiug such
                yks',ationE

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               an; your eurapany.spen;fte "Du-Not-Calr lit[under federal telerristkeiing regulations. Ma resoll; access to phone numbarr, or
               email adelress,,,s,even if era N PP% raise naique and potentially dill-inal? concerns,

               '4 Fee example, dealers may he tuld that i[air "paztteipation" in a paltioular program la required to qualify ka- certain incentive or
                other pro8rara payments, or that participation is required cedar the dealer frananise sgreament.

                                          DEALER OATA IMMO NOT INTENDED AS LEGAL ADVICE




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                                                              Ex. 34, p. 5 of 30
                 Page 5
                 important to remember that dealers should not.agree to provide access to NPPI,eettt in these
                 manUfacturer programs, mviolatiOn oftheir Safegtiards and Privacy Kole.responsibilities.

                          Thik,aric4m Mat unlediS their Privacy NoteeSState otherwise,' dealers:Inv not provide.
                ineetntili:NPRI to an waitejogiudiner, their manufavivrer, unless they do so in-tiontteplie.a with
                contract(a)pursuant to Yi.`Flich the manufacturer is providing it service. to the dealer that requires
                access to the NPP), rd(b.) that contains the required contractual provisions tor hnitos one•Tof the:
                other exceptions to tile Privacy.ttule applies). NADA utiderstands Mal this can Putt dealers-irk a
                diffic tilt, if not untenable position. However. it is vitally important, fer teaters and
                manufeeturers alike(and ultimately The* your cinitiartlers).thatthete crintracnial.plotectiotts be
                              \,hth the -dealer is tiltireatelY.tesponsiOlefor protecting and stto.,A5tingprOtt4ted
                data, regulators and plaintifflawyers arc-not rikey n                m kg}kirtg to the rizarzufhower
                should a problem arise.

                          1..;inder both scenarios it is often cortuum for the contracting party to subetiotract some or
                the kvegIrk;. that is, to use another third party to either aid in preirieling;tir tO actually previdelht
                Service. ilSelf, For example,ifa third party requires atxY.As to the dealer DM'S to provide stra4e4si
                     dealer related to their vehicle inventory, they may use aQ01Itor entity 40 actually hocrtiaee
                With the denier'S-DMS and "estraci" the ittventorY data that they need, This is irriporlant to
                &Index-Stand because if you do riot ask yOli may noteven*aware that this third party is. IR your
                DMS.system." And of taturse, ir itey hoe 8000$$ed:yegr data;and art not bound by the
                required tint:true:twit restrictions to only take what they require, and not10 store,. use or share the-
                data, the this can create regtilatory compliance and other problems for the dealer (and the
                Service provider and,br manufacturer).

                        Remember as well that under hoth scenarios,thethird.party(and all sithcontraetors)snust
                also actually be Melding the dearer wviea amf the data that Ann, aeeeso must he required to
                provide thatSerVice That meiSSIS that you cannot allow aecess to \l ll.inst because a
                atanufaeturer requests it For example, you cannot share any information that would identify a
                customer as a lease or finance customer in a retail delivery report to your manufacturer, unless
                the manufacturer has a legitimate business need- ter that information to process the transaction on
                behalf ofthe customer(a lease ilwmotive for exempleYs

                       It also means that you cannot grant access to NPPI or other sensitive data if it is not
                required to provide service you have contracted for. For example, ifthe service provider is
                providing a service to your parts department that requires access to parts data in your DMS,you
                generally cannot allow them to have access to your sales records(unless for some reason this
                information is required to provide the service), This means that you mud to (1) understand


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                regerdiesa   the VallAlt Of:heir, Privee)

               '6 See the NADA L3eater Guido to the Priveey Rule aid the Mallet Privacy Notice far more.

                u It is allo importalii to tiRd.crsiand as pert of you obiteatiersIa oxrdsict dee diligunee hi ueleeitag service provider,

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                                          DEALER DATA MEMO — NOT MITE-MED AS-LEGAL ADVICE




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                                                                 Ex. 34, p. 6 of 30
                Page I 6
                exactly what data a service provider needs to provide the service, and (2)take the appropriate
                technical steps to ensure that their access is limited to that data and that data only. Remember, it
                is not only the data they actually take, but the data they could lake(have access to), that you
                must control. You should also audit and monitor their access to ensure they are not in breach of
                the contractual restrictions.I9

                           COPtrnct Prinetsiona

                        As discussed above,dealers must include the required Sal'eguards and Privacy Rule
                provisions in all vendor Contracts.20 Attathed at Exhibit A are several possible sample contract
                provisions you may want to incinde in your Service provider contracts to meat the reqi.nrentents
                under the Safeguards and Privacy itules:   1 While every WI/lee pnavider vendor contract is
                                                           '
                different, several other issues tend to arise in many ofthese contracts, and dealers should
                consider addressing them in their third-party service provider contracts. For example:

                   (1) Restrietions On non-contracti thirti.paties. As discussed above, ifthe contracting
                service provider uses the services of another third party and that third party has access ofany
                kind to any ofto your Dealer Data, you should ensure via contract that the subcontracting third
                party also meets the same Safeguards and Privacy Rules restrictions you placed on the
                contracting party. Without a direct contractual relationship with these third parties, their access
                could nullify the careful steps you have taken to protect yourself with respect to access by the
                service provider. There are several ways to accomplish this. One potential approach would be to
                oxproaly list the subeontinating third parties in the Safeguards and Privaey Aide provisions and
               ,-cqiiiring the contracting party nwartant that any third partial with aceess will met those
                contractual requirements.

                   (2)genuirement turev We-reports of data'acemed. Given the technical compiexity of
                some of these issues, and the leek ofvbibiitty deitiOrS May have in these Precesses, yoe may also
                want to consider asking the service provider via contract to provide you with a list of(I)all data
                fields that they actually extracted from the DMS or other system, and(2)all data fields they had
                access to, based on their password. This second issue is potentially more difficult, but
                remember that ifthey have access to the data, there is potential regulatory risk for the dealer,
                even if the vendor never actually obtained or accessed that data. You may want to consider
                including audit rights that would allow yoe W wntinnVao miorts from the vendor rite
                feasibility and utility ofthis tvpc of provisitm may he tietertnined in large part by the capabilities
                ofyour DMS or other systems. You should work with your vendors to determine the best way to
                gather this data.




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                                                                 Ex. 34, p. 7 of 30
                 Page 7
                    (3)_DAM breach provieorts. Another issue Mat dealers may Is,ant to consider in any
                op:anent with a service provider that implicates actimsto Dealer Datai$ the issue ofa state law
               "Iloto breach,- Almost all states have Itial3'mach statutc that, broadly speaking requires a
                dealer to notify their custiniters irk= is * -data b1X1Ich" itivo!ving:thim customer's palatal
                inibrresation. Thc..state law definitions vary, hut basically a "breace is deemed to have occur:al
                anytime;there i$ unauthorized access to the data(e.g. a hat.  ,king.ineident)or ifthe dealer to$Os
                einem/ of the date (e.g. 4 lost laptop or phone containing persona} information.) It is iniportarit
                   AM& £,1 reW things aboutthase.statutes,(again broadly speaking because.they a v u :(a)
                                                                                                                  that
                the data does WI 41c1ually haw to he zicettssecl orused iinproperly, "loss orcannel" is all that is
                !teeded (thatis why lost iaPlopis are the most common types ofdata breeches);(b) that -personal
                informatiorr am be much more broadly tie-fined than NPPt under federal 14W.(e,g: CA wheree
                mune and a .zip code, may be enottg.11),, and:(e)that in mostewes a dealer cars avoid the duty to
                malty if tho data is."enerypied„?' lt is not alelayo plearly defined in the state sausstat What
               "encrypted- means, howewi•you should nevertheless Consider regaling that the service provider
               '%vicr,vpr any data that is accessed, transmitted,or in any otherformat where you or they could
               lose Ontrol' or that data, it rs cruelal that you -wort with your ecransel to determine your state
                arid loeal law in this area tund ail others adtiressed in M/s memo). V011 31taY *Q1110 c'tiMiSitiet
                provision that addresses who is rairsonsible forcotes/111r notification and related duties(arid
               erm-W in the event us' breath and you may also want to consider requiring the data to be
               encopted;22

                   (4) Rettularorts isstes Where serlhze proAded isfnk in- lad. fthe service provider
                requires aceess to. yew- Dealer Data i iorder to provide marketing services you;a (1111111>ef of
                other regtnatory equimmenis einild arise, and you sinntlideost.sider whether to address them in
                the contract. For eXampie!


                       a. if the services include e-mail marketing services, issues could arise under CAN SPAM
                         (governing email marketing);
                       b. ifthe services itrValee photo tails or text3110moges,the l'ederal telemarketing rules (the
                          TCPA and the Telentarketing Sah,19 RtliO);zoutcl be implicated,and;
                       c• d thc. savicos include"seputatisto nianagetnenr or ether 5Urvices related to Social
                          media or customer comments or review, the FTC Guide to Endorsements or
                          Testimonials and related disclosure duties could also be implicated.

                Again,these-issues artf,'IttiOtie    scol..*.e or this memo,hut it is obViQu$ly Important in ritract
                hnplitating city of them resteral duties to NVOrk with your attorney to ensuve.that you ne.
               proteeledn tlit event a vo1anon of-these or other related duties, For example,i rthe vendor is
               Making telemarketing tells on your be.hall, who is responsible toe ensuring "ijo,Noticall"-
               -eeingliitnee? 1-fow will you enstire.that the vendor honors your companypeolfic "rxi,NO.Cali"
               fiat Cr year GAN SPAM "opt-our list? At the end ofthe day:it is the dealer who faces the
               regulatory risk from non-asnalionas by the service provider. As a result, it is important again
               that you weirk with your weasel ot make sere you criderstelid the seope ofthe services to be
                performed, and that you -work with the service preN.Wet to ensure eompliattee.



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                                                               Ex. 34, p. 8 of 30
               Page 8
                  (5) Liceese Greet Generally these vendor and manufacturer service provider agreements
               will also contain a requirement that the dealer grettt the vendor or manufaCturer a iiteElSO to the
               Dealer Data.23 Dealers and their counsel should carefully coeseder the Implications obey such
               grant, and in particular, lithe scope ofthe license grant exceeds the Safeguards or Privacy Rule
               restrictions, it could create regulatory risk for the dealer. In other words, if you have the
               appropriate Safeguards and Privacy Rule provisions that limit access only to what is needed to
               provide the service, but the agreement ;also contains a broad license grant that allows aezes.s to
               non-nee sary NPPI, it could be probletnatitee4 In some eases, a lice= teae'hejnatifieleic, but
               dealers should be careful to ensure that it is needed,and ifso, whether the scope ofany such
               license is appropriate.

                 (6) Deserjetion (sfthe ServicesiGiell Service Provideleekeres=, You may want to
               consider explicitly stating in the contract(a)the services that are to be provided pursuant to the
               agreement;(b)that the vendor is a "service provider" pursuant to GLB,and(c)the data fields the
               vendor needs to take(and have access to)to provide the services.

                          De ter Data "Cheekiest'

                        These arejust some ofthe issues that routinely appear in service provider contracts. Of
                course there may he ether:S.', od dealer must work with their counsel and internal compliance
               :staffto ensure no; only ;hat their contracts contain the required protuctions, but that the
                dealership's practiaas arid procedures also adequately proteet dealer data, Its addition to the
                regtdatory duties impoeed,under the Safeguards Rule,Exhibit If contains a non-exhaustive list of
                practical and other steps that dealers should consider taking with re peel vendor L'aintxtuts and to
                Dealer Data more guatinaly.. Marty ofthese POint--5 raise a number ofcomplicated inkii0g, and as
                always dealers should work with their attorneys, consultants, IT staff, and vendors to work
                through and understand the issues presented.

                      The bottom line is that Dealer Data is sensitive, important, and valuable. You must have
                 good undp,rgandiug of tOva you taw., what the rules are, who has aems(including any
               intermediaries who are not parties #0 {ha contract), end who is in torttroi or these issues at your
               store.




                                              vendor vsernonta if:W*1u IltSi nAly .%Ctt:W:f%ey broad tioeosa grants, be .1:-MT pownsions
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                                                             Ex. 34, p. 9 of 30
                                             all' it Pt- Sample Service Provider Contract Provislorti:25

                 Here are several possible examples you could 115o tu ensure that you have the contractual
                 lariguage reqUired under the Safrz‘gdards arid PrivacV Rules in your 4011traCI.Si ViAtil Mnrice
                 providers, some pro ViSiOnSui these examplestnay not be appmpriate in every circumstarsci
                 Thew 4an and should be torribined or otherwise 3r:edified as apprOpriate cansutt with kgar
                 counsel about oppropriate itraguage to use for your dealership:


                6L0 Service Provider Provision: (Example)
                 Dealer26 and Service Provider acknowledges that this contract constitutes a service provider
                 agreement between Service Provider and Dealer subject to the Gramm-Leach-Bliley Act, 15
                 U.S.C. § 6801, at seq.("GIB Act") and its implementing regulations. Service Provider warrants
                 and represents that access to certain customer information is required to provide the services
                 pursuant to this Agreement ("Service?), and agrees that it will only access that customer or
                 other data from Dealer's computer system(s)that it is authorized to access and that is required
                 to provide those Services.


                Safeauards —Rem/tree/es describer/ahem (Examples)

                1. Service Provider agrees to protect and secure any and all customer and other data It receives
                or obtains in any way from Dealer pursuant to this Agreement as required under all applicable
                privacy and data security laws, and to implement and maintain physical, electronic, and
                procedural safeguards as provided by Dealer from time to time in Dealer's sole discretion,27 or
                of which Service Provider is aware or should reasonably be aware of. Such safeguards shall, at
                a minimum, comply with applicable federal,state and local laws and regulations. The foregoing
                shall apply to all of Service Contractor's employees, as well as any subcontractors, affiliates, or
                other third parties with legitimate access to information and data relating to Dealer or Dealer's
                customers pursuant to this Agreement("Authorized Third Parties").


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                                                                 Ex. 34, p. 10 of 30
               2. Service Provider represents and warrants to Dealer that Service Provider(and any
               subcontractors, affiliates, or other third parties with legitimate access to information and data
               relating to Dealer's customers pursuant to this Agreement("Authorized Third Parties"))
               presently maintains, and will continue to maintain and periodically test the efficacy of,
               appropriate information security programs and measures designed to ensure the security and
               confidentiality of"Customer Information"(as defined in 16 CFR § 314.2(b)). Such information
               security programs and measures shall include, at a minimum, appropriate procedures designed
               to (1) protect the security and confidentiality of such information,(2) protect against
               anticipated threats or hazards to the security or integrity of such information, and (3) protect
               against unauthorized access to or use of such information that could result in substantial harm
               or inconvenience to any customer of Dealer. Dealer, its representatives and applicable
               governmental regulators may,from time to time, also audit the security programs and
               measures implemented by Service Provider pursuant to this Section, and Service Provider shall
               not impose any fees or charges on Dealer or its representatives in connection with any such
               a udit.


               Privacy Rule — Required as described above: (Examples)
               1.Access to NPPi riot required to provide the Service:
               Service Provider understands and agrees that it only has permission under this Agreement to
               access and use that data that is required to provide the Services; those data fields are listed at
               Exhibit      In no event will Service Provider access, store, share, disclose, or use any nonpublic
               personal information (as that term is defined under the Gramm-Leach-Bliley Act)from Dealer.
               Service Provider also agrees not to access, enhance, sell, store, share, disclose, distribute,
               create derivate works from, or use any data accessed from Dealer's DMS or other computer
               system or otherwise received from Dealer ("Dealer Data")for any reason, except as necessary
               to provide the Services, and only as long as required to provide the Services to Dealer. Service
               Provider has no ownership or other rights in the Dealer Data, and may not use Dealer Data in
               any form to append, trigger, update, enhance, or enrich its own data or data service or any
               third party data service. Dealer, its representatives and applicable governmental regulators
               may,from time to time, also audit the data accessed by Service Provider pursuant to this
               Agreement and the use of that data, and Service Provider shall not impose any fees or charges
               on Dealer or its representatives in connection with any such audit. The foregoing shall apply to
               all of Service Contractor's employees, as well as any subcontractors, affiliates, or other third
               parties with legitimate access to information and data relating to Dealer's customers pursuant
               to this Agreement("Authorized Third Parties").


               2. Crain access to rtIPP1 rettuirFA Jo provide the 5etvic9:
               Service Provider agrees to only access and use that data that is required to provide the Services,
               and agrees not to access, store, share, disclose, or use nonpublic personal information (as that
               term is defined under the Gramm-Leach-Bliley Act) received from Dealer except as necessary to
               provide the Services. Service Provider also agrees not to access, enhance,sell, store, share,

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                                               Ex. 34, p. 11 of 30
                disclose, distribute, create derivate works from, or use any data accessed from Dealer's DMS or
                other computer system or otherwise received from Dealer("Dealer Data")for any reason,
                except as necessary and for the time necessary to provide the Services. Service Provider has
                no Ownership Or other rights in the Dealer Data and sheit net use Dealer Data in any form to
                append, trigger', tn-date,eri fance, or enrich its own data or data service or env third perfy data
                service. 'Service Provider 3gr.:Kes not to „Stfare the password re' other access to Dealer Ssisterns
                with any other patty not spek:iiit-dify tartlined in this Agreernent and upon terrinnation of this
                Agreement agrees that it will no longer access any Dealer Systems or Dealer Data, and to return
                and/or destroy the password. Dealer, its representatives and applicable governmental
                regulators may,from time to time, also audit the data accessed by Service Provider pursuant to
                thi5 Agremera and the use of that data,and Service Provider shall not Impose arty fees or
                charges on Dealer or its representatives in connet:tioo with any such audit, The foregoing shall
                apply to all of Service Cootractor`s employees, as well as ;My subcontractors, affiliates, or other
                third parties with legitimate access to information and data relating to Dealer's customers
                pursuant to this Agreement("Authorized Third Parties").


               Third Party Subcont              tor (Example)

               Service Provider warrants and represents that it will:(a) only engage the services of a
               subcontractor, affiliate, or other third party in connection with its provision of services pursuant
               to this Agreement("Authorized Third Party") if required to provide the Services;(b) exercise the
                requisite due diligence in selecting any Authorized Third Parties to ensure that the Authorized
               Third Parties can and will safeguard any customer or other information in their care;(c) require
               any Authorized Third Parties by contract,to abide by Subsections          [insert Safeguards Rule
               subsection],      [insert Privacy Rule subsection],28    [insert Confidentiality subsection]29,and
               any other relevant provisions of this Agreement;(d) specify by contract that all Authorized
               Third Parties shall have no license or any other proprietary or intellectual property rights in the
               Dealer Data pursuant to their agreements with Service Provider;(e) ensure that the Authorized
               Third Party does not access, enhance, sell, store, share, disclose, distribute, create derivate
               works from, or use any Dealer Data in any way except as required under this Agreement;(e)
               provide a list of all Authorized Third Parties (explaining data accessed by each and explanation
               of role) to Dealer for approval, and seek prior written approval from Dealer before altering or
               adding to that list, and;(e) require Authorized Third Parties to ensure that any Dealer Data that
               m ust be transmitted or stored as part of the Service is transmitted in an encrypted fashion, and
               in accordance with applicable industry security standards.




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                                         DEALER DATA MEMO— NOT INTENDED AS LEGAL ADVICE




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                                                               Ex. 34, p. 12 of 30
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               HECK WHEN COMPIMO

                           Know and understand who is in your systems and what they have access to:
                             - Both employees and any third parties
                                 Review access to your DMS any and all CRM databases, your websites, etc.
                                    • Work with your vendors to determine
                                     • Don't forget CRM or other(non-DMS) databases
                                            • Could contain NPPI-(e.g., online credit applications) or other
                                                sensitive information
                                    • Websites
                                            • What Dealer Data is being accessed by third parties from your
                                                website?3°
                                            • Work with your website provider to ensure protections against
                                                scraping /other data collection are in place.
                                 Require third parties with access to provide written list of data they have access
                                 to and what they have "taken."
                             - Work with your DMS provider to ensure proper controls and reporting
                                 Review all current and future contracts for required language
                                     • Understand what they need and why
                                     • As discussed above, you MUST limit this via contract
                                    • Audit/confirm/run reports/hold them accountable/and document!
                             - Remember that even if it is not NPPI
                                     • You still must maintain security
                                            • Customer relations issues
                                            • Employee issues
                                            • Non GLB regulatory duties
                                     • It has tremendous value
                                     • Trade secret implications

               [ii          U nderstand and control remote access issues
                                - Mobile devices raise tremendous data access and data breach concerns
                                   Limit access
                                   Control devices
                               - Work with your counsel and DMS and other vendors to address the policy,
                                   security, and business implications of mobile device access.
                                - Remote access from employees "home" computers
                                      • Also raises complicated data security, breach, trade secret and other
                                           issues
                                               • How do you control access/copying/sharing?
                                               • P2P implications? (see below)

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                 serve•ct               NPPI. For example, ilym.4,':,-Eiv,T14,                  w_nmig$                                i:tk. motion you
                                                                                                            credit appliv.,45:1,,,, any,
                 gather during that process via cookies is NPPI.

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                                                               Ex. 34, p. 13 of 30
                          Consider implementing a strict data "push" system for sharing data
                             — This means that you would only share data with third parties by gathering it, and
                                sending it to them, rather than allowing them to "take" it by accessing your
                                systems.
                                    • Allows you to have control over what data is shared
                                    • Prevents concerns regarding access to data
                                    • Provides audit trail of sharing
                             — Work with your DMS provider to set up
                             — If no/limited IT staff or expertise, consider a vendor to help.

                          Implement password/access controls
                                Who has authority to grant access to the DMS,and what level of access?
                             - Centralize control over password access.
                                        More than one person with ability to grant password access? Why?
                                    • If one person,then better control over access
                                           • less likely to be abused
                                           • easier to document/demonstrate compliance
                                At the least, you must know who has a password and who is using it.
                                    • Work with your DMS provider to monitor and audit.
                             — Address Affiliate Marketing and Sharing issues via password.
                                   • See NADA Guide on this complicated but important topic.
                                Prohibit employees from sharing passwords.
                             — Require regular changes to passwords.
                                Require employees to use "stronger" passwords for any access to sensitive data.


               0°         Understand "P2P"
                             — "P2P" refers to "Peer-to-Peer" networks. Go here for
                                more:        husinemftc.gov/docurfiF?ntSd)US45-Vee: Dt'cTi L-
                                business
                             — Have a policy and train your employees.
                             — Consider prohibiting access to P2P sites.

                n.       Consider buiefits0- :;egregating your data
                            — fly rnanixfacturer31
                            — "Sensitive" from "non-sensitive"
                            — Either physically (different servers/systems) or by password


               El.       Consider the use of "dummy" or "plant" customers in your DMS




               "It has been imported to NADA that whether duo to limitations in the DMS systems themselves,or because ofthe way the dealer
               utilizes the system, dealers are sometimes unable to limit access by manufacturer. For example,a dealer who is a retailer of
               multiple makes For multiple manufacturers, may not be able to grant AMC=(legitimately, pursuant to an mcooption to the Privacy
               Rule)to a manufacturer to only that manufacturer's customers. This creates a potential problem for the reasons described above.

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                                                           Ex. 34, p. 14 of 30
                             Put a false customer in your DMS database with a physical and email address you
                             can monitor. Then test what, if any, marketing information comes to that
                             "customer."
                             Can provide good insight into who may be accessing your data without your
                             knowledge.

                      Understand your "Do-Not-Calr and CAN SPAM opt out procedures
                            Are your company-specific opt-out/"do-not-call" lists in place and updated?
                               • Ensure that you do not share phone numbers or emails on your lists
                         - How do you control third party access to phone numbers or email?

                      Work with OEMs and others to limit exposure
                        — Find the right person at your OEM and maintain open communication

                      Understand privacy implications of your social media efforts
                            Do you gather any customer information via social media?
                               • May not be NPPI, but sensitive from customer relations perspective
                         - Do you have any interaction with customer comments/dealership reviews?
                               • Understand the FTC Guidelines on Endorsements and Testimonials.
                        - Do you engage the services of a "reputation management" vendor?
                               • Understand exactly what they are doing, what they have access to.

                      Confirm that your Privacy Notice is accurate!
                             If you share with service providers, you must properly disclose.
                                 • Note that this is separate from the sharing/opt-out requirement
                             Use the Model Privacy Notice form
                             Review "A Dealer Guide to the Privacy Rule and Model Privacy Notice"
                                 • At ws.im,nadaiiniversitv-c0rn
                                 • Make sure you are properly using the model notice form

                      Understand and meet your Affiliate Sharing and Marketing requirements
                            Applies if you have multiple legal entities (LLC, c corp. etc.)
                        - Raises complicated and potentially difficult issues
                         - Requires you to limit access to /use of customer data between affiliated entities
                            Review NADA Guides/ consult with your attorney

               See here for more details:

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                                                                                                               CX4468-015




                                                                                                                   FTC-0000486

                                               Ex. 34, p. 15 of 30
    Workman, Ron
    From:               Bob Brockman Ibob_brockman@reyrey.com]
    Sent                Sunday,June 10,2007 9:00 PM
    To:                 Workman, Ron; Anenen,Steve; robnalley@universalcomputersys.com;'Agan, Dan'
    Subject:            ADP 070610 Initial reply.doc

    Attachments:        ADP 070610 Initial reply.doc




    ADP 070610 InMal
      mly.doC(.-

    Ron,

    My apologies for not replying sooner.

    Things remain quite busy in Dayton where I was all of last week. It was not until this
    weekend that I had sufficient quiet time to analyze the materials that you sent.

    Please see the attached thoughts regarding our mutual opportunities.

    As I said in our initial meeting on the subject at NADA, I believe that there some
    attractive opportunities here that in the longer term can be quite significant.



    Bob Brockman

    Cc Steve Anenen, Rob Nalley, Dan Agan




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                                                                                                     CX2250-001




                                                                                                         FTC-0000297

                                         Ex. 34, p. 16 of 30
             ADP — REYNOLDS & REYNOLDS PARTNERSHIP OPTIONS

             General Comment

             Some of the documents that you sent are somewhat confusing in that they seem
             to infer the jointly owned entity sells products/services back to each of us to
             market on our own.

             My understanding is exactly the reverse of this. We provide services to the
             jointly owned entity that then in turn sells products/services to third parties.

             Credit Submission and Electronic Contracting

             This project would entail both companies FM systems creating electronic
             contracts using the Silanis approach. The principal revenue opportunity would
             come from creating a Registry that would hopefully become the industry standard
             for electronic chattel retail auto finance contracts. There would be a custodial
             charge per contract and a transaction charge per contract.

             The ability to have our F&I systems transmit the content of completed retail
             finance contracts both in image form and in text string form to the various lenders
             should also be worth something.

             Given the patent position of DealerTrack, it is less clear that there is an
             opportunity to do the one-to-many credit application process that they do.
             However there is no barrier to doing one-to-one credit applications.

             Whatever further insight you have on the credit application business would be
             appreciated.

             For this opportunity I would favor option 2 for the following reasons:

            -no ccirporate double taxation issues
            -revenue and profits gets split between the partners based upon their
            participation
            -any losses during start up are able to be offset against income in our main
            corporations

             Route One

            From what I understand there may be a current opportunity revolving around
            Route One.

            If we were to enhance our F&I systems in such a way that facilitated the business
            of Route One, they might be willing to give us a share in the transaction revenue.




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                                                                                                        FTC-0000298

                                            Ex. 34, p. 17 of 30
             They are obviously in a competitive position vs. DealerTrack and therefore might
             be willing to do this.

             By combining forces in the partnership entity described above, we might be able
             to convince Route One that this was a good idea.

             Data Services

             This business is defined as the service of extracting data from dealership
             systems for third parties such as mailing services and manufacturers. I do not
             envision this business to be involved in the two-way integration that we both do
             with other third party software system providers such as CRM or F&I packages.

             ADP would contribute the DMI business to this Newco entity along with its
             technology for accessing DMS systems via modem.

             Reynolds would contribute to this Newco entity its technology for accessing ERA
             and POWER systems plus all of its current contracts for providing these services
             to third parties.

             There would likely be some valuation issues involved in doing this.

             Newco would then be the provider of extraction/collection of data from both our
             DMS products to all third parties.

             For this opportunity I believe that option 3 is most appropriate for the following
             reasons:

             -ADP can be given sufficient control to allow them to report the sales revenue
             which prevents a loss of the revenue ADP currently reports from DMI

             -this revenue allocation is conditioned upon an effective split of the profits based
             upon the amount of data collected from our respective DMS customers




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                                                                                                        FTC-0000299

                                          Ex. 34, p. 18 of 30
                      Data A      menl

                      BacktIround
                      -unattended remote access to Reynolds systems is going to cease

                      -major issue is data security of personal information

                      -secondary issue is data security of business information — "True Car"

                      Revnold Certified Interface

                      -RdI program governs exactly what data is extracted, when, and what it is to be
                      used for

                      -charges are based upon the complexity, volume, frequency

                      -the data goes to single entity for use with a specific product or service that they
                      provide

                      -the data cannot go to a 3rd party that in turn resells the data to other third par-ties
                      as this is a breakdown in accountability

                      -requires contractual indemnification for data breach

                      -data broker situation is intolerable for the above reasons — as the data can get
                      loose to who knows where — then when something goes wrong, the plaintiff's
                      attorneys start looking for the deep pockets

                      Possible Ways      Flandla Data

                      Examples of what could be tolerable-

                      -where ADP or Reynolds provides a specific product to a specific customer for a
                      specific purpose — this could be covered by an RCI-type agreement for that data
                      feed

                      -the level of indemnification could vary based upon the extent of PIN that is
                      involved

                      -for example batch-4ypt-4 data that goes into a specific ADP or Reynolds product —
                      such as vehicle inventory information into a Cobalt or Reynolds web Site could be
                      a daily feed without much indemnification since the data involved is not PIN

                      -batch-type data that DMI collects for an OEM where they provide substantial
                      additional services in regards to the data — would require that this data is sent




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                                                                                                                 CX4043-001




                                                                                                                     FTC-0000316

                                                  Ex. 34, p. 19 of 30
                      only to the OEM — and since PIN data is involved, indemnifications would be
                      necessary

                      -batch type data that Authenticom (or some other Reynolds agent)collects from
                      ADP sites or Reynolds to use in marketing programs that it sells to the dealer
                      would require that this data is used for no other purpose — and since PIN data is
                      involved, indemnifications would be necessary

                      t,ise of Agents

                      -the use of a 3rd party acting under contract as an agent of ADP or Reynolds is
                      not an issue as long as the spa:odic RCI agreement Is directly between us — either
                      of us would take responsibility for their agents




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                                                                                                           CX4043-002




                                                                                                                FTC-0000317

                                                 Ex. 34, p. 20 of 30
             From Hoyt, Check
             Sent; Wethesday,Aupst 14, 2013 12:42 AM
             Tot 'Lamb;Prosi:kt
             Subject: Fitk: Captchs Codes

             This iS jtiSt an iy for ;vw. Wei are workine with Chris Hailyer regardiug Stone teak; hut this is pi-oh:ably going to seod Joe Serra everthe too. If
             ha reaches ant fo you,jnc,t forward to :tie (unless you wantto cat him). Psi tehe the bullets.— i am eiready bloodied after stnfo two days of
             this data F.irCUrity. A couple of more arrows won't rnaka a differeuce.....
                                              ..... . .......... ... .       .
            Friona Nii,ttohy, Aaron W (SALES)[mailtmAaron_Murphy@reyray.com]
            Sent: Tuesday, August 13, 2013 4:02 PM
            To: Ran tieggin
            Subject: RE: Captclia CadeS

             Ron;

             I sent your request over to the Data Security team and they informed me that we am no longer removing capicha codes on the systems As you
             am aware, captcha codes are a standard in nearly every Industry designed to protect your data from automated access in an uncontrolled
             environment. If you are having a specific issue with a particular vendor who is attempting to access your system via an automated method,
             please direct them to our RC1 team for certified access. The RCI Team can be reached at Sati-347-30130.

             Thank you,

             Atiroes ivitittleHU


             Major Accounts Executive
             Reynolds and Reynolds
             Cell 74D-515-6104
             ElFax fide-741.45U


            ROM Ron Haugh
            Sent: Tuesday, Allgust 13 2013 2:15 PM
            Toe Murphy, Aaron W (SALES); Hoyt, Chuck; Joe Serra; Tony Nichols; Mad Daugherty; Will Kelley; Keith Harvey; Bates, David
            Subject: Ceetaba Codes

             All,

             The captcha codes were reinstalled on our system throughout all of our stores.

             As in the past we request that the codes are uninstelled on all of cur systems.

             T anks in advance for your assistance::




             Serot.             Diniick);-. of Oprrations



            810.603.1151 Direct Office
            810691.5206 Cell —Texts welcome
            810.694.1720 Main Office x1151


             Moffitt Address.....3118 E. Hihatai, Grand Mar., M148439




HIGHLY CONFIDENTIAL -.ATTORNEYS EYES ONLY                                                                                                                       RFYCI D0203876
                                                                                                                                                                    CX451 5-001




                                                                                                                                                                        FTC-0000487

                                                               Ex. 34, p. 21 of 30
                                             HIGHLY CONFIDENTIAL -ATTORNEYS EYES ONLY




From:       "Hill, Keith" <keith_hill@reyrey.com>
Subject:    FW: Joel Confer Toyota - 5XMTM537094 - Invalid Login Issue

From: Hill, Keith
Sent: Friday, August 16, 2013 2:52 PM
To: Robert Schaefer (robert_sehaefer@reyrey.com);'Brockman., Bob'
Subject: FW: J' oel Confer Toyota - SXMTMS37094 - Invalid Login Issue

 This is the type of response customers are getting from integralink and dmi,
 Devlon,

  Please understand that R&R is 100% responsible for this situation, R&R tells its dealers that they should have their third party vendors
  become HCl certified but they tell us, DM!, that they will not allow us to become RCI certified. Your vendors most likely have already
  contacted Reynolds, but Reynolds has not budged.
  Unfortunately this leaves you, the dealer, with a decision.

  1)Continue to help DMI access your R&R ERA system so that we can collect the needed data and provide it to your vendor. DMI only
  accesses your system using credentials that your dealership provides.
  2)Push the needed data in the needed format to DK so that we car. normalize it and provide it to your vendor.
  3)Discontinue participation in the program or programs that require this data.

  Obviously we don't want #3 to be the outcome but I feel it's important to list as it's one of the three options that is available to you.

  Please feel free to call or email me with any questions, or anything can help with.

  Keith Hill - 281-380-9574
                       ....                                                                                                       .... .... .
 From: Hoyt, Chuck [mailto:chuck hoyt@reyrey.com]
Sent: Friday, August 16, 2013 9:48 AM
To: Ray Hoffman; Michael Behm; Peter Sidwell; Christopher Rulon; Chris Walsh; Rick Altvater
Cc: Keith Hill
Subject: Fwd: Joel Confer Toyota - SXMTMS37094 - Invalid Login Issue

  Fyi

Sent from my iPhone.

  Begin forwarded message:

        From:"Karloski, Ronald S (Ron)" <rtms ti ka
Date: August 16, 2013, 10:44:44 AM EDT
To:"Hoyt, Chuck" <CITuci< H4 n-eyet .ccen.
Subject: Fwd:Joel Confer Toyota - SXMTIVIS37094 - Invalid Login Issue

         Note below what DMI is telling dealers. I sent to Bob Schaefer.

Sent from my iPhone
        Begin forwarded message:

                 From:"Tabaka, Mark C"         45,11:1A4PMVRa.K9i:11:'
Date: August 16, 2013, 9:02:03 AM EDT
To: "Karloski, Ronald S (Ron)",4ortaid kpiicir   evr ,zornr., "Hellyer, Chris H"<cFc       b                    >
Subject: Fwd:Joel Confer Toyota - SXMTMS37094 - Invalid Login Issue

                FYI What DMI is saying

                More to come

 Mark Tabs ka

                412.445,9945




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                                                                                                                                       CX4004-001




                                                                                                                                                FTC-0000300

                                                       Ex. 34, p. 22 of 30
                                              HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY




                 Sent from my iPhone
                 Begin forwarded message:

                      From: Devlon ‹rjevfoncOgoe
 Date: August 16, 2013,8:50:24 AM EDT
 To:"Tabaka, Mark C" croek tAbak ily earey.or:i>
 Subject: Fwd:Joel Confer Toyota - 5XMTIVIS37094 - Invalid Login Issue

                       So it's all Reynolds fault

 Devlon Cowart
                       Sales Manager
                       Joel Confer Toyota
                       814-237-5713
                                       ,eorn
                       Begin forwarded message:

                              From:"King, Steven"<kin.gsf8dieltairoceuzsivotk5.mr;a>
 Date: August 16, 2013,8:33:17 AM EDT
 To: Devlon Cowart <dtivions:p.ioelcunter,i;om>
 Cc nitileterakyLcf        .c• <,f[Eftln-t,.1Lca.kp
                                                    I                    00$ t:Pd
                                                                           "King, Steven"

 Subject: RE: Joel Confer Toyota
                              • - SXMTMS37094 - Invalid Login Issue

                              Devlon,

                              Please understand that R&R is 100% responsible -for this situation. R&R tells its
                              dealers that they should have their third party vendors become RC1 certified but
                              they tell Lis, DMI,that they will not allow us to become RCI certified. Your
                              vendors roost likely have already contacted Reynolds, but Reynolds has not
                              budged.
                              U nfortunately this leaves you, the dealer, with a decision,

                              1)Continue to help DMi access your R&R ERA system so that we can collect the
                              needed data and provide it to your vendor, DMI only accesses your system using
                              credentials that your dealership provides.
                              2)Push the needed data in the needed format to DM so that we can normalize it
                              and provide it to your vendor,
                              3)Discontinue participation in the program or programs that require this data,

                              Obviously we don't want #3 to be the outcome but I feel its important to list as
                              it's one of the three options that is available to you.

                              Please feel free to cali or email me with any questions, or anything i can help
                              with.

                              Thank you,

                              Steven King
                              So:FE:link Support TCA 1
                              847.807.2046 office
                              814.324.7802 tax
                                                         Pmail
                          '411113ge00 Ejpg>




                              From: Devlon Cowart LirtLeiktrideviorntmcgrgmgm]




CONFIDENTIAL                                 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                           REYCID0042300
                                                                                                                     CX4004-002




                                                                                                                            FTC-0000301

                                                          Ex. 34, p. 23 of 30
                                            HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY




 Sent; Thursday, August 15, 2013 6:03 PM
 To: King, Steven (DS)
 Cc:.P2.1 11,.'.-z.C5111P41031f.M.
                                 ,.:oill; ler-J45ta teexg!eo. c00%
 Subject: Joel Confer Toyota - SXMTMS37094 - Invalid Login Issue

                              Steven,

                             Due to the recent changes Reynolds and Reynolds has made to setting up new
                             login accounts we will no longer be able to provide logins to 3'parties. It is a
                             violation of our agreement with Reynolds and Reynolds to allow 3' parties access
                             to our system remotely. Please contact Reynolds and Reynolds,to see what you
                              need to do enroll in the Reynolds Certified Interface program, at 937.485.0402. If
                              your company is unable or unwilling to enroll in the Reynolds Certified Interface
                              program then please have the companies you are pulling data for contact
                              Reynolds and Reynolds directly.

                              Please see the attached PDF. This is the warning we get when setting up new
                              user logins.

                              Regards

                             Devlon L Cowart
                             Joel Confer Toyota/Scion/BMW
                             Sales Manager
                             814-237-5713


                             This message and any attachments are intended only for the use ofthe addressee and
                             may contain information that is privileged and confidential. If the reader ofthe
                             message is not the intended recipient or an authorized representative of the intended
                             recipient, you are hereby notified that any dissemination of this communication is
                             strictly prohibited. If you have received this communication in error, please notify us
                             immediately by e-mail and delete the message and any attachments from your system.




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                                                                                                                          CX4004-003




                                                                                                                                FTC-0000302

                                                     Ex. 34, p. 24 of 30
                      FTC-0000303

Ex. 34, p. 25 of 30
   From; Brockman, Bob [matito:bob brockrrianOreyfey,com]
   Sent: Monday, November 25, 2013 12:32 PM
   To:'Robert Schaefer'
   Subject RE: R&R/ADP Agreement

   Bob,

   You have authority to pursue discussions with ADP on these subjects as per our conversation.

   Bob


   From: Robert Schaefer [rnagto:Robpd: Schaefer@rme     orn]
   Sent: Monday, November 25, 2013 8:28 AM
   To:'Brockman, Bob'
   Subject RN: R&R/ADP Agreement

   Bob

   Per our conversation, please respond back to this email giving me the authority to pursue discussions on a general
   framework with ADP. Once I receive your approval I will forward to the ADP team and we can begin the process.



   From: Gardner, Howard tniailto:hordrierAdrnototwo .coni]
   Sent Tuesday, November 12, 2013 1:45 PM
   To: Schaefer, Robert G (rob,..rt scilorkKON:girgY.c01111)
   Subject R&Ft/ADP Agreement

   Bob —

   The following is a summary of the main business points we discussed on September 27th relating to a possible
   agreement between Reynolds & Reynolds and ADP. I've included additional detail and clarification of ADP's
   perspective in the surnmary.

   If we are in agreement that these points can form the basis for further discussions, the next step is a phone meeting
   with you, Ron Workman, and me. Ron and I can both be available for a call this Friday, November 15th, early the week
   of November 25th, or the week of December 2nd. Please let me know which date works best for you.



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    Our continuing discussions are based on certain premises and expectations:

        1. Bob Brockman would like to work toward an agreement with ADP, and he has granted you the authority to
          pursue discussions on a general framework with ADP.
       2. Reynolds & Reynolds indemnification has been relaxed since we last exchanged documents, and it is open for
          discussion/negotiation.
       3. We are conceptually in agreement on the following, which would become the starting point for further
          discussions.

    Application Integration — Reciprocal 3PA/RCI Access
    Reynolds & Reynolds and ADP will work toward an agreement that enables bi-directional "approved" or "certified"
    access for certain R&R applications and services (which may include data provided by DMI) and similar reciprocal
    access for certain ADP applications and services. Reynolds is open to discussing inclusion of any (and all) ADP
    applications/services in an agreement(or agreements).

    The business framework we would each use is to approve/certify applications with a process not unlike that which both
    Reynolds & Reynolds and ADP use today with other third parties. We discussed the concept of utilizing our respective
    existing 3PA or RCI contracts, processes, integration technologies, etc. as a potentially reasonable approach, although
    from a contracting standpoint, ADP would suggest that the parties consider utilizing a "framework" or "master"
    agreement containing all general terms and conditions, with specific agreed-upon integration points to be set forth in
   separate Statements of Work which are appended to the master. Pricing would be negotiated on a reciprocal basis
   (similar price for similar integration).

    DMI — "Soft Landing" for OEMs and other third parties
    We will work toward agreement on a general approach for DM I data access that would include all DMI clients (current
    and future). The key points of the approach are:

              OEMs: Reynolds & Reynolds and DMI will formalize and extend our collaborative approach to helping OEMs
             transition to a "protected program" to prevent future disruption of data access. DM I will work with R&R and
             each participating OEM (as we have been) to smoothly transition each OEM to a Reynolds certified interface
             when Reynolds is prepared to provide service.

       2.      Non-OEM Third Parties: R&R and DMI will jointly create and launch a "protected program" that DMI will offer
             to its existing and prospective non-OEM clients. DMI will recommend the "protected program" to existing
             clients; however, these clients would have the choice of continuing service through existing "unapproved"
             integration (which would continue to be susceptible to disruption). DM I would agree to sunset unapproved
             integration for new clients, and offer only the "protected program" in contracts with new clients that include R&R
             dealers. R&R will work with DM I to create one or more R&R approved and supported alternative data access
             options that enable dealers to create downloadable data files for retrieval by DM I, or transmission to DM I by
             the dealer. R&R is open to discussing special programs for DM l's inventory data clients that could facilitate
             increased adoption of R&R's supported tools for inventory data syndication.

       3.     Technology Investment: R&R and DMI will collaborate to define and invest in the development of
             technology-based tools that automate, accelerate, simplify, and stream-line the process of setting up and
             managing the "protected programs" for OEMs and third parties.

       4.     Exclusivity: Due to the investments in technology required to establish and administer "protected programs",
             R&R is open to the R&R "protected programs" becoming an exclusive offering by DM I, subject to further
             discussion and legal review.

       5.     Financial: The nature of the agreement between R&R and DMI would add structure and simplicity to the
             process we use currently to cooperatively facilitate transition of OEMs and third parties to R&R certified
             interfaces. Each party (R&R and DMI) would cover our respective costs, and there would be no payments
             between parties related to this agreement.

   Market Messaging — Data Security
   ADP would be open to adopting and advocating common industry standards and/or recommendations, although we


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    would both have to consider the appropriate mechanism for doing so (for example, through or in conjunction with an
    industry organization such as NADA).


    Howard Gardner
    DVP & General Manager
    Digital Motorworks Inc.
    ADP Dealer Services

   (512)692-2479 I




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                   -long-standing issues around security

                   -the liability to Reynolds and to our dealer customers of allowing 3rd parties unfettered
                   and uncontrolled access to Reynolds systems is such that my stated goal for years has
                   been to end it

                   -we have been steadily been making a series of security changes in our software that is
                   more and more effective at denying 3rd party access

                   -about two month ago Howard Gardner called Bob Schaefer

                   -jist of the conversation was that ADP wanted to transition out of their commitments to a
                   hundred 3rd party firms that ADP had contracts with for extracting data from Reynolds
                   systems.

                   -we had already done this with Phil Batista

                   -I agreed to discuss doing this with ADP on two preliminary conditions:
                          -we get settled on indemnification language

                   -the second point is very much a personal one
                          -ADP has been extracting data out of Reynolds systems for over a decade

                         -ADP has been in the business of providing that data to a host of other 3rd party
                         Firms

                         -ADP has wrongly taken advantage of Reynolds in the marketplace over the
                         issue of data security — that has cost us in the millions

                         -ADP (Howard Gardner) has caused a lot of grief with OEM's, particularly GM by
                         being downright untruthful about the amount of data they were extracting from
                         Reynolds systems (in the name of GM)that far exceeded the GM requirements

                         Therefore I want a no-charge access to ADP systems for the next 20 years — to
                         be used only for a product that Reynolds offers — like service reminders — not to
                         be used to extract data for other 3rd parties.

                   -we have been upfront about these two points since the beginning of the conversation.

                   -indemnification has been dealt with

                   -the interface request has been dealt with from a technical standpoint, however has
                   been stalled for over a month

                   -Ron Workman has reported that my interface request can only be approved by you.




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                   -we have held up on a large release of security enhancements for over 2 months to see
                   if there was a deal to be worked out on orderly transition

                   -I am tired of the whole thing — you need to make a decision one way or the other — do
                   we continue to work on an orderly transition plan or not

                  -there is still the business issues of transitioning ADP out of their contractual obligations
                  (to the hundred 3rd parties)to extract data out of Reynolds systems

                   -I need an answer on the no-charge access issue now — so the project goes ahead or
                   gets cancelled




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